       Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 1 of 156




                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF COLUMBIA

In re Federal National Mortgage                         )
Association Securities, Derivative, and                 )       MDL No. 1668
“ERISA” Litigation                                      )

                                                        )
In Re Fannie Mae Securities Litigation                  )       Consolidated Civil Action No.: 1:04-CV-01639
                                                        )       Judge Richard J. Leon
                                                        )

                 STIPULATION OF SETTLEMENT OF SECURITIES ACTION

         This Stipulation of Settlement (the “Stipulation”) is made and entered effective May 7,

2013, by and among: (i) Lead Plaintiffs, Ohio Public Employees Retirement System (“OPERS”)

and State Teachers Retirement System of Ohio (“STRS”) (collectively, the “Lead Plaintiffs”) for

themselves and on behalf of all persons who are members of the Class as defined in the Court’s

Order on January 7, 2008 (Dkt. # 568) (collectively, the “Plaintiffs”); (ii) Defendant Federal

National Mortgage Association (“Fannie Mae”); (iii) the Federal Housing Finance Agency

(“FHFA”) as Conservator for Fannie Mae; and (iv) Defendant KPMG LLP (“KPMG”) (together

with Fannie Mae, the “Settling Defendants”). 1

         This Stipulation is intended to fully and finally resolve and settle the securities class

action captioned In re Fannie Mae Securities Litigation, Civil Action No. 04-1639 (RJL) (the

“Consolidated Action”) pending in the United States District Court, District of Columbia.

         Throughout this Stipulation, any capitalized term not immediately defined is defined in

accordance with ¶ 1, below.
1
   Franklin D. Raines, J. Timothy Howard, and Leanne Spencer (collectively, the “Individuals”) were formerly
defendants in the Consolidated Action but, in 2012, the Court granted their separate motions for summary judgment,
entered judgment in their favor, and dismissed all claims against them. Those judgments of dismissal remain in full
force and effect. Accordingly, Messrs. Raines and Howard and Ms. Spencer are not Parties to the Stipulation or
Settling Parties as defined herein and join only in the release provisions of this Stipulation set forth infra in Section
3.


                                                            1
      Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 2 of 156




                                       THE LITIGATION

       A.      Beginning in September 2004, multiple securities class action complaints were

filed against Fannie Mae and certain of its officers in this District and others. These were

consolidated in the Consolidated Action.

       B.      The Court appointed Lead Plaintiffs in January 2005, and Lead Plaintiffs filed a

Consolidated Complaint in March 2005. In February 2006, the Court denied Fannie Mae’s

motion to dismiss.

       C.      The “Second Amended Consolidated Class Action Complaint” (the “Complaint”)

was filed on August 14, 2006 against Fannie Mae and Franklin Raines, Timothy Howard, and

Leanne Spencer (Raines, Howard, and Spencer being collectively referred to herein as the

“Individuals”). It later added claims against Fannie Mae’s auditor, KPMG. Specifically, the

Complaint alleged that Fannie Mae, KMPG and the Individuals publicly issued materially false

and misleading financial reports and other statements that artificially inflated the price of Fannie

Mae’s securities, in violation of Sections 10(b) and 20(a) of the Securities Exchange Act of

1934, as amended (the “Exchange Act”), and Securities and Exchange Commission (“SEC”)

Rule 10b-5 promulgated thereunder. On September 28, 2006, KPMG filed a motion to dismiss,

which was denied on January 24, 2007.

       D.      In January 2008, following motions and briefing, the Court certified a class

composed of purchasers of Fannie Mae’s common stock and call options and sellers of Fannie

Mae’s put options from April 17, 2001 through December 22, 2004 (the “Class Period”). A

Notice of Pendency of Class Action was mailed to 958,697 potential class members over several

months in 2008, and 239 timely exclusions opting out of the Class were received.




                                                 2
      Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 3 of 156




       E.      Fact discovery concluded on April 29, 2010, with over 67 million pages of

documents produced and 108 fact witnesses deposed. Expert discovery concluded on May 26,

2011; Lead Plaintiffs had 6 experts, and Fannie Mae, KPMG and the Individuals had 29 experts

combined.

       F.      Lead Plaintiffs, Settling Defendants and Individuals filed eight summary

judgment motions combined in August 2011: two by Lead Plaintiffs, two joint motions by the

Settling Defendants and certain Individuals, one motion by KPMG, and one each by the

Individuals. These were argued in June 2012 over the course of four days. The Court granted

summary judgment on the Individuals’ motions, entered judgment in the Individuals’ favor, and

dismissed all claims against the Individuals on September 20, October 16 and November 20,

2012. The remaining five summary judgment motions remain pending.

       G.      After some unsuccessful and sporadic efforts at settlement, the Settling Parties

agreed to formal mediation in 2011, using the services of Fred F. Fielding, an experienced

mediator with the law firm of Morgan, Lewis & Bockius LLP. The first meeting with the

mediator took place on June 8, 2011. After a number of meetings over the course of more than a

year, on March 20, 2013, with the mediator’s assistance, an agreement in principle was reached,

which was memorialized in a Memorandum of Understanding signed on April 10, 2013.

       NOW THEREFORE, without any concession by Lead Plaintiffs that the Consolidated

Action lacked merit, and without any concession by Settling Defendants and Individuals of any

liability or wrongdoing or lack of merit in their defenses, it is hereby STIPULATED AND

AGREED by and among the Parties to the Stipulation, through their respective counsel, subject

to approval by the Court pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, that, in

consideration of the benefits flowing to the Class and the Parties, the Consolidated Action and



                                                3
      Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 4 of 156




all Settled Class Claims and Parties’ Released Claims, as defined below, shall be compromised,

settled, released, acquitted and dismissed with prejudice, subject to the following terms and

conditions:

                                        DEFINITIONS

       1.        As used in this Stipulation, the terms set forth below shall have the following

meanings:

                 a.    “Authorized Claimant” means a Class Member who submits a timely and

valid Proof of Claim to the Claims Administrator and whose claim for recovery has been allowed

pursuant to the terms of this Stipulation and the Plan of Allocation approved by the Court.

                 b.    “CAFA Notice” means a notice of the proposed Settlement in compliance

with the requirements of the Class Action Fairness Act, 28 USC Sec. 1711, et seq. (“CAFA”), to

be served upon the appropriate State official of each State and the Attorney General of the

United States.

                 c.    “Claims Administrator” means The Garden City Group, Inc., subject to

Court approval, which shall process proofs of claims and administer the Settlement payments to

Authorized Claimants.

                 d.    “Class” means all purchasers of the publicly traded common stock and call

options of Federal National Mortgage Association (“Fannie Mae”), and sellers of Fannie Mae

publicly traded put options during the period from April 17, 2001, through December 22, 2004

(the “Class Period”) who suffered damages thereby. Excluded from the Class are (i) the Settling

Defendants and the Individuals, (ii) any person who was an officer or director of Fannie Mae or

any of its parents or subsidiaries during the Class Period, (iii) the members of the immediate

family of each of the Individuals, (iv) any entity in which any of the Settling Defendants or



                                                4
      Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 5 of 156




Individuals had a controlling interest during the Class Period, (v) any parent or subsidiary of

Fannie Mae, (vi) any incentive, retirement, stock or other benefit plan that benefited solely the

Individuals, and (vii) the legal representatives, heirs, predecessors, successors or assigns of any

of the foregoing excluded persons and entities. Also excluded from the Class are any persons

who filed a valid and timely request for exclusion in accordance with the requirements set forth

in the court-approved notice previously sent to potential class members and have not opted back

in pursuant to Paragraph 10, below.

               e.     “Class Distribution Order” means an order of the Court approving the

Claims Administrator’s administrative determinations concerning the acceptance and rejection of

the claims submitted and approving any fees and expenses not previously applied for, including

the fees and expenses of the Claims Administrator and directing payment of the Net Settlement

Fund to Authorized Claimants.

               f.     “Class Member” means any person or entity who or which is a member of

the Class and is not excluded therefrom.

               g.     “Class Period” means the period from April 17, 2001 through and

including December 22, 2004.

               h.     “Complaint” means the Second Amended Consolidated Class Action

Complaint for Violations of Federal Securities Law (Doc. 204), filed August 14, 2006.

               i.     “Consolidated Action” means the case captioned In re Fannie Mae

Securities Litigation, Civil Action No. 04-1639 (RJL), pending in the United States District

Court, District of Columbia District and all constituent actions consolidated therewith.

               j.     “Court” means the United States District Court for the District of

Columbia.



                                                 5
      Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 6 of 156




               k.      “Parties’ Released Claims” shall mean the claims released by the Lead

Plaintiffs, Settling Defendants, FHFA and the Individuals, as set forth in paragraph 3, below.

               l.       “Effective Date” means the date upon which the Judgment becomes Final.

               m.      “Escrow Agent” means KeyBank National Association, which will

receive, hold and invest the Settlement Fund subject to the terms of this Stipulation and the

Escrow Agreement.

               n.      “Escrow Agreement” means the escrow agreement among Lead Counsel,

Fannie Mae, FHFA, KPMG and the Escrow Agent with respect to the Settlement Fund that will

govern the management of the Settlement Fund, in the form attached hereto as Exhibit C.

               o.      “Fee and Expense Application” means the motion and accompanying

memorandum by Lead Counsel in connection with their request for an award of attorneys’ fees

and reimbursement of litigation expenses incurred in prosecuting this case.

               p.      “Final,” with respect to the Judgment, means the later of: (i) if there is an

appeal from the Judgment, the date of final affirmance on appeal and the expiration of the time

for any further judicial review whether by appeal, reconsideration or a petition for a writ of

certiorari and, if certiorari is granted, the date of final affirmance of the Judgment following

review pursuant to the grant; or (ii) if no appeal is filed, the expiration of the time for the filing

or noticing of any appeal from the Judgment, which shall be thirty (30) days after the Judgment

is entered on the Court’s docket. Any appeal or proceeding seeking subsequent judicial review

pertaining solely to the Court’s approval of the Plan of Allocation or the Fee and Expense

Application shall not affect the time set forth above for the Judgment to become Final.




                                                  6
       Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 7 of 156




               q.     “Individuals” means collectively former defendants Franklin D. Raines, J.

Timothy Howard and Leanne G. Spencer, on whose behalf judgment was entered by the Court

and who were dismissed from the Consolidated Action on summary judgment.

               r.      “Judgment” means the judgment to be entered by the Court approving the

Settlement, substantially in the form attached hereto as Exhibit B.

               s.     “Lead Counsel” means the law firm of Markovits, Stock & DeMarco,

LLC.

               t.     “Lead Plaintiffs” means Ohio Public Employees Retirement System

(“OPERS”) and State Teachers Retirement System of Ohio (“STRS”).

               u.     “Net Settlement Fund” means the Settlement Fund less (i) Court awarded

attorneys’ fees and expenses for the Consolidated Action; (ii) Notice and Administration

Expenses; (iii) any required Taxes; and (iv) any other fees or expenses approved by the Court.

               v.     “Notice” means the notice of the proposed Settlement, releases, Plan of

Allocation, and attorneys’ fees and expense applications relating to the Consolidated Action that

is to be sent to members of the Class, substantially in the form attached as Exhibit 1 to Exhibit A

hereto.

               w.     “Notice and Administration Expenses” means all reasonable and necessary

expenses actually incurred in connection with the preparation and printing of the Notice with

respect to the Settlement of the Consolidated Action; providing notice to the Class by mail,

publication and any other means ordered by the Court; reimbursements to nominee owners for

forwarding the Notice to their beneficial owners or for providing the names of such beneficial

owners to the Claims Administrator; the administrative expenses incurred and fees charged by

the Claims Administrator in connection with disseminating the Notice and publishing the



                                                 7
      Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 8 of 156




Summary Notice, processing the submitted claims, applying the Plan of Allocation approved by

the Court or otherwise administering the Settlement; and corresponding with Class Members.

               x.      “Parties” and “Parties in the Consolidated Action” mean Lead Plaintiffs,

Fannie Mae, FHFA, KPMG, and the Individuals.

               y.      “Parties to the Stipulation” means Lead Plaintiffs, Fannie Mae, FHFA,

and KPMG.

               z.      “Person” means any natural person or legal entity.

               aa.     “Plaintiffs’ Counsel” means Lead Counsel, Co-Lead Counsel Bernstein

Liebhard LLP, and other firms authorized by Lead Counsel and the Attorney General of Ohio to

perform work on the Consolidated Action.

               bb.     “Plan of Allocation” means the plan of allocation approved by the Court

for allocating the Net Settlement Fund among Authorized Claimants.

               cc.     “Preliminary Approval Order” means the order preliminarily approving

the Settlement and directing that the Notice be sent to the Class, substantially in the form

attached hereto as Exhibit A.

               dd.     “Proof of Claim” means the form, including the release of the Settled

Class Claims, upon which the Class Members may make a claim seeking a distribution from the

Net Settlement Fund, substantially in the form attached as Exhibit 3 to Exhibit A hereto.

               ee.     “Recognized Loss” means the amount of a claim by a Settlement Class

Member, as defined in the Plan of Allocation.

               ff.     “Released Parties” means the Settling Defendants, FHFA, the Individuals

and other related individuals and entities as set forth below in paragraph 3(a).




                                                 8
         Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 9 of 156




               gg.     “Settled Class Claims” means any and all claims by Lead Plaintiffs

released pursuant to paragraph 3, below.

               hh.     “Settlement” means the resolution of the Consolidated Action against

Settling Defendants in accordance with the terms and provisions in this Stipulation.

               ii.     “Settlement Amount” means the total principal amount of $153,000,000.

               jj.     “Settlement Class” means any person or entity in the Class, plus any

person or entity that had previously opted out of the Class but who has opted back in pursuant to

Paragraph 10, below.

               kk.     “Settlement Class Member” means any person or entity in the Settlement

Class.

               ll.     “Settlement Fairness Hearing” means the Hearing on Final Approval of

Settlement, which is to be held by the Court to consider the fairness, reasonableness, and

adequacy of the proposed Settlement, the proposed Plan of Allocation, and Lead Counsel’s Fee

and Expense Application.

               mm.     “Settlement Fund” means the $153,000,000 Settlement Amount to be paid

in cash by or on behalf of Fannie Mae and KPMG, together with any interest earned thereon.

               nn.     “Settling Defendants” means collectively Fannie Mae and KPMG.

               oo.     “Settling Parties” means collectively Lead Plaintiffs, Fannie Mae and

KPMG.

               pp.     “Stipulation” means this Stipulation of Settlement of Securities Action,

filed in the Consolidated Action.

               qq.     “Summary Notice” means the summary notice of the Settlement and the

Settlement Fairness Hearing, intended for publication once in the Wall Street Journal and over



                                                9
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 10 of 156




the PR Newswire or similar national business-oriented newswire, or as otherwise ordered by the

Court, substantially in the form attached as Exhibit 2 to Exhibit A hereto.

               rr.     “Taxes” means all taxes on the income of the Settlement Fund and

expenses and costs incurred in connection with the taxation of the Settlement Fund (including,

without limitation, expenses of tax attorneys and accountants).

               ss.     “Unknown Claims” means any claims that any Plaintiff does not know or

suspect to exist in his, her, its or their favor at the time of the release of the Released Parties

which, if known by him, her, it, or them might have affected his, her, its or their settlement with

and release of the Released Parties, or might have affected his, her, its, or their decision not to

object to this Settlement.    Lead Plaintiffs, Settling Defendants, FHFA and the Individuals

acknowledge, and other Class Members by operation of law shall be deemed to have

acknowledged, that the inclusion of “Unknown Claims” in the definition of Settled Class Claims

and Parties’ Released Claims was separately bargained for and was a key element of the

Settlement.

                          THE SETTLEMENT CONSIDERATION

       2.      In full and final settlement of the claims that were asserted or could have been

asserted in the Consolidated Action against Settling Defendants and/or any director, officer,

partner, principal or employee thereof, and in consideration of the releases specified below,

Settling Defendants shall pay or cause to be paid, within ten (10) days after entry of the

Preliminary Approval Order, a total of $153,000,000 in cash to the Settlement Fund for the

benefit of the Settlement Class and to pay the attorneys’ fees and expenses described in

paragraphs 21-23 of this Stipulation. Settling Defendants will not be responsible for payment to

Lead Plaintiffs or the Settlement Class of any other amount in connection with the Settlement of



                                                10
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 11 of 156




the Consolidated Action in excess of $153,000,000. The Settlement Amount will be paid in the

following proportion: 50% by Fannie Mae; 50% by KPMG. None of the Individuals shall be

personally responsible for, or have any obligation with respect to, payment of the Settlement

Amount.

                             RELEASES AND OTHER OBLIGATIONS

       3.      The Plaintiffs, the Settling Defendants, and the Individuals agree to the following:

               a.     Plaintiffs shall release and forever discharge the Settling Defendants;

FHFA, as conservator for Fannie Mae (but not as conservator of the Federal Home Loan

Mortgage Corporation); the Settling Defendants’ and FHFA’s respective present and former

parents, subsidiaries, divisions and affiliates; the present and former partners, principals,

employees, officers and directors of each of the Settling Defendants and FHFA; the Individuals;

the present and former attorneys, accountants, insurers, and agents of each of the Settling

Defendants, FHFA and the Individuals; and the predecessors, heirs, successors and assigns of

each of the Settling Defendants, FHFA and the Individuals, if any, (collectively, the “Released

Parties”), from any and all claims, demands, rights, liabilities and causes of action of every

nature and description whatsoever, whether based in law or equity, on federal, state, local,

foreign, statutory or common law, or any other law, rule, or regulation (including, but not limited

to, all claims arising out of or relating to any acts, omissions, disclosures, public filings,

registration statements, financial statements, audit opinions, or statements by the Settling

Defendants, FHFA or the Individuals, including without limitation, claims for negligence, gross

negligence, constructive or actual fraud, negligent misrepresentation, conspiracy, or breach of

fiduciary duty), whether known or unknown, whether or not concealed or hidden, accrued or not

accrued, foreseen or unforeseen, matured or not matured, that were asserted or that could have



                                                11
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 12 of 156




been asserted directly, indirectly, representatively or in any other capacity, at any time, in any

forum by Plaintiffs against the Released Parties arising out of, based upon, or related in any way

to: (a) the purchase or acquisition of Fannie Mae common stock or call options, or the sale or

disposition of Fannie Mae put options, by any Plaintiff between April 17, 2001 and December

22, 2004, the allegations that were made or could have been made in the Consolidated Action

and any of the facts, transactions, events, occurrences, disclosures, statements, acts, omissions or

failures to act which were or that could have been asserted by Plaintiffs in the Consolidated

Action; or (b) the Settlement or resolution of the Consolidated Action (including, without

limitation, any claim for attorneys’ fees by Lead Plaintiffs or any Class Member) (the “Settled

Class Claims”). Settled Class Claims shall also include any Unknown Claims. Unknown Claims

means any claims that any Plaintiff does not know or suspect to exist in his, her, its or their favor

at the time of the release of the Released Parties which, if known by him, her, it, or them might

have affected his, her, its or their settlement with and release of the Released Parties, or might

have affected his, her, its, or their decision not to object to this Settlement. With respect to any

and all Settled Class Claims, the Settling Defendants and Plaintiffs stipulate and agree that

Plaintiffs shall be deemed to have expressly waived the provisions, rights and benefits of

California Civil Code § 1542, which provides:

           A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS
           WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
           EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING
           THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST
           HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT
           WITH THE DEBTOR.

           Plaintiffs shall expressly waive any and all provisions, rights and benefits conferred

by any law, or principle of common law, which is similar, comparable or equivalent to California



                                                 12
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 13 of 156




Civil Code § 1542. Any Plaintiff may hereafter discover facts in addition to or different from

those that he, she, it or they now know or believe to exist or to be true with respect to the subject

matter of the Settled Class Claims, but the Plaintiffs shall have fully, finally, and forever settled

and released any and all Settled Class Claims, known or unknown, suspected or unsuspected,

contingent or non-contingent, whether or not concealed or hidden, which now exist, or heretofore

have existed, upon any theory of law or equity now existing or coming into existence in the

future, including, but not limited to, conduct that is negligent, intentional, with or without malice,

or a breach of any duty, law or rule, without regard to the subsequent discovery or existence of

such different or additional facts.      Plaintiffs acknowledge that the foregoing waiver was

separately bargained for and a material element of the Settlement of which this release is a part.

               b.      The Settling Defendants, FHFA, and the Individuals, on behalf of

themselves, their affiliates, predecessors, successors, assigns, agents, and employees shall release

and forever discharge Plaintiffs; each other; FHFA’s predecessor, OFHEO; the respective

present and former parents, subsidiaries, divisions and affiliates of the Settling Defendants and

FHFA; the present and former partners, principals, employees, officers and directors of each of

the Plaintiffs, Settling Defendants and FHFA; the present and former attorneys, accountants, and

agents of each of them; and the predecessors, heirs, successors and assigns of each of them, from

any and all claims, demands, rights, liabilities and causes of action of every nature and

description whatsoever, whether based in law or equity, on federal, state, local, foreign, statutory

or common law, or any other law, rule, or regulation (including, but not limited to, all claims

arising out of or relating to any acts, omissions, disclosures, public filings, registration

statements, financial statements, audit opinions, or statements by the Plaintiffs, Settling

Defendants, FHFA or the Individuals, including without limitation, claims for negligence, gross



                                                 13
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 14 of 156




negligence, constructive or actual fraud, negligent misrepresentation, conspiracy, or breach of

fiduciary duty), known and unknown, whether or not concealed or hidden, accrued or not

accrued, foreseen or unforeseen, matured or not matured, that were asserted or that could have

been asserted directly, indirectly, representatively or in any other capacity, at any time, in any

forum relating to the institution, prosecution and/or resolution of the Consolidated Action (the

“Parties’ Released Claims”). Nothing in this paragraph shall affect the rights and obligations of

the Parties under contracts between Fannie Mae and KPMG or between FHFA and KPMG

entered into subsequent to the end of the Class Period in this litigation.

               c.      Final Judgment shall contain a provision that is substantially similar

to the following paragraph:

                       (i)     Reform Act Bar Order: In accordance with 15 U.S.C. § 78u-

4(f)(7)(A), any and all claims for contribution arising out of the claims or allegations of the

Consolidated Action or any of the Settled Class Claims or Parties’ Released Claims (1) by any

person or entity against any of the Released Parties, and (2) by any of the Released Parties

against any person or entity other than a person or entity whose liability has been extinguished

by the settlement of the Released Party, are hereby permanently barred, extinguished,

discharged, satisfied, and unenforceable.

                       (ii)    If the Final Judgment fails to include the Reform Act Bar Order or

if appellate review of the Bar Order is sought and on such review the Bar Order is vacated,

modified or reversed, then (1) the Settling Defendants shall have the right to terminate the

Settlement and (2) the Individuals shall have the right to rescind their releases of the Settling

Defendants, with the Settling Defendants’ releases of the Individuals also being rescinded, but if




                                                 14
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 15 of 156




the Settling Defendants elect not to terminate the Settlement, the Settlement shall remain in full

force and effect in all other respects.

                d.      The Parties to the Stipulation agree to withdraw all pending motions filed

in or related to the Consolidated Action. The Parties to the Stipulation further agree to dismiss

with prejudice all claims and to waive any rights to file an appeal relating to the Consolidated

Action with the exception of the challenge to the Final Rule promulgated by the Federal Housing

Finance Agency and published in the Federal Register on June 20, 2011, see Conservatorship

and Receivership, 76 Fed. Reg. 35,724 (June 20, 2011), which shall be dismissed without

prejudice to file in any unrelated action. Without admitting or denying liability, the Parties to the

Stipulation agree that, based upon publicly available information at the time, the Consolidated

Action was filed in good faith, was not frivolous and is being settled voluntarily after

consultation with competent legal counsel. The Parties to the Stipulation agree not to oppose a

finding in the Final Judgment that during the course of the Consolidated Action, the Parties to

the Stipulation and their respective counsel at all times complied with the requirements of Rule

11 of the Federal Rules of Civil Procedure.

                e.      The judgment of the Court in favor of the Individuals and dismissing all

claims against them is unaffected by this Stipulation and will remain fully in force.

        4.      The satisfaction of the obligations incurred pursuant to this Stipulation shall be in

full and final disposition of the Consolidated Action and any and all Settled Class Claims and

Parties’ Released Claims.

        5.      Upon the Effective Date, Lead Plaintiffs and each Settlement Class Member shall

be deemed to have, and by operation of the Judgment shall have, fully, finally, and forever

waived, released, relinquished, discharged, and dismissed each and every one of the Settled



                                                 15
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 16 of 156




Class Claims against each and every one of the Released Parties, whether or not such Settlement

Class Member executes and delivers the Proof of Claim, and whether or not such Settlement

Class Member shares in the Settlement Fund.

       6.      The Proof of Claim to be executed by Settlement Class Members shall release all

Settled Class Claims against the Released Parties and shall be substantially in the form contained

in Exhibit 3 to Exhibit A attached hereto.

                        PRELIMINARY AND FINAL COURT APPROVAL

       7.      Promptly after execution of this Stipulation, Lead Plaintiffs shall apply to the

Court for entry of the Preliminary Approval Order, substantially in the form of Exhibit A

attached hereto, requesting, among other things, the preliminary approval of the Settlement set

forth in the Stipulation, and approval for the mailing of the Notice and publication of a Summary

Notice, substantially in the forms of Exhibits A-1 and A-2 attached hereto. The Settling Parties

shall use reasonable efforts to obtain Court approval of the Settlement.

       8.      This Stipulation settling the Consolidated Action will not be finalized or

submitted to the Court for approval without the consent of and execution by Lead Plaintiffs,

Settling Defendants, FHFA, and the Individuals.

       9.      Lead Counsel shall request that, after notice is given, the Court hold the

Settlement Fairness Hearing to consider and determine whether to approve the Settlement

pursuant to the terms of the Stipulation as fair, reasonable, and adequate, and whether the

Judgment, substantially in the form of Exhibit B attached hereto, should be entered approving the

Settlement as set forth herein and dismissing the Consolidated Action with prejudice. At or after

the Settlement Fairness Hearing, Lead Counsel will also request that the Court approve the

proposed Plan of Allocation and the Fee and Expense Application.



                                                16
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 17 of 156




        10.    Promptly upon entry of the Preliminary Approval Order, Fannie Mae shall

provide or cause to be provided to the Claims Administrator, Fannie Mae’s shareholder lists as

appropriate for providing notice to the Class of this Settlement. Lead Counsel shall cause the

Claims Administrator to mail the Notice and Proof of Claim form to Class Members at their

addresses as set forth in the shareholder lists provided by Fannie Mae or as provided by nominee

owners. Lead Counsel will also publish the Summary Notice of the proposed Settlement over

PR Newswire or a similar national business-oriented newswire.             Lead Counsel shall be

responsible for overseeing the portion of the Notice provided to the Class about the Settlement of

the Consolidated Action.     Class Members who previously opted out will be afforded the

opportunity to opt back into the Settlement. A list of Class Members who previously submitted a

request for exclusion is attached hereto as Exhibit D. Other than Fannie Mae’s obligation to

provide the appropriate shareholder lists referenced above, Settling Defendants and the

Individuals shall have no responsibility for providing notice of the Settlement to the Class.

        11.    Within ten (10) business days following the Court’s entry of the Preliminary

Approval Order and pursuant thereto, the Claims Administrator on behalf of the Settling

Defendants and the Individuals shall cause to be served upon the appropriate State official of

each State and the Attorney General of the United States the CAFA Notice.              The Claims

Administrator shall promptly notice all Parties upon service of the CAFA Notice. All expenses

incurred in connection with the preparation and service of the CAFA Notice shall be borne by

Settling Defendants and under no circumstances will be borne by the Individuals, FHFA,

Plaintiffs’ Counsel, Lead Plaintiffs, or the Class, and will not be payable from the Settlement

Fund.




                                                17
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 18 of 156




        12.    After entry of the Preliminary Approval Order and after the Notice is given to the

Class and Class Members have had the opportunity described in the Notice to object to the

Settlement, the Parties shall promptly jointly request that the Court enter the Final Judgment.

                 USE AND ADMINISTRATION OF SETTLEMENT FUND

        13.    Except as otherwise provided herein, the Settlement Fund shall remain in escrow

until the Judgment becomes Final. The Settlement Fund shall be deemed to be in the custody of

the Court and shall remain subject to the jurisdiction of the Court until such time as the funds

shall be distributed or returned pursuant to the terms of this Stipulation and/or order of the Court.

        14.    The Settlement Fund shall be used to pay:           (i) any Taxes; (ii) Notice and

Administration Expenses, (iii) Lead Plaintiffs’ mediation expenses, (iv) any attorneys’ fees and

expenses awarded by the Court, (v) any claims of Authorized Claimants determined valid for

payment, and (vi) any other expenses ordered by the Court.

        15.    The Escrow Agreement shall require the Escrow Agent to invest the monies in the

Settlement Fund in United States Treasury Bills and to collect and reinvest all interest accrued

thereon, except that any residual cash balances may be invested in money market mutual funds

comprised exclusively of investments secured by the full faith and credit of the United States.

The Parties to the Stipulation agree that the Settlement Fund is intended to be a Qualified

Settlement Fund within the meaning of Treasury Regulation §1.468B-1 and that Lead Counsel,

as administrator of the Settlement Fund within the meaning of Treasury Regulation §1.468B-

2(k)(3), shall be responsible for causing the filing of tax returns for the Settlement Fund and

causing the payment from the Settlement Fund of any Taxes owed with respect to the Settlement

Fund.   Fannie Mae and KPMG agree to provide promptly to Lead Counsel the statement

described in Treasury Regulation §1.468B-3(e).



                                                 18
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 19 of 156




       16.     All Taxes shall be paid out of the Settlement Fund, shall be properly reserved and

shall be timely paid by the Escrow Agent without prior Order of the Court. Any tax returns

prepared for the Settlement Fund (as well as the election set forth therein) shall reflect that all

Taxes (including any interest or penalties) on the income earned by the Settlement Fund shall be

paid out of the Settlement Fund as provided herein. The Settlement Fund shall indemnify and

hold Fannie Mae and KPMG harmless for Taxes, if any, payable by Fannie Mae and KPMG by

reason of the income earned on the Settlement Fund; and Lead Counsel shall cause the Escrow

Agent to make such reserves as shall be necessary to cover such indemnity. Fannie Mae and

KPMG shall notify the Escrow Agent promptly if they receive any notice of any claim for Taxes

relating to the Settlement Fund.

       17.     This is not a claims-made settlement. As of the Effective Date, the Settling

Defendants and their insurers shall not have any right to the return of the Settlement Fund or any

portion thereof irrespective of the number of Proofs of Claims filed, the collective amount of

losses of Authorized Claimants, the percentage of recovery of losses, or the amounts to be paid

to Authorized Claimants from the Net Settlement Fund. If, after the initial and any subsequent

distributions to Authorized Claimants in accordance with the Plan of Allocation, there remains a

de minimis balance in the Settlement Fund such that an additional distribution is not appropriate,

the remaining de minimis balance will be paid as a charitable donation to a charity mutually

agreeable to Lead Counsel and Settling Defendants.

       18.     Prior to the Effective Date and without further order of the Court, Lead Counsel

may expend up to $2,500,000 from the Settlement Fund to pay the Notice and Administration

Expenses actually incurred, as well as their share of costs previously incurred in connection with

mediation. In the event the Settlement is not fully consummated, funds from the Settlement



                                                19
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 20 of 156




Fund Escrow Account used for these purposes shall not be returned or repaid to Settling

Defendants or any other person or entity paying settlement monies on behalf of Settling

Defendants.

        19.    None of the Settling Defendants, the Individuals or FHFA will be liable for (i)

taxes owed, if any, by the Settlement Fund, (ii) the acts of omissions of the Escrow Agent or the

Claims Administrator, (iii) the acts or omissions of Lead Counsel in administering the Settlement

Fund, or (iv) the management, administration or investment of the Settlement Fund. The Escrow

Agreement shall govern Settling Defendants’ responsibilities with respect to the Settlement

Fund.

        20.    No Person shall have any claim against the Lead Plaintiffs, Plaintiffs’ Counsel or

the Claims Administrator, or any other Person designated by Plaintiffs’ Counsel, based on

determination or distributions made substantially in accordance with the Stipulation and

Settlement contained herein, the Plan of Allocation, or further order(s) of the Court.

                            ATTORNEYS’ FEES AND EXPENSES

        21.    Lead Counsel shall submit a Fee and Expense Application, which will contain a

request for an award of attorneys’ fees and reimbursement of expenses to be distributed from the

Settlement Fund, including Lead Plaintiffs’ reasonable costs and expenses (including lost wages)

directly relating to the representation of the class. The Settling Defendants, FHFA, and the

Individuals have made no agreement with Lead Plaintiffs regarding the Fee and Expense

Application and take no position with respect to it.

        22.    Any attorneys’ fees and expenses awarded by the Court, including interest thereon

(as provided in Paragraph 15 of this Stipulation), shall be paid from the Settlement Fund to Lead

Counsel within three (3) days after the Judgment becomes Final. Lead Counsel shall allocate the



                                                20
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 21 of 156




attorneys’ fees among the Plaintiffs’ Counsel authorized to assist in the prosecution of the

Consolidated Action in a manner in which they in good faith believe reflects the contributions of

such counsel to the prosecution and settlement of the Consolidated Action.

       23.     Any order of the Court or any appellate court with respect to the application for or

award of attorneys’ fees and expenses to Lead Counsel shall not operate to terminate the

Settlement or affect or delay the finality of the Judgment. Settling Defendants, FHFA and the

Individuals have no responsibility or liability for the payment or allocation of attorneys’ fees and

expenses.

                        ADMINISTRATION OF THE SETTLEMENT

       24.     Lead Counsel shall be solely responsible for designating the Claims

Administrator, subject to approval by the Court. The Claims Administrator shall administer the

Settlement under the supervision of the Lead Counsel and the Court. The Claims Administrator

shall determine each Authorized Claimant’s pro rata share of the Net Settlement Fund based

upon each Authorized Claimant’s Recognized Loss (as defined in the Plan of Allocation)

compared to the total Recognized Loss of all Authorized Claimants.

       25.     If the Judgment otherwise becomes Final, the Plan of Allocation is not a

necessary term of this Stipulation, and it is not a condition of this Stipulation that any particular

plan of allocation be approved by the Court. This Stipulation and the Settlement cannot be

terminated based on this Court’s or any appellate court’s ruling with respect to any Plan of

Allocation in the Consolidated Action. Settling Defendants, FHFA and the Individuals take no

position with respect to any proposed or approved Plan of Allocation; such Plan of Allocation is

a matter separate and apart from the proposed Settlement, and any decision by the Court




                                                 21
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 22 of 156




concerning the Plan of Allocation shall not affect the validity or finality of the proposed

Settlement.

         26.   Lead Counsel shall be responsible for supervising the administration of the

Settlement and disbursement of the Net Settlement Fund by the Claims Administrator. Except

for the Notice and Administration Expenses (which shall be payable solely from the Settlement

Fund), Settling Defendants, FHFA and the Individuals shall have no liability, obligation or

responsibility for the administration of the Settlement, the allocation of the Settlement proceeds

or the reviewing or challenging of claims of members of the Class. The allocation of the Net

Settlement Fund among the Settlement Class Members shall be subject to the Plan of Allocation.

         27.   For purposes of determining the extent, if any, to which a Settlement Class

Member shall be entitled to be treated as an Authorized Claimant, the following conditions shall

apply:

               a.     Each Settlement Class Member shall be required to submit a Proof of

Claim, signed under penalty of perjury, and supported by such documents as are designated

therein, including proof of the claimant’s loss or such other documents or proof as Lead Counsel,

in their discretion, may deem acceptable, subject to the approval of the Court.

               b.     All Proofs of Claims must be submitted by the date specified unless such

period is extended by order of the Court. Any Settlement Class Member who fails to submit a

Proof of Claim by such date shall be forever barred from receiving any payment pursuant to this

Stipulation (unless, by order of the Court, a later submitted Proof of Claim by such Settlement

Class Member is approved). A Proof of Claim shall be deemed to be submitted when posted, if

received with a postmark indicated on the envelope dated on or before the date specified in the

Notice and if mailed first-class postage prepaid and addressed in accordance with the instructions



                                                22
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 23 of 156




thereon. In all other cases, the Proof of Claim shall be deemed to have been submitted when

actually received by the Claims Administrator.

                c.     The Claims Administrator shall review each Proof of Claim and

determine, in accordance with this Stipulation and Plan of Allocation, the extent, if any, to which

each claim shall be allowed, subject to final approval by the Court.

                d.     Proofs of Claims that do not meet the submission requirements may be

rejected. The Claims Administrator shall notify, in a timely fashion and in writing, all claimants

whose Proofs of Claims it proposes to reject in whole or in part, setting forth the reasons

therefore, and shall indicate in such notice that the claimant has the right to a review by the Court

if the claimant so desires and if the claimant complied with the requirements of subparagraph (e)

below.

                e.     If any claimant who is notified by the Claims Administrator that the

Claims Administrator proposes that his, her or its claim be rejected in whole or in part desires to

contest such rejection, such claimant must, within thirty (30) days after the date of mailing of the

notice required in subparagraph (d) above, serve upon the Claims Administrator a notice and

statement of reasons indicating the claimant’s grounds for contesting the rejection along with any

supporting documentation, and requesting a review thereof by the Court. If a claimant provides

this required notice of the claimant’s desire to contest the rejection and the dispute concerning a

claim cannot be otherwise resolved, Lead Counsel shall thereafter present the request for review

to the Court.

         28.    After the Judgment becomes Final, Lead Counsel will apply to the Court for entry

of a Class Distribution Order approving the Claims Administrator’s administrative

determinations concerning the acceptance and rejection of the claim submitted herein, approving



                                                 23
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 24 of 156




any fees and expenses not previously applied for, including the fees and expenses of the Claims

Administrator, and directing the payment of the Net Settlement Fund to Authorized Claimants.

       29.     Each claimant shall be deemed to have submitted to the jurisdiction of the Court

with respect to the claimant’s claim, and the claim will be subject to investigation and discovery

under the Federal Rules of Civil Procedure, provided that such investigation and discovery shall

be limited to the claimant’s status as a Settlement Class Member and the validity and amount of

the claimant’s claim. In connection with processing of the Proofs of Claim, no discovery shall

be allowed on the merits of the Consolidated Action or of the Settlement. All costs of any such

discovery shall be paid solely from the Settlement Fund, and Settling Defendants, FHFA and the

Individuals shall not be responsible for any costs associated with such discovery.

       30.     The Net Settlement Fund shall be distributed to Authorized Claimants by the

Claims Administrator only after the Effective Date and, unless otherwise ordered by the Court,

after: (i) all claims have been processed, and all claimants whose claims have been rejected or

disallowed, in whole or in part, have been notified and provided the opportunity to be heard

concerning such rejection or disallowance; (ii) all unresolved objections with respect to all

rejected or disallowed claims have been resolved by the Court; (iii) all matters with respect to

attorneys’ fees, costs, and disbursements have been resolved by the Court and all appeals

therefrom have been resolved or the time therefore has expired; and (iv) all Notice and

Administration Expenses, Taxes, and other costs approved by the Court have been paid.

       31.     Payment pursuant to this Stipulation and Plan of Allocation shall be deemed final

and conclusive against all Settlement Class Members. All Settlement Class Members who fail to

timely submit a valid Proof of Claim and all Settlement Class Members whose claims are not

approved by the Court shall be barred from participating in distributions from the Net Settlement



                                                24
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 25 of 156




Fund, but otherwise shall be bound by all of the terms of this Stipulation and the Settlement,

including the terms of the Judgment entered in the Consolidated Action and the releases provided

for herein, and will be barred from bringing any action against the Released Parties concerning

the Settled Class Claims.

       32.     All proceedings with respect to the administration, processing and determination

of claims described in this Stipulation and the determination of all controversies relating thereto,

including disputed question of law and fact with respect to the validity of claims, shall be subject

to the jurisdiction of the Court.

                                        TERMINATION

       33.     The Parties to the Stipulation shall have the right to terminate the Settlement and

this Stipulation by providing written notice of their election to do so to all other Parties to the

Stipulation within ten (10) days of (a) the Court’s declining to enter the Preliminary Approval

Order in any material respect; (b) the Court’s refusal to approve the Stipulation or any material

part of it; (c) the Court’s declining to enter the Judgment in any material respect; or (d) the date

upon which the Judgment is modified or reversed in any material respect by the Court of Appeals

of the Supreme Court of the United States. As set forth in paragraphs 23 and 25, above, any

order of the Court or any appellate court with respect to the application for or award of attorneys’

fees and expenses to Lead Counsel or the Plan of Allocation shall not be grounds for termination.

       34.     By court-approved notice previously provided to all potential Class Members over

several months in 2008, Class Members were afforded the opportunity to opt out of the Class. In

the event the Court orders the Parties to provide Class Members another opportunity to opt out of

the Class, Settling Defendants will have the option to terminate this Stipulation and the

Settlement if holders of more than an agreed-to amount of the shares eligible to participate in the



                                                25
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 26 of 156




Settlement seek to exclude themselves from the Settlement Class. Settling Defendants must

exercise their option to terminate in writing to the other Parties to the Stipulation within twenty

(20) business days after the deadline for members of the Class to request exclusion from the

Settlement Class, or the option is waived. Lead Counsel shall have the right to communicate

with the holders of such opt-out shares and, if a sufficient number of them withdraw their

requests for exclusion so that the percentage of opt-out shares is reduced to a level at or below

the agreed-to amount, Settling Defendants’ notice of termination shall be deemed withdrawn.

       35.     In the event the Settlement is terminated or fails to become effective for any

reason, (i) the Settlement shall be without prejudice and none of its terms shall be effective or

enforceable except as specifically provided herein, (ii) the Parties to the Stipulation shall revert

to their respective status in the Consolidated Action as of March 20, 2013, (iii) except as

otherwise expressly provided herein, the Parties in the Consolidated Action shall proceed in all

respects as if this Stipulation and any related orders had not been entered, and (iv) the fact and

terms of this Stipulation shall not be admissible in any trial of this action.

       36.     If the Settlement is terminated pursuant to the terms hereof, the Settlement Fund,

together with any interest earned thereon, less any Taxes paid or due with respect to such

income, and less any Notice and Administration Expenses actually incurred or paid, shall be

returned to Settling Defendants in proportion to their contributions.

                             NO ADMISSION OF WRONGDOING

       37.     The Settling Defendants do not admit any wrongdoing, fault, liability or damage

to Plaintiffs, nor do they admit that they engaged in any wrongdoing or that they committed any

violation of law. In view, however, of the uncertainty and risk of the outcome of any litigation

(especially complex securities litigation), the difficulties and substantial expense and length of



                                                  26
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 27 of 156




time necessary to defend the proceeding—including potentially through trial, post-trial motions

and appeals—and to eliminate the burden and expense of further litigation, the Settling

Defendants wish to settle the Consolidated Action and put the Settled Class Claims to rest,

finally and forever, without in any way acknowledging any wrongdoing, fault, liability or

damage to Plaintiffs. This Stipulation and the terms of the Settlement represent a compromise of

disputed claims and the negotiations, discussions, and communications in connection with or

leading up to and including the Settlement are not and shall not be construed as admissions or

concessions by any Party, either as to any liability or wrongdoing or as to the merits of any claim

or defense. Neither the existence of this Stipulation nor any of its provisions shall be offered into

evidence by any Party or its agents in the Consolidated Action or in any other action, arbitration

or proceeding as admissions or concessions of liability or wrongdoing of any nature on the part

of the other Party, or as admissions or concessions concerning the merits of any claim or defense,

other than in connection with any action, motion or proceeding to enforce the terms of this

Stipulation.

       38.     The Parties to the Stipulation agree that each has complied fully with the

strictures of Rule 11 of the Federal Rules of Civil Procedure and the Judgment will contain a

statement to reflect this compliance.

                              MISCELLANEOUS PROVISIONS

       39.     All of the Exhibits attached hereto are material and integral parts hereof and are

hereby incorporated by reference as though fully set forth herein.

       40.     Defendant KPMG warrants that it is not now, and will not be at the time of the

payment of the Settlement Amount, insolvent, nor will the payment of the Settlement Amount

render it insolvent within the meaning of and/or for the purposes of the United States Bankruptcy



                                                 27
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 28 of 156




Code, including §§ 101 and 547 thereof. If a case is commenced against KPMG (or any insurer

contributing funds to the Settlement Fund on behalf of KPMG) under Title 11 of the United

States Code (Bankruptcy), or a trustee, receiver or conservator is appointed under any similar

law, and in the event of the entry of a final order of a court of competent jurisdiction determining

the transfer of money to the Settlement Fund or any portion thereof by or on behalf of KPMG to

be a preference, voidable transfer, fraudulent transfer or similar transaction, and any portion

thereof is required to be returned, and such amount is not promptly deposited to the Settlement

Fund by others, then, at the election of Lead Counsel, (i) the Settling Parties shall jointly move

the Court to vacate and set aside the releases given and the Judgment entered in favor of Settling

Defendants pursuant to this Stipulation, which releases and Judgment shall be null and void ab

initio; and (ii) this Stipulation shall terminate and the Parties will be subject to the provisions set

forth in paragraph 35, above.

       41.     Defendant Fannie Mae is in conservatorship, and is entering into this Stipulation

and paying its portion of the Settlement Fund with the express approval of its conservator,

FHFA. FHFA has approved the Settlement pursuant to the Director’s authority under Title 12,

United States Code, Section 4617 and 12 C.F.R. § 1237 as a Final Rule published in the Federal

Register on June 20, 2011, see Conservatorship and Receivership, 76 Fed. Reg. 35,724 (June 20,

2011). In the event of Fannie Mae’s receivership or bankruptcy, and the entry of a final order of

a court of competent jurisdiction determining the transfer of money to the Settlement Fund or

any portion thereof by or on behalf of Fannie Mae to be a preference, voidable transfer,

fraudulent transfer or similar transaction, and any portion thereof is required to be returned, and

such amount is not promptly deposited to the Settlement Fund by others, then, at the election of

Lead Counsel, (i) the Settling Parties shall jointly move the Court to vacate and set aside the



                                                  28
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 29 of 156




releases given and the Judgment entered pursuant to this Stipulation, which releases and

Judgment shall be null and void ab initio; and (ii) this Stipulation shall terminate and the Parties

will be subject to the provisions set forth in paragraph 35, above.

         42.   The Parties to the Stipulation intend that the Settlement of the Consolidated

Action be a final and complete resolution of all disputes asserted or which could be asserted by

any Parties in the Consolidated Action in accordance with the terms of the releases contained

herein. The Settling Parties agree that the amount paid and the other terms of the Settlement

were negotiated at arm’s-length in good faith and reflect a settlement that was reached

voluntarily after consultation with experienced legal counsel.

         43.   This Stipulation may not be modified or amended, nor may any of its provisions

be waived, except by a writing signed by all Parties to the Stipulation or their successors or

assigns.

         44.   The headings herein are used for the purpose of convenience only and are not

meant to have legal effect.

         45.   Without affecting the finality of the Judgment entered in accordance with this

Stipulation, the Court shall retain jurisdiction with respect to implementation and enforcement of

the terms of the Stipulation and Judgment, and the Parties submit to the jurisdiction of the Court

for purposes of implementing and enforcing the Settlement embodied in the Stipulation and

Judgment.

         46.   The waiver by one Party of any breach of this Stipulation by any other Party shall

not be deemed a waiver of any other prior or subsequent breach of this Stipulation by the other

Party.




                                                 29
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 30 of 156




        47.     All agreements made and orders entered during the course of the Consolidated

Action relating to the confidentiality of information shall survive this Stipulation.

        48.     This Stipulation and its Exhibits, and the agreement contemplated by Paragraph

34, constitute the entire agreement among the Parties concerning the Settlement of the

Consolidated Action, and no representations, warranties, or inducements have been made by any

Party concerning this Stipulation and its exhibits other than those contained and memorialized in

such documents.

        49.     This Stipulation may be executed in one or more counterparts, including signature

transmitted by facsimile or in PDF format. Each counterpart when so executed shall be deemed

to be an original, and all such counterparts together shall constitute the same instrument.

        50.     This Stipulation shall be binding when signed, but the Settlement shall be

effective only on the condition that the Effective Date occurs. This Stipulation shall be binding

upon, and inure to the benefit of, the successors and assigns of the Parties.

        51.     The construction, interpretation, operation, effect and validity of this Stipulation,

and all documents necessary to effectuate it, shall be governed by the internal laws of the District

of Columbia without regard to conflict of laws, except to the extent that federal law requires that

federal law govern.

        52.     This Stipulation shall not be construed more strictly against one Party than

another merely by virtue of the fact that it, or any part of it, may have been prepared by counsel

for one of the Parties, it being recognized that it is the result of arm’s length negotiations among

the Settling Parties.

        53.     All counsel and any other person executing this Stipulation and any of the

exhibits hereto, or any related settlement documents, warrant and represent that they have the full



                                                 30
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 31 of 156




authority to do so, and that they have the authority to take appropriate action required or

permitted to be taken pursuant to the Stipulation to effectuate its terms.

       54.     The Parties agree that all further proceedings related to the Consolidated Action,

as set forth in paragraph 3(d) above shall be stayed during the course of the Settlement

proceedings, but shall promptly recommence it the Settlement is not preliminarily or finally

approved by the Court or the Settlement does not otherwise become effective.



IN WITNESS WHEREOF, the Parties to the Stipulation have caused this Stipulation to be
executed by their duly authorized representatives.


Dated: May 7, 2013                            OHIO ATTORNEY GENERAL
                                              MICHAEL DeWINE

                                              MARKOVITS, STOCK & DEMARCO, LLC
                                              Lead Counsel for the Attorney General of Ohio and
                                              Lead Plaintiffs

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                                                 31
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 32 of 156




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                                              32
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 33 of 156




    ADDITIONAL SIGNATORIES TO RELEASE PROVISIONS – PARAGRAPH 3

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                                      33
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 34 of 156




                    EXHIBIT

                               A
       Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 35 of 156




                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF COLUMBIA



In re Federal National Mortgage                      )
Association Securities, Derivative, and              )    MDL No. 1668
“ERISA” Litigation                                   )

                                                     )
In Re Fannie Mae Securities Litigation               )    Consolidated Civil Action No.: 1:04-CV-01639
                                                     )    Judge Richard J. Leon
                                                     )


    [PROPOSED] ORDER GRANTING PRELIMINARY APPROVAL OF CLASS ACTION
     SETTLEMENT, APPROVING FORM AND MANNER OF NOTICE, SETTING DATE
      FOR HEARING ON FINAL APPROVAL OF SETTLEMENT, AND STAYING NON-
                    SETTLEMENT RELATED PROCEEDINGS

        This matter comes before the Court on Lead Plaintiffs’ Unopposed Motion for

Preliminary Approval of Class Action Settlement, Approving Form and Manner of Notice,

Setting Date for Hearing on Final Approval of Settlement, and Staying Non-Settlement Related

Proceedings (“Motion”), and the Stipulation of Settlement dated May 7, 2013 (“Stipulation”)

entered into by Lead Plaintiffs with Defendant Federal National Mortgage Association (“Fannie

Mae”), Defendant KPMG LLP (“KPMG”) (collectively, with Fannie Mae, the “Settling

Defendants”), and the Federal Housing Finance Agency (“FHFA”) (as Conservator for Fannie

Mae). 1 The Court has reviewed the Motion and the Stipulation, and attached exhibits, and finds

that the Motion should be granted.

        All defined terms used in this Order shall have same meanings as set forth in the

Stipulation.

        NOW, THEREFORE, the Court hereby ORDERS:

1
 Former individual defendants Franklin Raines, Timothy Howard, and Leanne Spencer (the “Individuals”) have
been dismissed from this Action. The Individuals are signatories for purposes of the release provisions of the
Stipulation, set forth in Paragraph 3 of the Stipulation.
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 36 of 156




       1.      The Court does hereby preliminarily approve the Stipulation and the Settlement

set forth therein, including the releases contained therein, as being fair, reasonable, and adequate

as to Class Members, subject to further consideration at the Settlement Fairness Hearing

described below. Therefore, the Motion for Preliminary Approval of the Proposed Settlement is

GRANTED.

       2.      A hearing (the “Settlement Fairness Hearing”) shall be held before this Court on

__________________________ at ____a.m. for the following purposes:

               a. To determine whether the proposed Settlement of the Consolidated Action on

                   the terms and conditions provided for in the Stipulation is fair, reasonable and

                   adequate to the Settlement Class and should be approved by the Court;

               b. To determine whether a Final Judgment, as defined in the Stipulation, should

                   be entered;

               c. To determine whether the proposed Plan of Allocation for the net proceeds of

                   the Settlement is fair and reasonable, and should be approved by the Court;

               d. To determine whether Lead Plaintiffs’ application for attorneys’ fees and

                   reimbursement of expenses should be approved; and

               e. To rule upon such other matters as the Court may deem appropriate.

       3.      The Court approves, as to form and content, the Notice and Summary Notice for

publication, attached as Exhibit A-1 and A-2 hereto, and finds that the mailing and distribution

of the Notice and the publishing of the Summary Notice substantially in the manner and form set

forth in ¶¶4-5 of this Order meet the requirements of Fed. R. Civ. P. 23, the Securities Exchange

Act of 1934, 15 U.S.C. §78u-4(a)(7), as amended, including the Private Securities Litigation




                                                 2
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 37 of 156




Reform Act of 1995, and due process, and is the best notice practicable under the circumstances,

and shall constitute due and sufficient notice to all Persons entitled to notice.

       4.      The Complaint was commenced after February 18, 2005. The Court directs the

Settling Defendants to notify the appropriate Federal and State officials under the Class Action

Fairness Act of 2005, 28 US.C. §1715. Counsel for Settling Defendants shall, at or before the

Settlement Fairness Hearing, file with the Court proof of compliance with the Class Action

Fairness Act of 2005, 28 U.S.C. §1715.

       5.      The firm of The Garden City Group, Inc. (“Claims Administrator”) is hereby

appointed, under the supervision of Lead Counsel, to administer the notice procedure as well as

the processing of claims as more fully set forth below:

               a. Fannie Mae shall cooperate, to the extent necessary, in making its transfer

                   records and shareholder information available to the Claims Administrator for

                   the purpose of identifying and giving notice to the Settlement Class;

               b. No later than ____ business days after entry of this Order, Lead Counsel shall

                   cause a copy of the Notice, substantially in the form attached as Exhibit A-1,

                   to be mailed by first class mail to all potential Settlement Class Members who

                   can be identified with reasonable effort;

               c. Lead Counsel shall cause the Summary Notice, in substantially the form

                   annexed as Exhibit A-2, to be published once in the Wall Street Journal and

                   over the PR Newswire or similar national business oriented newswire, with

                   such publication completed no later than ____ calendar days after mailing of

                   the Notice; and




                                                  3
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 38 of 156




               d. No later than ____ calendar days before the Settlement Fairness Hearing,

                   Lead Counsel shall cause proof, by affidavit or declaration, of such mailing

                   and publishing to be filed with the Court.

       6.      Nominees who purchased the securities of Fannie Mae for the beneficial

ownership of Settlement Class Members during the Class Period shall send the Notice to all

beneficial owners of such Fannie Mae securities within ___ calendar days after receipt thereof,

or send a list of the names and addresses of such beneficial owners to the Claims Administrator

within ___ calendar days of receipt thereof, in which event the Claims Administrator shall

promptly mail the Notice to such beneficial owners.             The Claims Administrator shall, if

requested, reimburse banks, brokerage houses or other nominees solely for their reasonable out-

of-pocket expenses incurred in providing notice to beneficial owners who are potential

Settlement Class Members out of the Settlement Fund, which expenses would not have been

incurred except for the sending of such Notice, subject to further order of this Court with respect

to any dispute concerning such compensation.

       7.      In order to be entitled to participate in the Net Settlement Fund, in the event the

Settlement is effected in accordance with the terms and conditions set forth in the Stipulation,

each Settlement Class Member shall take the following actions and be subject to the following

conditions:

               a. A properly executed Proof of Claim, substantially in the form attached hereto

                   as Exhibit A-3, must be submitted to the Claims Administrator, at the Post

                   Office Box indicated in the Notice, postmarked or delivered no later than

                   _____ calendar days after the initial mailing of the Notice. Such deadline may

                   be further extended by Court Order. Each Proof of Claim shall be deemed to



                                                4
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 39 of 156




          have been submitted when postmarked (if properly addressed and mailed by

          first class mail, postage prepaid), provided such Proof of Claim is actually

          received prior to the motion for an order of the Court approving distribution of

          the Net Settlement Fund. Any Proof of Claim submitted in any other manner

          shall be deemed to have been submitted when it was actually received at the

          address designated in the Notice. Any Settlement Class Member who does

          not submit a Proof of Claim within the time provided for shall be barred from

          sharing in the distribution of the proceeds of the Net Settlement Fund, unless

          otherwise ordered by the Court. Notwithstanding the foregoing, Lead Counsel

          shall have discretion to accept late-submitted claims for processing by the

          Claims Administrator so long as the distribution of the Net Settlement Fund is

          not materially delayed thereby.

       b. The Proof of Claim submitted by each Settlement Class Member must satisfy

          the following conditions: (i) it must be properly completed, signed and

          submitted in a timely manner in accordance with the provisions of the

          preceding subparagraph; (ii) it must be accompanied by adequate supporting

          documentation as are specified in the Proof of Claim and as are reasonable

          available to the Authorized Claimant for the transactions reported therein, in

          the form of broker confirmation slips, broker account statements, an

          authorized statement from the broker containing the transactional information

          found in a broker confirmation slip, or such other documentation as is deemed

          adequate by Lead Counsel; (iii) if the person executing the Proof of Claim is

          acting in a representative capacity, a certification of his current authority to



                                       5
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 40 of 156




                   act on behalf of the Settlement Class Member must be included in the Proof of

                   Claim; and (iv) the Proof of Claim must be complete and contain no material

                   deletions or modifications of any of the printed matter contained therein and

                   must be signed under penalty of perjury.

               c. As part of the Proof of Claim, each Settlement Class Member shall submit to

                   the jurisdiction of the Court with respect to the claim submitted, and shall

                   (subject to effectuation of the Settlement) release all Released Claims as

                   provided in the Stipulation.

       8.      All Settlement Class Members shall be bound by all determinations and

judgments in the Consolidated Action concerning the Settlement, including but not limited to the

releases provided for in the Stipulation, whether favorable or unfavorable, except those who are

found by the Court to have previously timely and validly requested exclusion from the

Settlement Class and have not opted back in. The persons and entities who requested exclusion

from the Class and who have not opted back in will be excluded from the Settlement Class and

shall have no rights under the Stipulation, shall not be entitled to submit any Proof of Claim

forms, shall not share in the distribution of the Net Settlement Fund as described in the

Stipulation and in the Notice, and shall not be bound by the Stipulation or the Judgment entered

as to the Settling Defendants in the Consolidated Action.

       9.      Pending final determination of whether the Stipulation should be approved,

Plaintiffs’ Counsel, Plaintiffs, and Settlement Class Members are barred and enjoined from

commencing or prosecuting any action asserting any Settled Class Claims against any Released

Parties, and all further actions in the Consolidated Action unrelated to determination of approval

of the Stipulation shall be stayed.



                                                  6
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 41 of 156




       10.        Any Settlement Class Member may enter an appearance in the Consolidated

Action, individually or, at their own expense, through counsel of their own choice, in which case

such counsel must file with the Clerk of the Court and deliver to Lead Counsel and counsel for

the Settling Defendants a notice of such appearance no later than _____ calendar days after entry

of this Order. If they do not enter an appearance, they will be represented by Lead Counsel.

       11.       Lead Counsel shall submit a Fee and Expense Application no later than ___

calendar days after entry of this Order.

       12.       All papers in support of the Settlement, the Plan of Allocation, and Lead

Counsel’s Fee and Expense Application shall be filed no later than ______ calendar days after

entry of this Order.

       13.       Any Settlement Class Member may appear and show cause, if he, she, or it has

any, why the proposed Settlement should not be approved as fair, reasonable and adequate, why

the Plan of Allocation should not be approved as fair and equitable, why Lead Counsel’s

application for an award of attorneys’ fees and for reimbursement of expenses should not be

granted; provided, however, that no Person shall be heard or entitled to contest such matters,

unless that Person has delivered by hand or sent by first class mail written objections and copies

of all papers and briefs any such person wishes to submit in support of any such objection

delivered or post-marked no later than ______ calendar days after entry of this Order to each of

the following:

                                     CLERK OF THE COURT
                                    United States District Court
                                        District of Columbia
                                         Clerk of the Court
                          E. Barrett Prettyman United States Courthouse
                                    333 Constitution Ave. NW
                                    Washington, D.C. 2000112


                                                7
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 42 of 156




                          MARKOVITS, STOCK & DeMARCO, LLC
                           W. B. Markovits, Esq., Joseph Deters, Esq.
                                 119 East Court St., Suite 530
                                   Cincinnati, Ohio 45202
                                   Plaintiffs’ Lead Counsel

                                  O’MELVENY & MYERS LLP
                                      Jeffrey W. Kilduff
                                     1625 Eye Street NW
                                    Washington, D.C. 20006
                                    Counsel for Fannie Mae

                              GIBSON, DUNN & CRUTCHER LLP
                                       F. Joseph Warin
                                1050 Connecticut Avenue, N.W.
                                   Washington, D.C. 20036
                                      Counsel for KPMG

       14.     Any Person who does not make his, her, or its objection in the manner provided in

the Notice shall be deemed to have waived such objection and shall forever be foreclosed from

making any objection to the fairness or adequacy of the proposed Settlement as set forth in the

Stipulation, unless otherwise ordered by the Court.        Any papers, in response to any such

objections or in further support of the above-named motions shall be filed no later than ____

calendar days before the Settlement Fairness Hearing.

       15.     All funds held by the Escrow Agent shall be deemed and considered to be in

custodia legis of the Court, and shall remain subject to the jurisdiction of the Court, until such

time as such funds shall be distributed pursuant to the Stipulation or further order(s) of the Court.

       16.     All reasonable costs and expenses incurred in identifying and notifying Settlement

Class Members, as well as administering the Settlement Fund, shall be paid as set forth in the

Stipulation. In the event the Settlement is not approved by the Court, or otherwise fails to




                                                 8
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 43 of 156




become effective, remaining funds shall be handled in accordance with ¶¶ 18, 35 and 36 of the

Stipulation.

         17.   This Order, the Settlement, and any of their terms, and all negotiations,

discussions and proceedings in connection with this Order and the Settlement, shall not

constitute evidence, or an admission by any of the Settlement Defendants or the other Released

Parties, that any acts of wrongdoing have been committed and shall not be deemed to create any

inference that there is any liability on the part of any of the Settlement Defendants or the

Released Parties. This Order, the Settlement, and any of their terms, and all negotiations,

discussions and proceedings in connection with this Order and the Settlement, shall not be

offered or received in evidence or used for any other purpose in this or any other proceeding in

any court, administrative agency, arbitration tribunal, or other forum of any kind or character in

the United States or any other country except as necessary to enforce the terms of this Order or

the Settlement.

         18.   The Court reserves the right to adjourn the date of the Settlement Fairness

Hearing without further notice to the Settlement Class Members, and retains jurisdiction to

consider all further applications arising out of or connected with the proposed Settlement. The

Court may approve the Settlement, with such modifications as may be agreed to by the Lead

Plaintiffs and the Settling Defendants, if appropriate, without further notice to the Settlement

Class.

Dated: ___________________, 2013



                                                    ____________________________________
                                                    HONORABLE RICHARD J. LEON
                                                    UNITED STATES DISTRICT JUDGE



                                                9
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 44 of 156




                    EXHIBIT

                          A-1
                 Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 45 of 156
                                                     UNITED STATES DISTRICT COURT
                                                     FOR THE DISTRICT OF COLUMBIA

In re Federal National Mortgage
Association Securities, Derivative, and                                     MDL No. 1668
“ERISA” Litigation
THIS DOCUMENT RELATES TO:                                                   Consolidated Civil Action
In re Fannie Mae Securities Litigation                                      No. 04-1639 (RJL)

       NOTICE OF (I) PROPOSED SETTLEMENT AND PLAN OF ALLOCATION; (II) SETTLEMENT FAIRNESS HEARING; AND
           (III) MOTION FOR AN AWARD OF ATTORNEYS’ FEES AND REIMBURSEMENT OF LITIGATION EXPENSES

              TO: ALL PERSONS AND ENTITIES WHO ARE MEMBERS OF THE CERTIFIED CLASS IN THIS ACTION.
                               (See definition of the Class set forth in paragraph 1 below).

                            A Federal Court authorized this Notice. This is not a solicitation from a lawyer.

NOTICE OF SETTLEMENT: Please be advised that the Court-appointed Lead Plaintiffs, the Ohio Public Employees Retirement
System and the States Teachers Retirement System of Ohio (collectively, “Lead Plaintiffs), have reached a proposed settlement of
the above-captioned securities class action lawsuit (the “Consolidated Action”) for a total of $153,000,000 (one hundred and fifty-
                                                                                                    1
three million dollars) in cash that, if approved, will resolve all claims in the Consolidated Action .

PLEASE READ THIS NOTICE CAREFULLY. This Notice explains important rights you may have, including the possible
receipt of cash from the Settlement. If you are a Class Member, your legal rights will be affected whether or not you act.

If you have any questions about this Notice, the proposed Settlement, or your eligibility to participate in the Settlement,
please DO NOT contact F an n i e M ae o r i t s c ou n sel . All questions should be directed to Lead Counsel or the Claims
Administrator (see ¶ 82 below).

          1.        Description of the Consolidated Action and Class: This Notice relates to a proposed Settlement of claims in a
                                                                                                                      2
pending securities class action lawsuit brought by investors alleging, among other things, that the defendants violated the federal
securities laws by making materially false and misleading statements and omissions concerning, among other things, Fannie Mae’s
publicly disclosed financial statements and compliance with Generally Accepted Accounting Principles (“GAAP”). The Second
Amended Consolidated Class Action Complaint alleges: (i) that on September 22, 2004, Fannie Mae’s regulator, the Office of
Federal Housing Enterprise Oversight (“OFHEO”) publicly announced that as a result of an investigation into Fannie Mae’s
accounting policies and internal controls, OFHEO concluded that Fannie Mae and the Individuals had misapplied GAAP to distort
financial results and “smooth” earnings growth from quarter to quarter; (ii) that the SEC confirmed that Fannie Mae’s accounting
practices did not comply with GAAP and advised Fannie Mae to restate its financial statements from 2001 to mid-2004; and (iii)
that on December 22, 2004 Fannie Mae announced that it would restate its financial statements from 2001 to mid-2004 by an
estimated $9 billion. As a result of the Settling Defendants’ and Individuals’ actions, Lead Plaintiffs alleged that the Class had
incurred damages. The Court certified a class on January 7, 2008. The proposed Settlement, if approved by the United States
District Court for the District of Columbia (the “Court”), will settle claims of the following class of persons and entities (the “Class”):

         All purchasers of the publicly traded common stock and call options of Fannie Mae, and sellers of Fannie
         Mae publicly traded put options during the period from April 17, 2001 through December 22, 2004 (the “Class
         Period”) who suffered damages thereby (the “Class”). Excluded from the Class are (i) the Settling
         Defendants, and the Individuals, who were previously dismissed from the case, (ii) any person who was an
         officer or director of Fannie Mae or any of its parents or subsidiaries during the Class Period, (iii) the
         members of the immediate family of each of the Individuals (iv) any entity in which any Settling Defendant or
         Individual had a controlling interest during the Class Period, (v) any parent or subsidiary of Fannie Mae, (vi)
         any incentive, retirement, stock or other benefit plan that benefited solely the Individuals , and (vii) the legal
         representatives, heirs, predecessors, successors or assigns of any of the foregoing excluded persons and
         entities.

Also excluded from the Class are any Persons who submitted a request for exclusion in connection with the previously mailed
Notice of Pendency of Class Action (the “Class Notice”) as set forth on Exhibit D to the Stipulation who do not opt-back into the
Class (see ¶¶ 66-69 below).




1
 All capitalized terms used in this Notice that are not otherwise defined herein shall have the meanings provided in the Stipulation of Settlement of
Securities Action dated May 7, 2013 (the “Stipulation”), which is available on the website for the Consolidated Action at
www.fanniemaesecuritieslitigation.com.
2
  The remaining defendants are the Federal National Mortgage Association (“Fannie Mae”) and Fannie Mae’s former auditor, KPMG LLP (“KPMG”)
(collectively, the “Settling Defendants”). The Court granted summary judgment to the former Fannie Mae officers Franklin D. Raines, J. Timothy Howard
and Leanne G. Spencer (collectively, the “Individual Defendants”) and dismissed them from the Action. The Individual Defendants are not responsible
for any portion of the settlement payment being made to the Class.
               Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 46 of 156

           2.        Statement of Class’s Recovery: Subject to Court approval, and as described more fully below, Lead Plaintiffs, on
behalf of themselves and the Class, have agreed to settle all claims based on the purchase or other acquisition of Fannie Mae’s
publicly traded common stock and call options and/or the sale of put options during the Class Period. The Net Settlement Fund
(i.e., the Settlement Amount plus any and all interest earned thereon (together, the “Settlement Fund”) less (i) any Taxes, (ii) any
Notice and Administration Costs, (iii) any litigation expenses awarded by the Court; and (iv) any attorneys’ fees awarded by the Court)
will be distributed according to a plan of allocation that is approved by the Court. The proposed plan of allocation (the “Plan of
Allocation”) is set forth on pages 7-12 below.

          3.        Estimate of Average Amount of Recovery Per Share: Lead Plaintiffs’ damages expert estimates that
approximately 767 million shares of Fannie Mae common stock were purchased during the Class Period and held through a
corrective disclosure and therefore were damaged pursuant to Section 10(b) of the Exchange Act. Lead Plaintiffs’ damages expert
estimates that, if valid claims for all damaged shares are submitted, the average recovery per damaged share of Fannie Mae common
stock will be approximately $0.20 per share before deduction of attorneys’ fees, costs and expenses awarded by the Court and the
costs of providing notice and administering the Settlement. Class Members should note, however, that the foregoing average
recovery per damaged share of Fannie Mae common stock is only an estimate. A Class Member’s actual recovery will depend
on several things, including: (1) the number of claims filed; (2) when Class Members purchased, acquired and/or held their Fannie
Mae common stock during the Class Period; and (3) whether Class Members sold their shares of Fannie Mae common stock and, if
so, when. Distributions to Class Members will be made based on the Plan of Allocation set forth herein (see pages 7-12 below) or
such other plan of allocation as may be ordered by the Court.

         4.       Statement of Average Amount of Damages Per Share: The Lead Plaintiffs and Settling Defendants do not
agree on the average amount of damages per share that would be recoverable if Lead Plaintiffs were to prevail in the Consolidated
Action. Among other things, the Settling Defendants deny that they made any materially false or misleading statements or omitted
material information. Settling Defendants also assert that they were prepared to establish that the price of Fannie Mae common
stock declined in value for reasons not related to the disclosure of any allegedly false or misleading statements. The Plaintiffs and
Settling Defendants also disagree on the appropriate methodology for determining damages, if liability were established. In sum,
Settling Defendants do not agree with the assertion that they engaged in any actionable misconduct under the federal securities laws
or that any damages were suffered by any members of the Class as a result of their conduct.

           5.       Statement of Attorneys’ Fees and Expenses Sought: The Consolidated Action has been prosecuted on a
wholly contingent basis since its inception in 2004. Court-appointed Lead Counsel, Markovits, Stock & DeMarco, LLC, along with other
firms representing the Lead Plaintiffs (collectively “Plaintiffs’ Counsel”), have not received any payment of attorneys’ fees for their
representation of the Class and have advanced millions of dollars in expenses necessarily incurred in order to prosecute the Action.
As set forth in greater detail below (see ¶¶ 14-23 below), Plaintiffs’ Counsel have taken this case from inception to summary
judgment, and were responsible for, among other things: (i) conducting an extensive investigation into the Class’s claims; (ii) drafting
detailed amended complaints; (iii) successfully opposing multiple dismissal motions; (iv) successfully briefing Lead Plaintiffs’ motion for
class certification;(vii) engaging in an extensive discovery program, including participating in approximately 108 fact depositions and
reviewing more than 67 million pages of documents; (v) briefing and arguing multiple motions for summary judgment, including Lead
Plaintiffs’ own motion for partial summary judgment; and (vi) engaging in multiple in-person and telephonic meetings regarding a
possible settlement of the Consolidated Action before reaching an agreement in principle to settle on March 20, 2013.

          Pursuant to the retention agreement between Lead Counsel and the Ohio Attorney General, on behalf of Lead Plaintiffs, Lead
Counsel may apply and seek an award of attorneys’ fees and costs incurred in connection with its prosecution of the claims against the
Settlement Defendants and the Individuals. The retention agreement sets a base minimum fee of 7.5%-8.5% of the total recovery
amount, after costs and expenses. Based on a number of factors not specifically set forth in the retention agreement—including the
unusual length of this litigation (more than eight years), its difficulty, the extraordinary amount of time expended by the Plaintiffs’
Counsel (the fees sought are far less than the lodestar, which is the amount of time expended multiplied by the hourly rates), and a
comparison with fee awards in comparable cases—Lead Counsel will be seeking fees above the base minimum. As will be more fully
set forth in Lead Counsel’s Fee and Expense Application, Lead Counsel, on behalf of themselves and other Plaintiffs’ Counsel, will
apply to the Court for an award from the Settlement Fund of (i) reimbursement of out-of-pocket expenses incurred in prosecuting the
Consolidated Action, not to exceed $17 million plus the costs of settlement administration; (ii) attorneys’ fees in an amount not to
exceed 22% of the Settlement Fund, after other expenses have been deducted; and (iii) interest on the attorneys’ fees and expenses
awarded by the Court at the same rate and for the same periods as earned by the Settlement Fund from the date of the deposit of the
Settlement Amount until the date the attorneys’ fees and expenses are paid by the Settlement Fund. If the Court approves Lead
Counsel’s fee and expense application, the average cost per affected share of Fannie Mae common stock will be approximately $0.06
per share.

        6.       Identification of Attorneys’ Representatives: Lead Plaintiffs and the Class are being represented by: W. B.
Markovits, Esq. and Joseph Deters, Esq., Markovits, Stock & DeMarco, LLC, 119 East Court St., Cincinnati, Ohio 45202, (513) 651-
3700, bmarkovits@msdlegal.com.

          7.       Reasons for the Settlement: Lead Plaintiffs’ principal reason for entering into the Settlement is the substantial cash
benefit for the Class without the risk or the delays inherent in further litigation. Moreover, the substantial cash benefit provided under
the Settlement must be balanced against the significant risk that a smaller recovery – or, indeed, no recovery at all – might be
achieved after a trial of the Consolidated Action and the likelihood of appeals that could last many months, or even years, into the
future. The Settling Defendants, who deny all allegations of wrongdoing or liability whatsoever, are entering into the Settlement solely
to eliminate the uncertainty, burden and expense of further protracted litigation.


                                                                    2
                     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 47 of 156

                                                 YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT:
SUBMIT A CLAIM FORM BY:                                      This is the only way to be eligible to receive a payment from the Settlement. If you are a
_________, 2013.                                             Class Member, you will be bound by the Settlement as approved by the Court and you will
                                                             give up any Settled Class Claims (as defined in ¶ 60 below) that you have against the
                                                             Settling Defendants, the Individuals, FHFA, and any related parties (as defined in ¶ 1,
                                                             above), so it is in your interest to submit a Claim Form.
OPT-BACK INTO THE CLASS BY                                   If you previously submitted a request for exclusion from the Class in connection with the
SUBMITTING A WRITTEN REQUEST                                 Class Notice and now want to be part of the Class and be eligible to receive a
TO WITHDRAW YOUR PREVIOUSLY                                  payment from the Settlement Fund (by submitting a valid Claim Form by the claim filing
SUBMITTED REQUEST FOR                                        deadline), you must follow the steps for “Opting-Back Into the Class” as set forth in ¶¶
EXCLUSION SO THAT IT IS RECEIVED                             66-69 below. If you previously submitted a request for exclusion from the Class in
NO LATER THAN _____, 2013.                                   connection with the Class Notice of Pendency of Class Action and wish to remain
                                                             excluded from the Class, no further action is necessary.
OBJECT TO THE SETTLEMENT BY                                  If you object to the proposed Settlement, the proposed Plan of Allocation, or the request
SUBMITTING A WRITTEN OBJECTION                               for attorneys’ fees and reimbursement of litigation expenses, you may (but are not required
SO THAT IT IS RECEIVED NO LATER                              to) write to the Court and explain why yo u object. You cannot object to the Settlement,
THAN ____, 2013.                                             the Plan of Allocation or the fee and expense request unless you are a Class Member and
                                                             you did not previously submit a request for exclusion in connection with the Class Notice, or
                                                             you have opted back in as set forth in ¶¶ 66-69 below.
GO TO THE HEARING ON ____                                    Filing a written objection and notice of intention to appear by ____, 2013 allows you to
2013 AT ____P.M., AND FILE A NOTICE                          speak in Court at the discretion of the Court about the fairness of the proposed Settlement,
OF INTENTION TO APPEAR                                       the Plan of Allocation, or the request for attorneys’ fees and reimbursement of litigation
SO THAT IT IS RECEIVED NO LATER                              expenses. If you submit a written objection, you may (but do not have to) attend the
THAN ______, 2013.                                           Settlement Fairness Hearing and, at the discretion of the Court, speak to the Court about
                                                             your objection.
DO NOTHING.                                                  If you are a member of the Class and you do not submit a Claim Form by ____, 2013,
                                                             you will not be eligible to receive any payment from the Settlement Fund. You will,
                                                             however, remain a member of the Class, which means that you give up your right to sue
                                                             about the claims that are resolved by the Settlement and you will be bound by any
                                                             judgments or orders entered by the Court in the Consolidated Action.


                                                                       WHAT THIS NOTICE CONTAINS

Why Did I Get This Notice? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Page 3
What Is This Case About? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Page 4
How Do I Know If I Am Affected By The Settlement? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Page 5
What Are Lead Plaintiffs’ Reasons For The Settlement? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Page 5
What Might Happen If There Were No Settlement? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Page 6
How Much Will My Payment Be? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Page 6
How Are Class Members Affected By The Consolidated Action And The Settlement? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Page 12
What Payment Are The Attorneys For The Class Seeking? How Will The Lawyers Be Paid? . . . . . . . . . . . . . . . . . . . . . . . . . . . Page 12
How Do I Participate In The Settlement? What Do I Need To Do? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Page 13
Opting-Back Into The Class - What If I Previously Requested Exclusion From The Class And Now Want To Be Eligible
     To Receive A Payment From The Settlement Fund? How Do I Opt-Back Into The Class? . . . . . . . . . . . . . . . . . . . . . . . . . . Page 13
When And Where Will The Court Decide Whether To Approve The Settlement? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Page 13
Do I Have To Come To The Hearing? May I Speak At The Hearing If I Don’t Like The Settlement? . . . . . . . . . . . . . . . . . . . . . Page 13
What If I Bought Shares On Someone Else’s Behalf? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . Page 14
Can I See The Court File? Whom Should I Contact If I Have Questions? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .Page 15

                                                                        WHY DID I GET THIS NOTICE?

         8.        This Notice is being sent to you pursuant to an Order of the Court because you or someone in your family or an
investment account for which you serve as custodian may have purchased or otherwise acquired Fannie Mae common stock or call
options and/or sold put options during the Class Period (i.e. April 17, 2001 through December 22, 2004, inclusive). The Court
has directed us to send you this Notice because, as a potential Class Member, you have a right to know about your options before the
Court rules on the proposed Settlement of this case. Additionally, you have the right to understand how a class action lawsuit may
generally affect your legal rights. If the Court approves the Settlement, The Garden City Group, Inc. (“GCG”), the claims administrator
selected by Lead Plaintiffs and approved by the Court, will distribute payments pursuant to the Settlement after any objections and
appeals are resolved.

         9.       In a class action lawsuit, under a federal law governing lawsuits such as this one, the Court appoints one or more
investors, known as class representatives, to oversee litigation brought on behalf of all investors with similar claims, commonly known
as the class or the class members. In this action, the Court has appointed the Ohio Public Employees Retirement System and the

                                                                                              3
                Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 48 of 156
State Teachers Retirement System of Ohio to serve as class representatives, or “Lead Plaintiffs,” and has appointed the law firm of
Markovits, Stock & DeMarco, LLC as Lead Counsel for Lead Plaintiffs and the Class in the Consolidated Action. A class action is a
type of lawsuit in which the claims of a number of individuals are resolved together, thus providing the class members with both
consistency and efficiency. Here, the Court has already certified the Class. Accordingly, the Settlement, if approved by the Court,
will resolve all issues on behalf of the Class Members, except for any Persons who previously submitted a request for exclusion in
connection with the Class Notice who do not opt-back into the Class.

         10.       The Court in charge of this case is the United States District Court for the District of Columbia, and the case is known
as In re Fannie Mae Securities Litigation, MDL No. 1668 (RJL). The Judge presiding over this case is the Honorable Richard J. Leon,
United States District Judge. The people who are suing are called plaintiffs, and those who are being sued are called defendants. In
this case, two of the named plaintiffs are referred to as the Lead Plaintiffs and they are suing on behalf of themselves and the Class,
and the remaining defendants are Fannie Mae and KPMG (see fn. 2 above). If the Settlement is approved, it will resolve all claims
in the Consolidated Action by Class Members against the Settling Defendants and will bring the Consolidated Action to an end.

        11.       This Notice explains the lawsuit, the Settlement, your legal rights, what benefits are available, who is eligible for them,
and how to get them. The purpose of this Notice is to inform you that a settlement has been reached in this Consolidated Action and
how you might be affected. It also is being sent to inform you of the terms of the proposed Settlement, and of a Hearing on Final
Approval of Settlement to be held by the Court to consider the fairness, reasonableness, and adequacy of the proposed Settlement,
the proposed Plan of Allocation, and the motion by Lead Counsel for an award of attorneys’ fees and reimbursement of litigation
expenses (the “Settlement Fairness Hearing”).

          12.      The Settlement Fairness Hearing will be held on ______, 2013 at ____ p.m., before the Honorable Richard J. Leon,
at the E. Barrett Prettyman United States Courthouse, 333 Constitution Ave, NW, Washington, D.C. 20001, to determine:

    a)   whether the proposed Settlement is fair, reasonable, and adequate and should be approved by the Court;
    b)   whether the Action should be dismissed with prejudice against the Settling Defendants as set forth in the Stipulation;
    c)   whether the proposed Plan of Allocation is fair and reasonable and should be approved by the Court;
    d)   whether Lead Counsel’s request for an award of attorneys’ fees and reimbursement of litigation expenses should be approved
         by the Court; and
    e)   any other relief the Court deems necessary to effectuate the terms of the Settlement.

          13.      This Notice does not express any opinion by the Court concerning the merits of any claim in the Consolidated Action,
and the Court still has to decide whether to approve the Settlement. If the Court approves the Settlement, payments to Authorized
Claimants will be made after any appeals are resolved, and after the completion of all claims processing. As referenced above, there
are millions of shares of Fannie Mae common stock and call and put options as to which claims may be submitted and, thus, the
claims process could take substantial time to complete fully and fairly. Please be patient.

                                                     WHAT IS THIS CASE ABOUT?

         A.       Summary of Procedural History and Background on Lead Plaintiffs’ Claims

           14.        Beginning in September 2004, multiple securities class action complaints were filed against Fannie Mae and certain of
its officers in this District and others. These were consolidated in the Consolidated Action.

        15.      The Court appointed pension funds Ohio Public Employees Retirement System and State Teachers Retirement
System of Ohio (collectively, “Lead Plaintiffs”) as Lead Plaintiffs in January 2005, and Lead Plaintiffs filed a Consolidated Complaint in
March 2005. In February 2006, the Court denied Fannie Mae’s motion to dismiss.

         16.      The “Second Amended Consolidated Class Action Complaint” (the “Complaint”), filed August 14, 2006, alleged that
Fannie Mae and the other defendants – Franklin Raines (“Raines”), Timothy Howard (“Howard”), Leanne Spencer (“Spencer”), and
KPMG, LLP (“KPMG”) – publicly issued materially false and misleading financial reports and other statements that artificially inflated the
price of Fannie Mae’s securities, in violation of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934, as amended (the
“Exchange Act”) and Securities and Exchange Commission (“SEC”) Rule 10b-5 promulgated thereunder. On September 28, 2006,
KPMG filed a motion to dismiss, which was denied on January 24, 2007.

         17.      In January 2008, following motions and briefing, the Court certified a Class generally composed of purchasers of
Fannie Mae’s common stock and call options and sellers of Fannie Mae’s put options from April 17, 2001 through December 22, 2004
(the “Class Period”). A Notice of Pendency of Class Action was mailed to potential class members over several months in 2008. There
was a mailing of 958,697 notices, and over 20,000 remailings for updated addresses; 239 timely exclusions were received.

         18.     Fact discovery concluded on April 29, 2010, with over 67 million pages of documents produced and 108 fact witnesses
deposed. Expert discovery concluded on May 26, 2011; Lead Plaintiffs had 6 experts and Fannie Mae, KPMG and the Individuals had
29 experts combined.

         19.      The parties filed eight summary judgment motions in August 2011, two by Plaintiffs, two joint motions by Fannie Mae,
KPMG and certain of the Individuals, one motion by KPMG, and one each by the Individuals. These were argued in June 2012 over the
course of four days. The Court granted summary judgment on the Individuals’ motions on September 20, October 16 and November 20,
2012.


                                                                     4
               Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 49 of 156

         B.       The Settlement Negotiations

          20.     After some unsuccessful and sporadic efforts at settlement, the Settling Defendants and Lead Plaintiffs agreed to
formal mediation in 2011, using the services of Fred Fielding, an experienced mediator with the law firm of Morgan, Lewis & Bockius LLP.
The first meeting with the mediator took place on June 8, 2011. After a number of meetings over the course of more than a year, on
March 20, 2013 the mediator was able to effect an agreement in principle, which was memorialized in a Memorandum of Understanding
signed on April 10, 2013.

           21.     Based upon their investigation, prosecution and mediation of the case, Lead Counsel have concluded that the
terms and conditions of the Stipulation are fair, reasonable and adequate to the Lead Plaintiffs and the other members of the Class, and
in their best interests. Based on Lead Plaintiffs’ direct oversight of the prosecution of this matter and with the advice of Lead
Counsel, each of the Lead Plaintiffs has agreed to settle the claims raised in the Consolidated Action pursuant to the terms and
provisions of the Stipulation, after considering (a) the very substantial financial benefit that Lead Plaintiffs and the other members
of the Class will receive under the proposed Settlement, (b) the significant risks of continued litigation and trial, and (c) the
desirability of permitting the Settlement to be consummated as provided by the terms of the Stipulation. The fact that Lead
Plaintiffs have agreed to settle the Consolidated Action shall in no event be construed or deemed to be evidence of or an admission
or concession on the part of any Lead Plaintiff of any infirmity in any of the claims asserted in the Consolidated Action, or an
admission or concession that any of Settling Defendants’ affirmative defenses to liability have any merit.

          22.      Settling Defendants are entering into the Stipulation solely to eliminate the uncertainty, burden and expense of
further protracted litigation. Each of the Settling Defendants denies any wrongdoing, and the Stipulation shall in no event be construed
or deemed to be evidence of or an admission or concession on the part of any of the Settling Defendants, (defined in footnote 2,
above), with respect to any claim or allegation of any fault or liability or wrongdoing or damage whatsoever, or any infirmity in the
defenses that Settling Defendants have, or could have asserted. The Settling Defendants expressly deny that Lead Plaintiffs have
asserted any valid claims as to any of them, and expressly deny any and all allegations of fault, liability, wrongdoing or damages
whatsoever.

          23.     On _____, 2013, the Court preliminarily approved the Settlement, authorized this Notice to be disseminated to
potential Class Members, and scheduled the Settlement Fairness Hearing to consider whether to grant final approval to the Settlement.

                                   HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?

          24.    If you are a member of the Class, you are subject to the Settlement unless you are excluded from the Class as set
forth below. The Class consists of:

         All purchasers of the publicly traded common stock and call options of Fannie Mae, and sellers of Fannie
         Mae publicly traded put options during the period from April 17, 2001 through December 22, 2004 (the “Class
         Period”) who suffered damages thereby (the “Class”). Excluded from the Class are (i) the Settling
         Defendants and the Individuals, who were previously dismissed from the case, (ii) any person who was an
         officer or director of Fannie Mae or any of its parents or subsidiaries during the Class Period, (iii) the
         members of the immediate family of each of the Individuals, (iv) any entity in which any Settling Defendant or
         Individuals had a controlling interest during the Class Period, (v) any parent or subsidiary of Fannie Mae, (vi)
         any incentive, retirement, stock or other benefit plan that benefited solely the Individuals, and (vii) the legal
         representatives, heirs, predecessors, successors or assigns of any of the foregoing excluded persons and
         entities.

Also excluded from the Class are any Persons who submitted a request for exclusion in connection with the Class Notice as set forth
on Appendix 1 to the Stipulation who do not opt-back into the Class in accordance with the instructions set forth herein (see ¶¶66-69
below).

PLEASE NOTE: RECEIPT OF THIS NOTICE DOES NOT MEAN THAT YOU ARE A CLASS MEMBER OR THAT YOU WILL BE
ENTITLED TO RECEIVE PROCEEDS FROM THE SETTLEMENT. IF YOU ARE A CLASS MEMBER AND YOU WISH TO BE
ELIGIBLE TO PARTICIPATE IN THE DISTRIBUTION OF PROCEEDS FROM THE SETTLEMENT, YOU ARE REQUIRED TO
SUBMIT THE CLAIM FORM THAT IS BEING DISTRIBUTED WITH THIS NOTICE AND THE REQUIRED SUPPORTING
DOCUMENTATION AS SET FORTH THEREIN POSTMARKED NO LATER THAN _____, 2013.

                               WHAT ARE LEAD PLAINTIFFS’ REASONS FOR THE SETTLEMENT?

          25.     The principal reason for Lead Plaintiffs’ consent to the Settlement is that it provides an immediate and substantial
benefit to the Class in the form of a substantial monetary recovery. The benefit of the present Settlement must be compared to the
risk that no recovery might be achieved after a contested trial and likely appeals, possibly many months, or even years, into the future.

          26.       But for the Settlement achieved on March 20, 2013, this Consolidated Action would either have faced potential
dismissal upon resolution of the remaining summary judgment motions, or would have proceeded to trial. The claims advanced by the
Class in this Consolidated Action involve numerous complex legal and factual issues. If the Consolidated Action were to proceed to
trial, Lead Plaintiffs would have to overcome significant defenses. Among other things, the Lead Plaintiffs and Settling Defendants
disagree about (i) whether Lead Plaintiffs or the Class have suffered any damages, (ii) whether the price of Fannie Mae common

                                                                   5
                Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 50 of 156
stock was artificially inflated by reason of the alleged misrepresentations, omissions, or otherwise, (iii) whether Lead Plaintiffs or the
Class were harmed by the conduct alleged in the Complaint. The Lead Plaintiffs and Settling Defendants also disagree on the
appropriate methodology for determining damages, if liability were established. Lead Plaintiffs and the Class also faced risk based
upon the current and future financial situation of Fannie Mae: it is presently in conservatorship and its future is uncertain. Moreover, in
related litigation, Lead Plaintiffs challenge a rule recently imposed by Fannie Mae’s conservator, Federal Housing Finance Agency
(“FHFA”), that, according to FHFA, gives it the power to refuse payment of a securities judgment against Fannie Mae while Fannie Mae
is in conservatorship. This Settlement enables the Class to recover without incurring any additional risk or costs.

         27.      Settling Defendants have expressly denied and continue to deny all assertions of wrongdoing or liability against
them arising out of any of the conduct, statements, acts, or omissions alleged, or that could have been alleged, in the Consolidated
Action. Settling Defendants also continue to believe that the claims asserted against them in the Consolidated Action are without
merit. Settling Defendants have agreed to enter into the Settlement, as embodied in the Stipulation, solely to avoid the uncertainty,
burden and expense of further protracted litigation.

         28.       In light of the risks associated with a trial of this Consolidated Action, the monetary amount of the Settlement and the
immediacy of this recovery to the Class, Lead Plaintiffs believe that the proposed Settlement is fair, reasonable and adequate, and in
the best interests of the Class. Lead Plaintiffs believe that the Settlement provides a substantial benefit to the Class, namely
$153 million in cash (less the various deductions described in this Notice), as compared to the risk that the claims in the Consolidated
Action would produce a smaller, or no, recovery after summary judgment or trial and appeals.

                                    WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENT?

         29.     If there were no Settlement and Lead Plaintiffs failed to establish any essential legal or factual element of their claims,
neither Lead Plaintiffs nor the other members of the Class would recover anything from Settling Defendants. Also, if Settling
Defendants were successful in proving any of their defenses, either at summary judgment, at trial or on appeal, the Class
likely would recover substantially less than the amount provided in the Settlement, or nothing at all.

                                                 HOW MUCH WILL MY PAYMENT BE?

         30.     At this time, it is not possible to make any determination as to how much any individual Class Member may receive
from the Settlement.

         31.      Pursuant to the Settlement, Fannie Mae and KPMG have agreed to pay one hundred fifty-three million dollars
($153,000,000) in cash (the “Settlement Amount”). The Settlement Amount will be deposited into an interest-bearing escrow account.
The Settlement Amount plus all interest earned thereon is referred to as the “Settlement Fund.” If the Settlement is approved by the
Court and the Effective Date occurs, the “Net Settlement Fund” (that is, the Settlement Fund less (a) all federal, state and local taxes on
any income earned by the Settlement Fund and the reasonable costs incurred in connection with determining the amount of and paying
taxes owed by the Settlement Fund (including reasonable expenses of tax attorneys and accountants); (b) the costs and expenses
incurred in connection with providing notice to Class Members and administering the Settlement on behalf of Class Members; and (c)
any attorneys’ fees and litigation expenses awarded by the Court) will be distributed to Class Members who submit valid Claim Forms,
in accordance with the proposed Plan of Allocation or such other plan of allocation as the Court may approve.

         32.      The Net Settlement Fund will not be distributed until the Court has approved a plan of allocation and the Settlement,
and the time for any petition for rehearing, appeal or review, whether by certiorari or otherwise, has expired.

         33.       Neither Settling Defendants nor any other person or entity that paid any portion of the Settlement Amount on their
behalf are entitled to get back any portion of the Settlement Fund once the Court’s order or judgment approving the Settlement
becomes Final. Settling Defendants, FHFA and the Individuals shall not have any liability, obligation or responsibility for the
administration of the Settlement, the disbursement of the Net Settlement Fund or the plan of allocation.

         34.       Approval of the Settlement is independent from approval of the Plan of Allocation. Any determination with respect to
the Plan of Allocation will not affect the Settlement, if approved.

         35.      Only Class Members will be eligible to share in the distribution of the Net Settlement Fund.

          36.      Each Class Member wishing to participate in the distribution must timely submit a valid claim form establishing
membership in the Class (“Claim Form”), including all required documentation, postmarked on or before ____, 2013 to the address
set forth in the Claim Form that accompanies this Notice.

         37.       Unless the Court otherwise orders, any Class Member who fails to submit a Claim Form postmarked on or before
_____, 2013 shall be fully and forever barred from receiving payments pursuant to the Settlement but will in all other respects remain a
Class Member and be subject to the provisions of the Stipulation, including the terms of any Judgment entered and the releases
given. This means that each Class Member releases the Settled Class Claims (as defined in ¶ 60 below) and will be enjoined and
prohibited from filing, prosecuting, or pursuing any of the Settled Class Claims whether or not such Class Member submits a Claim
Form.

       38.      Information Required on the Claim Form: Among other things, each Claim Form must state and provide sufficient
documentation for the claimant’s position in Fannie Mae common stock and/or call or put options as of the beginning of the Class

                                                                     6
                  Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 51 of 156
Period, all transactions in Fannie Mae common stock and/or call or put options during the Class Period, and the claimant’s closing
position in Fannie Mae common stock and/or call or put options on the date specified in the Claim Form.

         39.     The Court has reserved jurisdiction to allow, disallow, or adjust on equitable grounds the claim of any Class Member.
Each claimant shall be deemed to have submitted to the jurisdiction of the Court with respect to his, her or its Claim.

         40.      Persons and entities that either are excluded from the Class by definition or whose names appear on Appendix 1 to
the Stipulation because they previously submitted a request for exclusion in connection with the Class Notice who do not elect to opt-
back into the Class, will not be eligible to receive a distribution from the Net Settlement Fund and should not submit Claim Forms.

                                                 PROPOSED PLAN OF ALLOCATION
         A.        Preliminary Matters

         41.       The objective of the Plan of Allocation is to equitably distribute the settlement proceeds to those Class Members who
suffered economic losses as a proximate result of the alleged wrongdoing. The Plan of Allocation generally measures the amount of
loss that a Class Member can claim for purposes of making pro rata allocations of the Net Settlement Fund to Authorized Claimants.
The Plan of Allocation is not a formal damage analysis. The calculations made pursuant to the Plan of Allocation are not intended to be
estimates of, nor indicative of, the amounts that Class Members might have been able to recover after a trial. Nor are the calculations
pursuant to the Plan of Allocation intended to be estimates of the amounts that will be paid to Authorized Claimants pursuant to the
Settlement. The computations under the Plan of Allocation are only a method to weigh the claims of Authorized Claimants against one
another for the purposes of making pro rata allocations of the Net Settlement Fund.

            42.       In developing the Plan of Allocation, Lead Plaintiffs’ damages expert calculated the amount of estimated alleged
artificial inflation in the per share closing prices of Fannie Mae common stock as well as call or put options t h a t purportedly was
proximately caused by Settling Defendants’ alleged misrepresentations and material omissions. In calculating the estimated alleged
artificial inflation allegedly caused by Settling Defendants’ alleged misrepresentations and material omissions, Lead Plaintiffs’
damages expert considered price changes in Fannie Mae common stock and call or put options in reaction to certain public
announcements regarding Fannie Mae in which such misrepresentations and material omissions were alleged to have been finally
revealed to the market (which are termed “corrective disclosures”), adjusting for price changes that were attributable to market or
industry forces, the allegations in the Complaint and the evidence developed in support thereof, as advised by Lead Counsel.

          43.      The dates of the price reactions to the alleged corrective disclosures that removed artificial inflation from the
prices of Fannie Mae common stock and call or put options are: (a) September 22, 2004 (the date Fannie Mae released the OFHEO
examination summary points and announced the SEC inquiry); (b) September 23, 2004 (the trading date following the release, after
the market closed on September 22, 2004, of the interim OFHEO Report); (c) September 24, 2004 (the trading date following the filing
by Fannie Mae, after the market closed on September 23, 2004, of a Form 8-K disclosing modifications to the employment agreements
with top executives); (d) September 30, 2004 (the date a possible DOJ criminal investigation was announced); (e) December 16, 2004
(the trading date following the release of information, after the market closed on December 15, 2004, that the SEC Chief Accountant
advised Fannie Mae that he believed that its accounting did not comply in material respects with GAAP and that Fannie Mae should
restate its financials); and (f) December 23, 2004 (the trading date following the filing by Fannie Mae, after the market closed on
December 22, 2004, of its Form 8-K with the SEC, indicating that it would restate its financials). Lead Plaintiffs’ expert also found the
following dates during the Class Period as to which it was reasonable to conclude that fraud-related misrepresentations caused inflation
to increase: (a) June 16, 2003 (the trading date following a public statement released by Fannie Mae, after the market closed on June
13, 2003, assuring investors that Fannie Mae’s accounting was proper); (b) July 30, 2003 (the date of a public statement that Fannie
Mae had suffered collateral damage from Freddie Mac accounting problems, stating that Fannie Mae did not “do any of those things.”);
(c) October 6, 2004 (the date of Congressional testimony by Fannie Mae executives strongly denying OFHEO allegations); and (d)
October 7, 2004 (the date analysts made positive comments regarding the Congressional testimony of Fannie Mae executives).

          44.        Recognized Loss amounts under Section 10(b) of the Exchange Act are based primarily on the change in the level of
alleged artificial inflation in the prices of Fannie Mae common stock and call or put options at the time of purchase or acquisition and at
the time of sale. Accordingly, in order to have a Recognized Loss Amount under Section 10(b), a Class Member who purchased his,
her or its shares of Fannie Mae common stock or call options and/or sold put options prior to September 22, 2004 must have held
his, her or its shares of Fannie Mae common stock or put or call options through at least the opening of trading on September 22,
2004. With respect to shares of Fannie Mae common stock or call options purchased or p u t o p t i o n s s o l d on Sep tem be r 22,
20 04 through the close of trading on Dec em be r 22 , 20 04 , those securities must have been held through at least one of the
subsequent alleged corrective disclosure dates.

         45.      Because the Net Settlement Fund is less than the total losses suffered by Class Members, the formulas described
below for calculating Recognized Losses are not intended to estimate the amount that will actually be paid to Authorized Claimants.
Rather, these formulas provide the basis on which the Net Settlement Fund will be distributed among Authorized Claimants.

         B.        Eligible Securities

          46.       The Fannie Mae securities (“Eligible Securities”) for which an Authorized Claimant may be entitled to receive a
distribution from the Net Settlement Fund consists of the following:

              •    Common stock (CUSIP No. 313586109)




                                                                    7
                     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 52 of 156
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                      Exchange-traded call and put options (listed in Exhibits 1 and 2)
          C.          Additional Definitions

          47.         This Plan is based on the following additional definitions (listed alphabetically):

                a)    An “Authorized Claimant” is a Class Member who is entitled under this Plan to share in the distribution of the Net
                      Settlement Fund and who submits a timely and valid Proof of Claim.

                b)    The “Class Period” is the time period between April 17, 2001 and December 22, 2004, inclusive.

                c)    “Deflation” means the amount by which the price of a put option on Fannie Mae common stock was allegedly
                      undervalued on each day in the Class Period because of the alleged false statements and omissions.

                d)    “Inflation” is the amount by which the price of Fannie Mae common stock and call options on Fannie Mae common
                      stock were allegedly overvalued on each day in the Class Period because of the alleged false statements and
                      omissions.

                e)    “Inflation Loss” is the amount of loss calculated based on the amount of Inflation in the price of Fannie Mae common
                      stock and call options, or Deflation in the price of Fannie Mae put options, based on the methodology described
                      below.

                f)    “Inflation Gain” is the amount of gain calculated based on the amount of Inflation in the price of Fannie Mae common
                      stock and call options, or Deflation in the price of Fannie Mae put options, based on the methodology described
                      below.

                g)    A “Net Inflation Loss” for each Claimant will be computed by adding up all Inflation Losses and subtracting all Inflation
                      Gains for all transactions in Eligible Securities.

                h)    A “Net Trading Loss” for each Claimant will be computed by adding up all Trading Losses and subtracting all Trading
                      Gains for all transactions in Eligible Securities.

                i)    A “purchase” is the acquisition of an Eligible Security by any means other than a gift, inheritance, or operation of law
                      (as discussed below).

                j)    “Purchase Amount” is the Purchase Price Per Share multiplied by the number of shares of Fannie Mae common
                      stock or options purchased by a Claimant during the Class Period.

                k)    “Purchase Price Per Share” is the amount paid per share (or per option) by a Claimant to purchase shares of Fannie
                      Mae common stock or options.

                l)    “Recognized Claim” is the amount of the Net Settlement Fund that an Authorized Claimant is entitled to after
                      calculation of the Authorized Claimant’s pro rata share of the Net Settlement Fund.

                m) “Recognized Loss” is the amount of a claim under this Plan and is the number used to calculate an Authorized
                   Claimant’s Recognized Claim.

                n)    A “sale” is the disposition of an Eligible Security by any means other than a gift, inheritance or operation of law (as
                      discussed below).

                o)    “Sale Price Per Share” is the amount received per share (or per option) by a Claimant upon the sale of shares of
                      Fannie Mae common stock or options.

                p)    “Sales Proceeds” equals the number of shares of common stock or options purchased during the Class Period by a
                      Claimant multiplied by (i) Sale Price Per Share if sold during the Class Period; or (ii) the Holding Price per share (as
                      described below), if unsold at the end of the Class Period.

                q)    “Trading Gain” means the amount by which the Sales Proceeds exceeds the Purchase Amount for each transaction
                      by a Claimant in an Eligible Security.

                r)    “Trading Loss” means the amount by which the Purchase Amount exceeds the Sales Proceeds for each transaction
                      by a Claimant in an Eligible Security.

          D.          Principles

          48.         This Plan is based on the following principles, among others:


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 Exhibits 1 and 2 exclude those options that expired before September 22, 2004, the date of the price reaction to the first alleged corrective disclosure.
Class Members who purchased call options (or wrote put options), which are excluded from Exhibits 1 and 2, do not have a claim compensable from the
Net Settlement Fund with respect to those particular securities.

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                   Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 53 of 156
              a)    Authorized Claimants: Authorized Claimants must have purchased or otherwise acquired an Eligible Security during
                    the Class Period. Further, in order for the Authorized Claimant to share in the distribution of the Net Settlement Fund,
                    the Eligible Security must have declined (or increased for put options) due to disclosure corrective of the alleged false
                    statements and omissions resulting in a decline in the amount of inflation (or deflation for put options), and, in any
                    case, the Authorized Claimant must have suffered a Net Inflation Loss and a Net Trading Loss as described below.

              b)    FIFO Matching: For purposes of computing Inflation Losses (and Inflation Gains), and Trading Losses (and Trading
                    Gains) for a Claimant’s multiple purchases or sales of an Eligible Security, purchases will be matched to sales using
                    the “first-in/first out” (FIFO) inventory method, which matches sales to purchases based on the dates of those
                    transactions. Specifically, when any Proof of Claim includes a sale of an Eligible Security during the Class Period,
                    the earliest sale will be matched first against the Claimant’s opening position on the first day of the Class Period, if
                    any, and then matched chronologically thereafter against each purchase or acquisition during the Class Period.
                    Sales matched to an Eligible Security from a Claimant’s opening position are excluded from the calculation of Inflation
                    Loss (or Inflation Gain) and Trading Loss (or Trading Gain).

              c)    Effect of shares acquired from the exercise of call options: Fannie Mae common stock acquired during the Class
                    Period through the exercise of an exchange-traded call option shall be treated as a purchase of Fannie Mae common
                    stock on the date of exercise. The purchase price paid for such stock shall be the closing price of Fannie Mae
                    common stock on the date of exercise.

              d)    Effect of shares assigned from the exercise of put options: Fannie Mae common stock acquired during the Class
                    Period pursuant to the exercise of an exchange-traded put option shall be treated as a purchase of Fannie Mae
                    common stock on the date of exercise. The purchase price received for such stock shall be the closing price of
                    Fannie Mae common stock on the date of exercise.

              e)    Treatment of acquisition of shares of an Eligible Security by means of a gift, inheritance or operation of law: If a
                    Claimant acquired an Eligible Security by means of a gift, inheritance or operation of law, the purchase date for that
                    acquisition will be the original date of purchase and not the date of transfer, unless the transfer resulted in a taxable
                    event or other change in the cost basis of those shares of Fannie Mae common stock or options. To the extent that
                    any Eligible Security that was sold during the Class Period and was originally purchased prior to the beginning of or
                    after the end of the Class Period, and there was no taxable event or change in cost basis at the time of transfer
                    during the Class Period, the Class Member’s Inflation Loss (or Inflation Gain) and Trading Loss (or Trading Gain) for
                    that acquisition shall be zero.

              f)    Treatment of disposition of shares of an Eligible Security by means of a gift, inheritance or operation of law: If a
                    Claimant disposed of an Eligible Security by means of a gift, inheritance or operation of law, the sale date for that
                    disposition will be the date of sale by the Transferee and not the date of transfer, unless the transfer resulted in a
                    taxable event or other change in the cost basis of the Eligible Security. To the extent that an Eligible Security that
                    was purchased during the Class Period and was disposed of by means of a gift, inheritance or operation of law during
                    the Class Period and the Transferee did not subsequently sell that Eligible Security during the Class Period, and
                    there was no taxable event or change in cost basis at the time of transfer during the Class Period, the Class
                    Member’s Inflation Loss (or Inflation Gain) and Trading Loss (or Trading Gain) for that disposition shall be zero.

        E.          Computation of Net Inflation Loss and Net Trading Loss

        49.         Fannie Mae Common Stock (Inflation Loss/Inflation Gain):

         Inflation Loss: For each purchase of Fannie Mae common stock during the Class Period, the Inflation Loss for each purchase
transaction will be computed (using FIFO matching of purchases to sales) as follows (but not less than zero):

              a)    if sold during the Class Period, the number of shares purchased (matched to such sales in such transaction)
                    multiplied by the lesser of: (i) the Purchase Price Per Share minus the Sale Price Per Share; or (ii) the amount by
                    which the Inflation per share at purchase as shown in Table A below exceeds the Inflation per share at sale shown in
                    Table A;

              b)    if held as of the close of trading on December 22, 2004, the number of shares purchased multiplied by the lesser of:
                    (i) the Purchase Price Per Share minus the Holding Price per share of $69.62 (the closing price on December 23,
                    2004); or (ii) the Inflation per share at purchase shown in Table A.

         Inflation Gain: For each purchase of Fannie Mae common stock during the Class Period, the Inflation Gain for each purchase
transaction will be computed (using FIFO matching of purchases to sales) as follows (but not less than zero):

              a)    if sold during the Class Period, the number of shares purchased (matched to such sales in such transaction)
                    multiplied by the amount by which the Inflation per share at sale as shown in Table A below exceeds the Inflation per
                    share at purchase shown in Table A;

              b)    if held as of the close of trading on December 22, 2004, the Inflation Gain is zero.



                                                                      9
                     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 54 of 156




                                          Table A - Inflation Per Share of Fannie Mae Common Stock
                     Period Start                              Period End                        Inflation at Time of Purchase or Sale
                     April 17, 2001                          June 15, 2003                                        $5.52
                 June 16, 2003                                July 29, 2003                                       $7.99
                     July 30, 2003                        September 21, 2004                                      $9.10
               September 22, 2004                         September 22, 2004                                      $6.07
               September 23, 2004                         September 23, 2004                                      $3.84
               September 24, 2004                         September 29, 2004                                      $2.04
               September 30, 2004                           October 5, 2004                                       $0.00
                October 6, 2004                             October 6, 2004                                       $1.29
                October 7, 2004                           December 15, 2004                                       $3.09
               December 16, 2004                          December 22, 2004                                       $1.60

          50.       Fannie Mae Call Options (Inflation Loss/Inflation Gain): Exchange-traded options are typically traded in units called
contracts. Each contract entitles the option buyer/owner to 100 shares of the underlying stock upon exercise or expiration. For options,
a unit is an option with one hundred shares of Fannie Mae Common Stock as the underlying security.

         Inflation Loss: For publicly traded call options on Fannie Mae common stock purchased or otherwise acquired during the Class
Period (and not purchased to close a written call), the Inflation Loss for each purchase transaction will be computed (using FIFO
matching) as follows (but not less than zero):

                a)     if closed out or settled during the Class Period, the number of call options purchased (matched to such sales in such
                       transaction) multiplied by the lesser of: (i) the purchase price per call option minus the proceeds received upon the
                       settlement or closing of the call option ($0.00 for options that expired unexercised) multiplied by 100; or (ii) the
                       amount by which Inflation per call option at purchase as shown in Exhibit 1 exceeds the Inflation per call option when
                       settled or closed out as shown in Exhibit 1 multiplied by 100;
                b)     if open as of the close of trading on December 22, 2004, the number of call options purchased or otherwise acquired
                       multiplied by the lesser of: (i) the purchase price per call option minus the Holding Price per call option as shown in
                       Exhibit 1 multiplied by 100; or (ii) the Inflation per call option at purchase as shown in Exhibit 1 multiplied by 100.
                c)     In the case where the publicly traded call option was exercised for Fannie Mae common stock, the proceeds received
                       upon the settlement of the option equals the intrinsic value of the option using Fannie Mae common stock’s closing
                       price on the date the option was exercised.

         Inflation Gain: For publicly traded call options on Fannie Mae common stock purchased or otherwise acquired during the Class
Period (and not purchased to close a written call), the Inflation Gain for each purchase transaction will be computed (using FIFO
matching) as follows (but not less than zero):

                a)     if closed out or settled during the Class Period, the number of call options purchased (matched to such closing
                       transactions) multiplied by the amount by which the Inflation per call option when settled or closed out as shown in
                       Exhibit 1 exceeds the Inflation per call option at purchase as shown in Exhibit 1 multiplied by 100;
                b)     if open as of the close of trading on December 22, 2004, the Inflation Gain equals zero.

         51.           Fannie Mae Put Options (Inflation Loss/Inflation Gain):

         Inflation Loss: For publicly traded put options on Fannie Mae common stock written during the Class Period, the Inflation Loss
for each transaction will be computed (using FIFO matching) as follows (but not less than zero):

                a)     if closed out or settled during the Class Period, the number of put options written (matched to such closing
                       transactions) multiplied by the lesser of: (i) the amount paid upon the settlement or closing of the put option ($0.00 for
                       options that expired unexercised) minus the price for which the put option was sold multiplied by 100; or (ii) the
                       amount by which Deflation per put option when sold as shown in Exhibit 2 exceeds the Deflation per put option when
                       settled or closed out as shown in Exhibit 2 multiplied by 100;
                b)     if open as of the close of trading on December 22, 2004, the number of put options written multiplied by the lesser of:
                       (i) the Holding Price per put option as shown in Exhibit 2 minus the price for which the put option was sold multiplied


                                                                         10
                    Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 55 of 156
                     by 100; or (ii) the Deflation per put option when sold as shown in Exhibit 2 multiplied by 100.
               c)    In the case where the publicly traded put option was exercised for Fannie Mae common stock, the amount paid upon
                     the settlement of the option equals the intrinsic value of the option using Fannie Mae common stock’s closing price on
                     the date the option was exercised.

         Inflation Gain: For publicly traded put options on Fannie Mae common stock written during the Class Period, the Inflation Gain
for each transaction will be computed (using FIFO matching) as follows (but not less than zero):

               a)    if closed out or settled during the Class Period, the number of put options written (matched to such closing
                     transactions) multiplied by the amount by which the Deflation per put option when settled or closed out as shown in
                     Exhibit 2 exceeds the Deflation per put option when sold as shown in Exhibit 2 multiplied by 100;

               b)    if open as of the close of trading on December 22, 2004, the Inflation Gain equals zero.

         52.       Net Inflation Loss: Net Inflation Loss for a Claimant is the sum of all Inflation Losses minus all Inflation Gains for all
transactions in Eligible Securities. If a Claimant has a Net Inflation Loss greater than zero for all of Claimant’s purchases of Eligible
Securities, then the Claims Administrator will compute the Trading Loss/Trading Gain, as indicated below.

         53.         Trading Loss/Trading Gain:

         Common Stock/Call Options: For each purchase of Fannie Mae common stock and call options purchased during the Class
Period, the Trading Loss/Trading Gain for each transaction (using FIFO matching of purchases to sales) will be computed as follows:

               a)    if sold on or before December 22, 2004, the Trading Loss/Trading Gain equals the Purchase Amount minus the Sales
                     Proceeds; or

               b)    if held (or open) as of the close of trading on December 22, 2004, the Trading Loss/Trading Gain equals: (i) the
                     Purchase Amount minus (ii) the number of shares of Fannie Mae common stock held multiplied by $69.62, the
                     Holding Price per share of Fannie Mae common stock, or the number of open call options multiplied by the Holding
                     Price per call option as shown in Exhibit 1.

          Put Options: For each writing of Fannie Mae put options during the Class Period, the Trading Loss/Trading Gain for each
writing transaction (using FIFO matching of sales to purchases) will be computed as follows:

               a)    if closed out or settled on or before December 22, 2004, the Trading Loss/Trading Gain equals the Purchase Amount
                     minus the Sales Proceeds; or

               b)    if open as of the close of trading on December 22, 2004, the Trading Loss/Trading Gain equals the number of open
                     put options multiplied by the holding price per put option as shown in Exhibit 2 minus the Sales Proceeds.

         Additional Trading Loss/Trading Gain Provisions:

               a)    If the Trading Loss/Trading Gain is greater than zero, then the Claimant has a Trading Loss for that transaction. If
                     the Trading Loss/Trading Gain is less than zero, then the Claimant has a Trading Gain for that transaction.

               b)    Net Trading Loss for each Claimant will be the sum of all Trading Losses and Trading Gains for all transactions in
                     Eligible Securities for that Claimant.

               c)    If a Claimant has a Net Trading Loss greater than zero and a Net Inflation Loss for all of the Claimant’s transactions
                     in Eligible Securities, the Claims Administrator will compute the Recognized Loss (and Recognized Claim), as
                     indicated below. If a Claimant has a Net Trading Loss less than or equal to zero, wherein the total Trading Gains
                     exceed or are equal to total Trading Losses for the transactions in Eligible Securities, the Claimant will not be eligible
                     to receive a distribution from the Net Settlement Fund.

         F.          Recognized Loss and Recognized Claim

         54.     Recognized Loss: For transactions in Eligible Securities, if a Claimant has a Net Inflation Loss and a Net Trading
Loss, the Recognized Loss for each Claimant will be the lesser of such Claimant’s: (i) Net Inflation Loss; or (ii) Net Trading Loss.
Please note that the term “Recognized Loss” is used solely for calculating the amount of participation by Authorized
Claimants in the Net Settlement Fund. It is not the actual amount an Authorized Claimant can expect to recover.

         55.      Recognized Claim: The Recognized Claim for an Authorized Claimant will be based on the Claimant’s pro-rata share
of the Net Settlement Fund. The Claimant’s Recognized Claim will be calculated by multiplying the Net Settlement Fund by a fraction,
the numerator of which is the Claimant’s Recognized Loss for transactions in Eligible Securities, and the denominator of which is the
aggregate Recognized Losses of all Authorized Claimants for all transactions in Eligible Securities. The Recognized Claim Amount
received by an Authorized Claimant will exceed his, her, or its Recognized Loss only in the unlikely event that the Net Settlement Fund
exceeds the aggregate Total Recognized Losses of all Authorized Claimants.

         56.         Payments made pursuant to this Plan of Allocation above shall be conclusive against all Authorized Claimants. No

                                                                       11
                Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 56 of 156
Person shall have any claim against the Plaintiffs, Lead Counsel or any experts and consultants retained by Plaintiffs or Lead Counsel;
any claims administrator; or Settling Defendants, FHFA or the Individuals (or any person designated by Plaintiffs’ Lead Counsel or
Settling Defendants, FHFA, the Individuals or any of their respective Counsel) based on distributions made substantially in accordance
with this Plan or further orders of the Court. Claimants who fail to complete and file a valid and timely Proof of Claim form shall be
barred from participating in distributions from the Net Settlement Fund, unless the Court otherwise orders. Class Members who do not
submit a valid and timely Proof of Claim will nevertheless be bound by the Settlement and the Order and Final Judgment of the Court
dismissing this Litigation.

          57.      The Court has reserved jurisdiction to modify, amend or alter the Plan of Allocation without further notice to anyone,
and to allow, disallow or adjust any Claimant’s claim to ensure a fair and equitable distribution of settlement funds.

           58.     Distributions will be made to Authorized Claimants whose claims entitle them to a payment of no less than $10.00
after all claims have been processed and after the Court has finally approved the Settlement.


               HOW ARE CLASS MEMBERS AFFECTED BY THE CONSOLIDATED ACTION AND THE SETTLEMENT?

          59.        If you are a Class Member, you will be bound by any orders issued by the Court. If the Settlement is approved,
the Court will enter a judgment (the “Judgment”). The Judgment will dismiss with prejudice the claims against Settling Defendants and
will provide that, upon the Effective Date of the Settlement, Lead Plaintiffs and all other Class Members, on behalf of themselves,
their heirs, executors, administrators, predecessors, successors, affiliates and assigns, will fully and finally release, to the fullest extent
that the law permits their release in this Consolidated Action, all Settled Class Claims (as defined in ¶ 60 below).

           60.       “Settled Class Claims” means any and all claims, demands, rights, liabilities and causes of action of every nature
and description whatsoever, whether based in law or equity, on federal, state, local, foreign, statutory or common law, or any other law,
rule, or regulation (including, but not limited to, all claims arising out of or relating to any acts, omissions, disclosures, public filings,
registration statements, financial statements, audit opinions, or statements by the Settling Defendants, FHFA or the Individuals,
including without limitation, claims for negligence, gross negligence, constructive or actual fraud, negligent misrepresentation,
conspiracy, or breach of fiduciary duty), whether known or unknown, whether or not concealed or hidden, accrued or not accrued,
foreseen or unforeseen, matured or not matured, that were asserted or that could have been asserted directly, indirectly,
representatively or in any other capacity, at any time, in any forum by Plaintiffs against the Released Parties arising out of, based upon,
or related in any way to: (a) the purchase or acquisition of Fannie Mae common stock or call options, or the sale or disposition of
Fannie Mae put options, by any Plaintiff between April 17, 2001 and December 22, 2004, the allegations that were made or could have
been made in the Consolidated Action and any of the facts, transactions, events, occurrences, disclosures, statements, acts, omissions
or failures to act which were or that could have been asserted by Plaintiffs in the Consolidated Action; or (b) the Settlement or resolution
of the Consolidated Action (including, without limitation, any claim for attorneys’ fees by Lead Plaintiffs or any Class Member) (the
“Settled Class Claims”). Settled Class Claims shall also include any Unknown Claims. Unknown Claims means any claims that any
Plaintiff does not know or suspect to exist in his, her, its or their favor at the time of the release of the Released Parties which, if known
by him, her, it, or them might have affected his her, its or their settlement with and release of the Released Parties, or might have
affected his, her, its, or their decision not to object to this Settlement. Settled Class Claims also include any claims of any person or
entity that submitted a request for exclusion as set forth in Appendix 1 to the Stipulation and who does not opt back into the Class. For
the sake of clarity, no claims are being released with respect to securities not covered by the Court-certified Class definition.
Additionally, Settled Class Claims do not include claims relating to the enforcement of the Settlement.

           61.        With respect to any and all Settled Class Claims, the Settling Defendants and Plaintiffs stipulate and agree that
Plaintiffs shall be deemed to have expressly waived the provisions, rights and benefits of California Civil Code § 1542, which provides:

         A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS WHICH THE CREDITOR DOES NOT KNOW OR SUSPECT TO
         EXIST IN HIS OR HER FAVOR AT THE TIME OF EXECUTING THE RELEASE, WHICH IF KNOWN BY HIM OR HER MUST
         HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE DEBTOR.

Plaintiffs shall expressly waive any and all provisions, rights and benefits conferred by any law, or principle of common law, which is
similar, comparable or equivalent to California Civil Code § 1542. Any Plaintiff may hereafter discover facts in addition to or different
from those that he, she, it or they now know or believe to exist or to be true with respect to the subject matter of the Settled Class
Claims, but the Plaintiffs shall have fully, finally, and forever settled and released any and all Settled Class Claims, known or unknown,
suspected or unsuspected, contingent or non-contingent, whether or not concealed or hidden, which now exist, or heretofore have
existed, upon any theory of law or equity now existing or coming into existence in the future, including, but not limited to, conduct that is
negligent, intentional, with or without malice, or a breach of any duty, law or rule, without regard to the subsequent discovery or
existence of such different or additional facts. Plaintiffs acknowledge that the foregoing waiver was separately bargained for and a
material element of the Settlement of which this release is a part.

 * Pursuant to its Order Preliminarily Approving Proposed Settlement and Providing for Notice dated _______, 2013, the Court is not
 ordering that Class Members be provided with a second opportunity to exclude themselves from the Class.


                                WHAT PAYMENT ARE THE ATTORNEYS FOR THE CLASS SEEKING?
                                           HOW WILL THE LAWYERS BE PAID?

         62.        Lead Counsel a n d other Lead Plaintiffs’ counsel have not received any payment for their services in pursuing

                                                                      12
               Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 57 of 156
claims against the Settling Defendants on behalf of the Class, nor have they been reimbursed for their out-of-pocket expenses.
Before final approval of the Settlement, Lead Counsel, on behalf of themselves and all other Plaintiffs’ counsel will apply to the Court
for an award of attorneys’ fees from the Settlement Fund in the amount of up to 22% of the Settlement Fund, after other costs and
expenses have been deducted. At the same time, Lead Counsel, on behalf of themselves and all other Plaintiffs’ counsel, also intend
to apply for the reimbursement of litigation expenses not to exceed $17 million plus the costs of settlement administration, which
may include an application for reimbursement of the reasonable costs and expenses incurred by Lead Plaintiffs directly related to
their representation of the Class. The Court will determine the amount of any award of attorneys’ fees or reimbursement of litigation
expenses. Such sums as may be approved by the Court will be paid from the Settlement Fund. Class Members are not personally
liable for any such fees or expenses.

                           HOW DO I PARTICIPATE IN THE SETTLEMENT? WHAT DO I NEED TO DO?

        63.         To be eligible for a payment from the proceeds of the Settlement, you must be a member of the Class and you
must timely complete and return the Claim Form with adequate supporting documentation postmarked no later than _ _ _ _ , 2013.
A Claim Form is included with this Notice, or you may obtain one from the website for this Consolidated Action,
www.fanniemaesecuritieslitigation.com, or you may request that a Claim Form be mailed to you by calling the claims administrator,
GCG, toll free at (800) 961-2373. Please retain all records of your ownership of and transactions in Fannie Mae securities, as they may
be needed to document your Claim. If you are excluded from the Class by definition or you previously submitted a request for exclusion
in connection with the Class Notice and do not opt-back into the Class in accordance with the instructions set forth in ¶66-69 below, or if
you do not submit a timely and valid Claim Form, you will not be eligible to share in the Net Settlement Fund.

         64.         As a Class Member, you are represented by the Lead Plaintiffs and Lead Counsel, unless you enter an
appearance through counsel of your own choice at your own expense. You are not required to retain your own counsel, but if you
choose to do so, such counsel must file a notice of appearance on your behalf and must serve copies of his or her notice of appearance
on the attorneys listed in the section entitled, “When and Where Will the Court Decide Whether to Approve the Settlement?,” below.

        65.       If you are a Class Member who has not previously submitted a request for exclusion in connection with the
Class Notice and you wish to object to the Settlement, the proposed Plan of Allocation, or Lead Counsel’s application for attorneys’
fees and reimbursement of litigation expenses, you may present your objections by following the instructions in the section entitled,
“When and Where Will the Court Decide Whether to Approve the Settlement?,” below.

OPTING-BACK INTO THE CLASS - WHAT IF I PREVIOUSLY REQUESTED EXCLUSION FROM THE CLASS AND NOW WANT TO
     BE ELIGIBLE TO RECEIVE A PAYMENT FROM THE SETTLEMENT FUND? HOW DO I OPT-BACK INTO THE CLASS?

        66.        If you previously submitted a request for exclusion from the Class in connection with the Class Notice (see
Appendix 1 to the Stipulation), you may elect to opt-back into the Class and be eligible to receive a payment from the Settlement.

          67.        If you believe that you previously submitted a request for exclusion but your name does not appear on Appendix 1
to the Stipulation, you can contact the claims administrator, GCG, at (800) 961-2373 for assistance.

         68.        In order to opt-back into the Class, you, individually or through counsel, must submit a written Request to Opt-
Back Into the Class to GCG, addressed as follows: In re Fannie Mae Securities Litigation, c/o The Garden City Group, Inc., P.O. Box
9987, Dublin, Ohio 43017-5987. This request must be received no later than ____, 2013. Your Request to Opt-Back Into the Class
must (a) state the name, address and telephone number of the person or entity requesting to opt-back into the Class; (b) state that
such person or entity “requests to opt-back into the Class in the In re Fannie Mae Securities Litigation, Civ. Action No. 04-1639
(RJL)”; and (c) be signed by the person or entity requesting to opt-back into the Class or an authorized representative.

         69.        You may not opt-back into the Class for the purpose of objecting to any aspect of the Settlement, Plan of
Allocation, or Lead Counsel’s request for attorneys’ fees and reimbursement of litigation expenses.

         PLEASE NOTE: OPTING-BACK INTO THE CLASS IN ACCORDANCE WITH THE REQUIREMENTS SET FORTH
         ABOVE DOES NOT MEAN THAT YOU WILL AUTOMATICALLY BE ENTITLED TO RECEIVE PROCEEDS
         FROM THE SETTLEMENT. IF YOU OPT-BACK INTO THE CLASS AND YOU WISH TO BE ELIGIBLE TO
         PARTICIPATE IN THE DISTRIBUTION OF PROCEEDS FROM THE SETTLEMENT, YOU ARE ALSO REQUIRED
         TO SUBMIT THE CLAIM FORM THAT IS BEING DISTRIBUTED WITH THIS NOTICE AND THE REQUIRED
         SUPPORTING DOCUMENTATION AS SET FORTH THEREIN POSTMARKED NO LATER THAN ________, 2013.


               WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE THE SETTLEMENT?
        DO I HAVE TO COME TO THE HEARING? MAY I SPEAK AT THE HEARING IF I DON’T LIKE THE SETTLEMENT?

        70.      Class Members do not need to attend the Settlement Fairness Hearing. The Court will consider any submission
made in accordance with the provisions below even if a Class Member does not attend the hearing. You can participate in the
Settlement without attending the Settlement Fairness Hearing.

         71.      The Settlement Fairness Hearing will be held on _____, 2013 at ____p.m. before the Honorable Richard J. Leon, at
the E. Barrett Prettyman United States Courthouse, Courtroom ____, 333 Constitution Ave. NW, Washington, D.C. 20001. The Court
reserves the right to approve the Settlement, the Plan of Allocation, Lead Counsel’s motion for an award of attorneys’ fees and
reimbursement of litigation expenses and/or any other matter related to the Settlement at or after the Settlement Fairness Hearing

                                                                    13
                Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 58 of 156
without further notice to the members of the Class.

        72.       Any Class Member who did not submit a request for exclusion from the Class in connection with the Class Notice
may object to the proposed Settlement, the proposed Plan of Allocation, or Lead Counsel’s motion for an award of attorneys’ fees
and reimbursement of litigation expenses. Objections must be in writing. You must file any written objection, together with copies of all
other papers and briefs supporting the objection, with the Clerk of the Court at the address set forth below on or before ____,
2013. You must also serve the papers on Lead Counsel for the Class and Settling Defendants’ Counsel at the addresses set forth
below so that the papers are received on or before ____, 2013.

Clerk’s Office                             Lead Counsel for the Class                     Settling Defendants’ Counsel
United States District Court
District of Columbia                       Markovits, Stock & DeMarco, LLC                O’Melveny & Myers LLP
Clerk of the Court                         W.B. Markovits, Esq. Joseph Deters, Esq.       Jeffrey W. Kilduff
E. Barrett Prettyman United States         119 E. Court St., Suite 530                    1625 Eye Street NW
Courthouse                                 Cincinnati, Ohio 45202                         Washington, D.C. 20006
333 Constitution Ave. NW                   Counsel for Lead Plaintiffs                    Counsel for Fannie Mae
Washington, D.C. 20001
                                                                                          Gibson, Dunn & Crutcher LLP
                                                                                          F. Joseph Warin
                                                                                          1050 Connecticut Avenue, N.W.
                                                                                          Washington, D.C. 20036
                                                                                          Counsel for KPMG

          73.      Any objection to the Settlement (a) must state the name, address and telephone number of the person or entity
objecting and must be signed by the objector; (b) must contain a statement of the Class Member’s objection or objections, and the
specific reasons for each objection, including any legal and evidentiary support the Class Member wishes to bring to the Court’s
attention; and (c) must include documents sufficient to prove the objector’s membership in the Class such as the number of shares of
Fannie Mae common stock and the number of call or put options on Fannie Mae common stock that the objecting Class Member
purchased, otherwise acquired, held and/or sold during the relevant periods as well as the dates and prices of each such purchase,
acquisition and/or sale. You may not object to the Settlement, the Plan of Allocation or Lead Counsel’s motion for attorneys’ fees and
reimbursement of litigation expenses if you previously submitted a request for exclusion from the Class in connection with the Class
Notice or if you are not a member of the Class.

         74.      You may file a written objection without having to appear at the Settlement Fairness Hearing. You may not, however,
appear at the Settlement Fairness Hearing to present your objection unless you first filed and served a written objection in accordance
with the procedures described above, unless the Court orders otherwise.

         75.       If you wish to be heard orally at the hearing in opposition to the approval of the Settlement, the Plan of Allocation, or
Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of litigation expenses, and if you file and serve a timely
written objection as described above, you must also file a notice of appearance with the Clerk’s Office and serve it on Lead Counsel
and Settling Defendants’ Counsel at the addresses set forth above so that it is received on or before _____, 2013. Persons who
intend to object and desire to present evidence at the Settlement Fairness Hearing must include in their written objection or notice of
appearance the identity of any witnesses they may call to testify and exhibits they intend to introduce into evidence at the hearing.
Such persons may be heard orally at the discretion of the Court.

         76.      You are not required to hire an attorney to represent you in making written objections or in appearing at the
Settlement Fairness Hearing. However, if you decide to hire an attorney, it will be at your own expense, and that attorney must file a
notice of appearance with the Court and serve it on Lead Counsel and Settling Defendants’ Counsel at the addresses set forth
above so that the notice is received on or before _____, 2013.

          77.      The Settlement Fairness Hearing may be adjourned by the Court without further written notice to the Class. If you
intend to attend the Settlement Fairness Hearing, you should confirm the date and time with Lead Counsel.

          78.     Unless the Court orders otherwise, any Class Member who does not object in the manner described above
will be deemed to have waived any objection and shall be forever foreclosed from making any objection to the proposed
Settlement, the proposed Plan of Allocation, or Lead Counsel’s motion for an award of attorneys’ fees and reimbursement of
litigation expenses. Class Members do not need to appear at the Settlement Fairness Hearing or take any other action
to indicate their approval.

                                   WHAT IF I BOUGHT SHARES ON SOMEONE ELSE’S BEHALF?

          79.      In the Class Notice you were advised that, if, for the beneficial interest of any person or entity other than yourself, you
purchased Fannie Mae securities, purchased call options and/or sold Fannie Mae put options during the Class Period for the beneficial
interest of a person or entity other than yourself, you must within twenty (20) days of your receipt of that Notice, either (a) provide to the
Notice Administrator the name and last known address of each person or entity for whom you purchased Fannie Mae common stock,
purchased call options and/or sold Fannie Mae put options during the Class Period or (b) request additional copies of this Notice from
the Notice Administrator, which would be provided to you free of charge, and forward this Notice directly to the beneficial owners of the
securities referred to herein.

                                                                     14
                Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 59 of 156

          80.     If you chose the first option, GCG will send a copy of the Notice and the Claim Form to the beneficial owners
whose names and addresses you previously supplied. Unless you believe that you purchased, acquired or held any of the relevant
securities for beneficial owners whose names you did not previously provide to GCG, you need do nothing further at this time. If you
believe that you did purchase, acquire or hold any of the relevant securities for beneficial owners whose names you did not previously
provide to GCG, you must within seven (7) calendar days of receipt of this Notice, provide a list of the names and addresses of all such
beneficial owners to In re Fannie Mae Securities Litigation, c/o The Garden City Group, Inc., P.O. Box 9987, Dublin, Ohio 43017-
5987. Upon full compliance with these directions, you may seek reimbursement of your reasonable expenses actually incurred, by
providing GCG with proper documentation supporting the expenses for which reimbursement is sought. Copies of this Notice and the
Claim Form may also be obtained from the website for this Consolidated Action, www.fanniemaesecuritieslitigation.com, or by
calling the claims administrator, GCG, toll-free at (800) 961-2373.

          81.      If you chose the second option, i.e., you elected to mail the Class Notice directly to beneficial owners, you were
advised that you must retain the mailing records for use in connection with any further notices that may be provided in the Consolidated
Action. If you elected that option, GCG will forward the same number of this Notice and Claim Form (together, the “Notice Packet”)
to you to send to the beneficial owners. If you require more copies than you previously requested, please contact GCG toll-free at
(800) 961-2373 and let them know how many additional Notice Packets you require. You must mail the Notice Packets to the
beneficial owners within seven (7) calendar days of your receipt of the packets. Upon mailing of the Notice Packets, you may seek
reimbursement of your reasonable expenses actually incurred, by providing GCG with proper documentation supporting the expenses
for which reimbursement is sought.

                       CAN I SEE THE COURT FILE? WHOM SHOULD I CONTACT IF I HAVE QUESTIONS?

          82.      This Notice contains only a summary of the terms of the proposed Settlement. For more detailed information about
the matters involved in this Consolidated Action, you are referred to the papers on file in the Consolidated Action, including the
Stipulation, which may be inspected during regular office hours at the Office of the Clerk, United States District Court for the District of
Columbia, E. Barrett Prettyman United States Courthouse, 333 Constitution Ave, NW, Washington, D.C. 20001. Additionally, copies of the
Stipulation and any related orders entered by the Court will be posted on the website for this Consolidated Action,
www.fanniemaesecuritieslitigation.com. All inquiries concerning this Notice or the Claim Form should be directed to GCG or Lead
Counsel at:

                                                  In re Fannie Mae Securities Litigation
                                                     c/o The Garden City Group, Inc.
                                                              P.O. Box 9987
                                                         Dublin, Ohio 43017-5987
                                                             (800) 961-2373
                                                 www.fanniemaesecuritieslitigation.com

                                                                  and/or

                                                  Markovits, Stock & De Marco, LLC
                                               W. B. Markovits, Esq., Joseph Deters, Esq.
                                                     119 East Court St., Suite 530
                                                        Cincinnati, Ohio 45202
                                                            (513) 651-3700
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        DO NOT CALL OR WRITE THE COURT OR THE OFFICE OF THE CLERK OF COURT REGARDING THIS NOTICE.
                 DO NOT CALL OR WRITE FANNIE MAE AND ITS COUNSEL REGARDING THIS NOTICE.
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Dated: ______________, 2013                                      By Order of the Clerk of Court United States
                                                                 District Court for the District of Columbia




                                                                    15
                       Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 60 of 156




                                                                   Exhibit 1
                                                      Fannie Mae Inflation Per Call Option

  OPTION TERMS                                                     INFLATION PER CALL OPTION
Expiration  Exercise    4/17/01 -    6/16/03 -    7/30/03 -                        9/24/04 - 9/30/04 -             10/7/04 -   12/16/04 -    Holding
   Date      Price       6/15/03      7/29/03      9/21/04     9/22/04   9/23/04    9/29/04   10/5/04    10/6/04   12/15/04     12/22/04      Price
 10/16/04  $ 50.00             ---          ---          ---         ---       ---   $ 2.02    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 55.00             ---          ---     $ 8.86      $ 5.88    $ 3.71     $ 1.97    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 60.00             ---          ---     $ 8.35      $ 5.38    $ 3.30     $ 1.73    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 65.00             ---          ---     $ 6.81      $ 3.99    $ 2.19     $ 1.10    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 70.00             ---          ---     $ 4.15      $ 1.74    $ 0.66     $ 0.23    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 75.00             ---          ---     $ 1.63      $ 0.29    $ 0.05     $ 0.00    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 80.00             ---          ---     $ 0.25      $ 0.00    $ 0.00     $ 0.00    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 85.00             ---          ---     $ 0.00      $ 0.00    $ 0.00     $ 0.00    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 90.00             ---          ---     $ 0.00      $ 0.00    $ 0.00     $ 0.00    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 50.00             ---          ---          ---         ---       ---   $ 1.90    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 55.00             ---          ---          ---         ---       ---   $ 1.81    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 60.00             ---          ---     $ 7.66      $ 4.90    $ 2.96     $ 1.55    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 65.00             ---          ---     $ 6.33      $ 3.75    $ 2.11     $ 1.07    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 70.00             ---          ---     $ 4.27      $ 2.09    $ 1.02     $ 0.47    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 75.00             ---          ---     $ 2.09      $ 0.71    $ 0.28     $ 0.10    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 80.00             ---          ---     $ 0.60      $ 0.11    $ 0.00     $ 0.00    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 85.00             ---          ---     $ 0.11      $ 0.00    $ 0.00     $ 0.00    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 90.00             ---          ---     $ 0.00      $ 0.00    $ 0.00     $ 0.00    $ 0.00     $ 0.00         ---           ---        n/a
 12/18/04  $ 45.00             ---          ---     $ 8.60      $ 5.72    $ 3.62     $ 1.91    $ 0.00     $ 0.00     $ 1.49            ---        n/a
 12/18/04  $ 50.00             ---          ---     $ 8.47      $ 5.61    $ 3.53     $ 1.87    $ 0.00     $ 0.00     $ 1.49            ---        n/a
 12/18/04  $ 55.00             ---          ---     $ 8.13      $ 5.32    $ 3.31     $ 1.74    $ 0.00     $ 0.00     $ 1.49            ---        n/a
 12/18/04  $ 60.00             ---          ---     $ 7.43      $ 4.72    $ 2.84     $ 1.48    $ 0.00     $ 0.00     $ 1.49            ---        n/a
 12/18/04  $ 65.00             ---          ---     $ 6.18      $ 3.67    $ 2.09     $ 1.07    $ 0.00     $ 0.27     $ 1.47            ---        n/a
 12/18/04  $ 70.00             ---          ---     $ 4.37      $ 2.28    $ 1.19     $ 0.58    $ 0.00     $ 0.00     $ 0.73            ---        n/a
 12/18/04  $ 75.00             ---          ---     $ 2.44      $ 1.03    $ 0.48     $ 0.22    $ 0.00     $ 0.00     $ 0.00            ---        n/a
 12/18/04  $ 80.00             ---          ---     $ 1.00      $ 0.32    $ 0.14     $ 0.06    $ 0.00     $ 0.00     $ 0.00            ---        n/a
 12/18/04  $ 85.00             ---          ---     $ 0.27      $ 0.05    $ 0.00     $ 0.00    $ 0.00     $ 0.00     $ 0.00            ---        n/a
 12/18/04  $ 90.00             ---          ---     $ 0.07      $ 0.00    $ 0.00     $ 0.00    $ 0.00     $ 0.00     $ 0.00            ---        n/a
 1/22/05   $ 40.00             ---          ---     $ 8.58      $ 5.70    $ 3.61     $ 1.91    $ 0.00     $ 1.27     $ 3.07       $ 1.59      $ 29.70



                                                                         16
                       Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 61 of 156




                                                                   Exhibit 1
                                                      Fannie Mae Inflation Per Call Option

  OPTION TERMS                                                     INFLATION PER CALL OPTION
Expiration  Exercise    4/17/01 -    6/16/03 -    7/30/03 -                        9/24/04 - 9/30/04 -                10/7/04 -   12/16/04 -   Holding
  Date       Price       6/15/03      7/29/03      9/21/04     9/22/04   9/23/04    9/29/04   10/5/04     10/6/04     12/15/04     12/22/04     Price
 1/22/05   $ 45.00        $ 5.56       $ 7.61       $ 8.48      $ 5.63    $ 3.56     $ 1.88    $ 0.00      $ 1.38       $ 3.08       $ 1.59     $ 24.70
 1/22/05   $ 50.00        $ 5.51       $ 7.46       $ 8.27      $ 5.46    $ 3.42     $ 1.81    $ 0.00      $ 1.42       $ 3.08       $ 1.60     $ 19.75
 1/22/05   $ 55.00        $ 5.31       $ 7.13       $ 7.87      $ 5.12    $ 3.17     $ 1.66    $ 0.00      $ 1.44       $ 3.01       $ 1.55     $ 14.80
 1/22/05   $ 60.00        $ 4.82       $ 6.49       $ 7.14      $ 4.51    $ 2.72     $ 1.42    $ 0.00      $ 1.48       $ 2.90       $ 1.52      $ 9.90
 1/22/05   $ 65.00        $ 3.94       $ 5.43       $ 5.98      $ 3.59    $ 2.08     $ 1.07    $ 0.00      $ 1.49       $ 2.64       $ 1.40      $ 5.20
 1/22/05   $ 70.00        $ 2.69       $ 4.00       $ 4.44      $ 2.44    $ 1.34     $ 0.67    $ 0.00      $ 0.95       $ 1.76       $ 0.99      $ 1.55
 1/22/05   $ 75.00        $ 1.36       $ 2.48       $ 2.83      $ 1.37    $ 0.71     $ 0.34    $ 0.00      $ 0.03       $ 0.50       $ 0.29      $ 0.18
 1/22/05   $ 80.00        $ 0.28       $ 1.21       $ 1.47      $ 0.62    $ 0.30     $ 0.15    $ 0.00      $ 0.00       $ 0.09       $ 0.05      $ 0.00
 1/22/05   $ 85.00        $ 0.00       $ 0.44       $ 0.64      $ 0.25    $ 0.13     $ 0.06    $ 0.00      $ 0.00       $ 0.00       $ 0.00      $ 0.00
 1/22/05   $ 90.00        $ 0.00       $ 0.08       $ 0.22      $ 0.07    $ 0.03     $ 0.00    $ 0.00      $ 0.00       $ 0.00       $ 0.00      $ 0.00
 1/22/05   $ 95.00             ---          ---     $ 0.06      $ 0.00    $ 0.00     $ 0.00    $ 0.00      $ 0.00       $ 0.00       $ 0.00      $ 0.00
 2/19/05   $ 55.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 1.41     $ 15.75
 2/19/05   $ 60.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 1.35     $ 10.00
 2/19/05   $ 65.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 1.23      $ 5.60
 2/19/05   $ 70.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 0.92      $ 2.10
 2/19/05   $ 75.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 0.43      $ 0.65
 2/19/05   $ 80.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 0.12      $ 0.15
 2/19/05   $ 85.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 0.00      $ 0.00
 3/19/05   $ 45.00             ---          ---     $ 8.35      $ 5.54    $ 3.49     $ 1.85    $ 0.00      $ 1.17       $ 2.92       $ 1.52     $ 24.80
 3/19/05   $ 50.00             ---          ---     $ 8.10      $ 5.34    $ 3.34     $ 1.77    $ 0.00      $ 1.25       $ 2.88       $ 1.49     $ 19.85
 3/19/05   $ 55.00             ---          ---     $ 7.67      $ 4.97    $ 3.07     $ 1.61    $ 0.00      $ 1.28       $ 2.80       $ 1.46     $ 15.00
 3/19/05   $ 60.00             ---          ---     $ 6.93      $ 4.38    $ 2.64     $ 1.38    $ 0.00      $ 1.29       $ 2.65       $ 1.38     $ 10.30
 3/19/05   $ 65.00             ---          ---     $ 5.86      $ 3.54    $ 2.08     $ 1.07    $ 0.00      $ 1.19       $ 2.31       $ 1.22      $ 6.15
 3/19/05   $ 70.00             ---          ---     $ 4.51      $ 2.56    $ 1.44     $ 0.73    $ 0.00      $ 0.84       $ 1.67       $ 0.91      $ 2.80
 3/19/05   $ 75.00             ---          ---     $ 3.08      $ 1.61    $ 0.86     $ 0.42    $ 0.00      $ 0.34       $ 0.88       $ 0.49      $ 0.93
 3/19/05   $ 80.00             ---          ---     $ 1.85      $ 0.88    $ 0.45     $ 0.21    $ 0.00      $ 0.00       $ 0.30       $ 0.17      $ 0.20
 3/19/05   $ 85.00             ---          ---     $ 0.94      $ 0.40    $ 0.20     $ 0.10    $ 0.00      $ 0.00       $ 0.08       $ 0.04      $ 0.00
 3/19/05   $ 90.00             ---          ---     $ 0.43      $ 0.18    $ 0.09     $ 0.04    $ 0.00      $ 0.00       $ 0.00       $ 0.00      $ 0.00
 3/19/05   $ 95.00             ---          ---     $ 0.15      $ 0.04    $ 0.00     $ 0.00    $ 0.00      $ 0.00       $ 0.00       $ 0.00      $ 0.00



                                                                         17
                       Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 62 of 156




                                                                   Exhibit 1
                                                      Fannie Mae Inflation Per Call Option

  OPTION TERMS                                                     INFLATION PER CALL OPTION
Expiration  Exercise    4/17/01 -    6/16/03 -    7/30/03 -                        9/24/04 - 9/30/04 -                10/7/04 -   12/16/04 -   Holding
  Date       Price       6/15/03      7/29/03      9/21/04     9/22/04   9/23/04    9/29/04   10/5/04     10/6/04     12/15/04     12/22/04     Price
 6/18/05   $ 55.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 2.68       $ 1.40     $ 15.40
 6/18/05   $ 60.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 2.49       $ 1.31     $ 11.00
 6/18/05   $ 65.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 2.15       $ 1.14      $ 7.20
 6/18/05   $ 70.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 1.66       $ 0.89      $ 4.00
 6/18/05   $ 75.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 1.09       $ 0.59      $ 1.90
 6/18/05   $ 80.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 0.58       $ 0.31      $ 0.75
 6/18/05   $ 85.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 0.26       $ 0.13      $ 0.25
 1/21/06   $ 40.00             ---     $ 7.06       $ 7.93      $ 5.25    $ 3.30     $ 1.75    $ 0.00      $ 1.07       $ 2.77       $ 1.44     $ 29.90
 1/21/06   $ 50.00             ---     $ 6.62       $ 7.39      $ 4.82    $ 3.00     $ 1.58    $ 0.00      $ 1.15       $ 2.61       $ 1.36     $ 20.80
 1/21/06   $ 55.00             ---     $ 6.19       $ 6.89      $ 4.44    $ 2.74     $ 1.44    $ 0.00      $ 1.11       $ 2.46       $ 1.28     $ 16.60
 1/21/06   $ 60.00             ---     $ 5.62       $ 6.26      $ 3.97    $ 2.42     $ 1.27    $ 0.00      $ 1.04       $ 2.25       $ 1.18     $ 12.85
 1/21/06   $ 65.00             ---     $ 4.93       $ 5.49      $ 3.42    $ 2.06     $ 1.08    $ 0.00      $ 0.94       $ 1.99       $ 1.05      $ 9.40
 1/21/06   $ 70.00             ---     $ 4.15       $ 4.64      $ 2.82    $ 1.67     $ 0.87    $ 0.00      $ 0.79       $ 1.67       $ 0.89      $ 6.55
 1/21/06   $ 75.00             ---     $ 3.34       $ 3.76      $ 2.22    $ 1.29     $ 0.67    $ 0.00      $ 0.62       $ 1.32       $ 0.71      $ 4.25
 1/21/06   $ 80.00             ---     $ 2.57       $ 2.92      $ 1.67    $ 0.96     $ 0.48    $ 0.00      $ 0.45       $ 0.98       $ 0.52      $ 2.58
 1/21/06   $ 85.00             ---          ---     $ 2.16      $ 1.20    $ 0.68     $ 0.35    $ 0.00      $ 0.28       $ 0.67       $ 0.36      $ 1.45
 1/21/06   $ 90.00             ---          ---     $ 1.55      $ 0.83    $ 0.47     $ 0.23    $ 0.00      $ 0.15       $ 0.44       $ 0.23      $ 0.83
 1/21/06   $ 95.00             ---          ---     $ 1.06      $ 0.55    $ 0.30     $ 0.15    $ 0.00      $ 0.08       $ 0.28       $ 0.15      $ 0.48
 1/20/07   $ 50.00             ---          ---     $ 6.93      $ 4.51    $ 2.81     $ 1.49    $ 0.00      $ 1.08       $ 2.45       $ 1.27     $ 21.75
 1/20/07   $ 60.00             ---          ---     $ 5.95      $ 3.80    $ 2.34     $ 1.23    $ 0.00      $ 0.96       $ 2.13       $ 1.11     $ 14.60
 1/20/07   $ 70.00             ---          ---     $ 4.72      $ 2.94    $ 1.77     $ 0.93    $ 0.00      $ 0.78       $ 1.69       $ 0.89      $ 9.00
 1/20/07   $ 80.00             ---          ---     $ 3.43      $ 2.06    $ 1.22     $ 0.63    $ 0.00      $ 0.55       $ 1.20       $ 0.64      $ 5.00
 1/20/07   $ 90.00             ---          ---     $ 2.28      $ 1.32    $ 0.77     $ 0.39    $ 0.00      $ 0.33       $ 0.76       $ 0.40      $ 2.63




                                                                         18
                       Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 63 of 156




                                                                  Exhibit 2
                                                      Fannie Mae Deflation Per Put Option

  OPTION TERMS                                                     DEFLATION PER PUT OPTION
Expiration  Exercise    4/17/01 -    6/16/03 -    7/30/03 -                        9/24/04 - 9/30/04 -             10/7/04 -   12/16/04 -    Holding
   Date      Price       6/15/03      7/29/03      9/21/04     9/22/04   9/23/04    9/29/04   10/5/04    10/6/04   12/15/04     12/22/04      Price
 10/16/04  $ 50.00             ---          ---          ---         ---       ---   $ 0.00    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 55.00             ---          ---     $ 0.19      $ 0.19    $ 0.19     $ 0.10    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 60.00             ---          ---     $ 0.69      $ 0.69    $ 0.56     $ 0.30    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 65.00             ---          ---     $ 2.26      $ 2.08    $ 1.65     $ 0.94    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 70.00             ---          ---     $ 4.95      $ 4.33    $ 3.18     $ 1.83    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 75.00             ---          ---     $ 7.40      $ 5.70    $ 3.72     $ 2.04    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 80.00             ---          ---     $ 8.87      $ 5.99    $ 3.76     $ 2.04    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 85.00             ---          ---     $ 8.98      $ 6.00    $ 3.77     $ 2.04    $ 0.00     $ 0.00         ---           ---        n/a
 10/16/04  $ 90.00             ---          ---     $ 8.98      $ 6.00    $ 3.77     $ 2.04    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 50.00             ---          ---          ---         ---       ---   $ 0.09    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 55.00             ---          ---          ---         ---       ---   $ 0.21    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 60.00             ---          ---     $ 1.27      $ 1.12    $ 0.88     $ 0.49    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 65.00             ---          ---     $ 2.65      $ 2.29    $ 1.72     $ 0.96    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 70.00             ---          ---     $ 4.69      $ 3.87    $ 2.72     $ 1.52    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 75.00             ---          ---     $ 6.74      $ 5.10    $ 3.36     $ 1.83    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 80.00             ---          ---     $ 8.04      $ 5.59    $ 3.56     $ 1.91    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 85.00             ---          ---     $ 8.50      $ 5.70    $ 3.61     $ 1.93    $ 0.00     $ 0.00         ---           ---        n/a
 11/20/04  $ 90.00             ---          ---     $ 8.60      $ 5.74    $ 3.62     $ 1.94    $ 0.00     $ 0.00         ---           ---        n/a
 12/18/04  $ 45.00             ---          ---     $ 0.10      $ 0.10    $ 0.10     $ 0.06    $ 0.00     $ 0.00     $ 0.00            ---        n/a
 12/18/04  $ 50.00             ---          ---     $ 0.28      $ 0.28    $ 0.23     $ 0.13    $ 0.00     $ 0.00     $ 0.00            ---        n/a
 12/18/04  $ 55.00             ---          ---     $ 0.73      $ 0.64    $ 0.50     $ 0.28    $ 0.00     $ 0.00     $ 0.00            ---        n/a
 12/18/04  $ 60.00             ---          ---     $ 1.51      $ 1.30    $ 0.98     $ 0.55    $ 0.00     $ 0.00     $ 0.00            ---        n/a
 12/18/04  $ 65.00             ---          ---     $ 2.82      $ 2.36    $ 1.72     $ 0.96    $ 0.00     $ 0.00     $ 0.00            ---        n/a
 12/18/04  $ 70.00             ---          ---     $ 4.63      $ 3.73    $ 2.60     $ 1.44    $ 0.00     $ 0.00     $ 0.76            ---        n/a
 12/18/04  $ 75.00             ---          ---     $ 6.51      $ 4.90    $ 3.25     $ 1.76    $ 0.00     $ 0.07     $ 1.45            ---        n/a
 12/18/04  $ 80.00             ---          ---     $ 7.85      $ 5.52    $ 3.54     $ 1.90    $ 0.00     $ 0.00     $ 1.46            ---        n/a
 12/18/04  $ 85.00             ---          ---     $ 8.42      $ 5.68    $ 3.60     $ 1.94    $ 0.00     $ 0.00     $ 1.45            ---        n/a
 12/18/04  $ 90.00             ---          ---     $ 8.61      $ 5.74    $ 3.61     $ 1.94    $ 0.00     $ 0.00     $ 1.45            ---        n/a
 1/22/05   $ 40.00             ---          ---     $ 0.14      $ 0.10    $ 0.08     $ 0.04    $ 0.00     $ 0.00     $ 0.00       $ 0.00       $ 0.00



                                                                         19
                       Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 64 of 156




                                                                  Exhibit 2
                                                      Fannie Mae Deflation Per Put Option

  OPTION TERMS                                                     DEFLATION PER PUT OPTION
Expiration  Exercise    4/17/01 -    6/16/03 -    7/30/03 -                        9/24/04 - 9/30/04 -                10/7/04 -   12/16/04 -   Holding
  Date       Price       6/15/03      7/29/03      9/21/04     9/22/04   9/23/04    9/29/04   10/5/04     10/6/04     12/15/04     12/22/04     Price
 1/22/05   $ 45.00        $ 0.00       $ 0.08       $ 0.25      $ 0.20    $ 0.16     $ 0.09    $ 0.00      $ 0.00       $ 0.00       $ 0.00      $ 0.00
 1/22/05   $ 50.00        $ 0.00       $ 0.26       $ 0.50      $ 0.42    $ 0.31     $ 0.18    $ 0.00      $ 0.00       $ 0.00       $ 0.00      $ 0.00
 1/22/05   $ 55.00        $ 0.07       $ 0.62       $ 0.95      $ 0.80    $ 0.59     $ 0.33    $ 0.00      $ 0.00       $ 0.04       $ 0.00      $ 0.10
 1/22/05   $ 60.00        $ 0.62       $ 1.33       $ 1.75      $ 1.45    $ 1.06     $ 0.59    $ 0.00      $ 0.00       $ 0.15       $ 0.06      $ 0.18
 1/22/05   $ 65.00        $ 1.56       $ 2.44       $ 2.97      $ 2.41    $ 1.72     $ 0.95    $ 0.00      $ 0.00       $ 0.44       $ 0.19      $ 0.48
 1/22/05   $ 70.00        $ 2.87       $ 3.94       $ 4.58      $ 3.60    $ 2.49     $ 1.37    $ 0.00      $ 0.34       $ 1.32       $ 0.61      $ 1.80
 1/22/05   $ 75.00        $ 4.22       $ 5.50       $ 6.23      $ 4.67    $ 3.11     $ 1.69    $ 0.00      $ 1.27       $ 2.58       $ 1.33      $ 5.40
 1/22/05   $ 80.00        $ 5.26       $ 6.73       $ 7.56      $ 5.38    $ 3.47     $ 1.86    $ 0.00      $ 1.49       $ 3.03       $ 1.58     $ 10.38
 1/22/05   $ 85.00        $ 5.77       $ 7.43       $ 8.34      $ 5.69    $ 3.61     $ 1.93    $ 0.00      $ 1.40       $ 3.03       $ 1.58     $ 15.40
 1/22/05   $ 90.00        $ 5.82       $ 7.65       $ 8.63      $ 5.76    $ 3.63     $ 1.95    $ 0.00      $ 1.44       $ 3.07       $ 1.58     $ 20.40
 1/22/05   $ 95.00             ---          ---     $ 8.70      $ 5.78    $ 3.65     $ 1.95    $ 0.00      $ 1.40       $ 3.07       $ 1.58     $ 25.40
 2/19/05   $ 55.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 0.06      $ 0.15
 2/19/05   $ 60.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 0.11      $ 0.35
 2/19/05   $ 65.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 0.28      $ 0.88
 2/19/05   $ 70.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 0.66      $ 2.30
 2/19/05   $ 75.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 1.23      $ 6.10
 2/19/05   $ 80.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 1.60     $ 10.85
 2/19/05   $ 85.00             ---          ---          ---         ---       ---        ---       ---         ---         ---      $ 1.60     $ 15.60
 3/19/05   $ 45.00             ---          ---     $ 0.35      $ 0.30    $ 0.23     $ 0.13    $ 0.00      $ 0.00       $ 0.06       $ 0.03      $ 0.13
 3/19/05   $ 50.00             ---          ---     $ 0.68      $ 0.56    $ 0.41     $ 0.23    $ 0.00      $ 0.00       $ 0.09       $ 0.04      $ 0.23
 3/19/05   $ 55.00             ---          ---     $ 1.19      $ 0.97    $ 0.71     $ 0.39    $ 0.00      $ 0.00       $ 0.19       $ 0.10      $ 0.40
 3/19/05   $ 60.00             ---          ---     $ 1.99      $ 1.60    $ 1.15     $ 0.63    $ 0.00      $ 0.00       $ 0.38       $ 0.18      $ 0.80
 3/19/05   $ 65.00             ---          ---     $ 3.10      $ 2.44    $ 1.71     $ 0.94    $ 0.00      $ 0.11       $ 0.76       $ 0.37      $ 1.65
 3/19/05   $ 70.00             ---          ---     $ 4.44      $ 3.41    $ 2.33     $ 1.27    $ 0.00      $ 0.46       $ 1.40       $ 0.68      $ 3.30
 3/19/05   $ 75.00             ---          ---     $ 5.84      $ 4.32    $ 2.87     $ 1.56    $ 0.00      $ 0.96       $ 2.17       $ 1.09      $ 6.50
 3/19/05   $ 80.00             ---          ---     $ 7.01      $ 5.00    $ 3.24     $ 1.75    $ 0.00      $ 1.30       $ 2.72       $ 1.40     $ 10.85
 3/19/05   $ 85.00             ---          ---     $ 7.84      $ 5.41    $ 3.46     $ 1.85    $ 0.00      $ 1.32       $ 2.86       $ 1.47     $ 15.70
 3/19/05   $ 90.00             ---          ---     $ 8.27      $ 5.59    $ 3.54     $ 1.89    $ 0.00      $ 1.32       $ 2.91       $ 1.51     $ 20.65
 3/19/05   $ 95.00             ---          ---     $ 8.46      $ 5.65    $ 3.57     $ 1.91    $ 0.00      $ 1.28       $ 2.90       $ 1.50     $ 25.70



                                                                         20
                       Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 65 of 156




                                                                  Exhibit 2
                                                      Fannie Mae Deflation Per Put Option

  OPTION TERMS                                                     DEFLATION PER PUT OPTION
Expiration  Exercise    4/17/01 -    6/16/03 -    7/30/03 -                        9/24/04 - 9/30/04 -                10/7/04 -   12/16/04 -   Holding
  Date       Price       6/15/03      7/29/03      9/21/04     9/22/04   9/23/04    9/29/04   10/5/04     10/6/04     12/15/04     12/22/04     Price
 6/18/05   $ 55.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 0.32       $ 0.16      $ 0.90
 6/18/05   $ 60.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 0.54       $ 0.26      $ 1.58
 6/18/05   $ 65.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 0.89       $ 0.44      $ 2.75
 6/18/05   $ 70.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 1.38       $ 0.68      $ 4.60
 6/18/05   $ 75.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 1.94       $ 0.98      $ 7.50
 6/18/05   $ 80.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 2.43       $ 1.25     $ 11.30
 6/18/05   $ 85.00             ---          ---          ---         ---       ---        ---       ---         ---     $ 2.72       $ 1.41     $ 15.80
 1/21/06   $ 40.00             ---     $ 0.37       $ 0.52      $ 0.40    $ 0.28     $ 0.16    $ 0.00      $ 0.02       $ 0.13       $ 0.07      $ 0.63
 1/21/06   $ 50.00             ---     $ 0.97       $ 1.23      $ 0.94    $ 0.65     $ 0.36    $ 0.00      $ 0.07       $ 0.33       $ 0.17      $ 1.48
 1/21/06   $ 55.00             ---     $ 1.45       $ 1.78      $ 1.35    $ 0.92     $ 0.50    $ 0.00      $ 0.13       $ 0.50       $ 0.25      $ 2.28
 1/21/06   $ 60.00             ---     $ 2.05       $ 2.46      $ 1.85    $ 1.26     $ 0.69    $ 0.00      $ 0.21       $ 0.72       $ 0.36      $ 3.35
 1/21/06   $ 65.00             ---     $ 2.77       $ 3.26      $ 2.42    $ 1.64     $ 0.89    $ 0.00      $ 0.32       $ 1.00       $ 0.50      $ 4.85
 1/21/06   $ 70.00             ---     $ 3.57       $ 4.14      $ 3.04    $ 2.03     $ 1.10    $ 0.00      $ 0.47       $ 1.33       $ 0.67      $ 6.90
 1/21/06   $ 75.00             ---     $ 4.38       $ 5.04      $ 3.64    $ 2.41     $ 1.31    $ 0.00      $ 0.65       $ 1.68       $ 0.85      $ 9.55
 1/21/06   $ 80.00             ---     $ 5.16       $ 5.87      $ 4.18    $ 2.74     $ 1.48    $ 0.00      $ 0.84       $ 2.03       $ 1.03     $ 12.80
 1/21/06   $ 85.00             ---          ---     $ 6.60      $ 4.63    $ 3.00     $ 1.61    $ 0.00      $ 0.98       $ 2.32       $ 1.19     $ 16.65
 1/21/06   $ 90.00             ---          ---     $ 7.17      $ 4.95    $ 3.18     $ 1.70    $ 0.00      $ 1.09       $ 2.52       $ 1.29     $ 21.00
 1/21/06   $ 95.00             ---          ---     $ 7.61      $ 5.20    $ 3.32     $ 1.77    $ 0.00      $ 1.13       $ 2.63       $ 1.36     $ 25.75
 1/20/07   $ 50.00             ---          ---     $ 1.49      $ 1.10    $ 0.74     $ 0.40    $ 0.00      $ 0.13       $ 0.43       $ 0.22      $ 2.68
 1/20/07   $ 60.00             ---          ---     $ 2.53      $ 1.85    $ 1.24     $ 0.67    $ 0.00      $ 0.26       $ 0.77       $ 0.39      $ 5.15
 1/20/07   $ 70.00             ---          ---     $ 3.79      $ 2.73    $ 1.81     $ 0.98    $ 0.00      $ 0.45       $ 1.23       $ 0.62      $ 8.90
 1/20/07   $ 80.00             ---          ---     $ 5.09      $ 3.60    $ 2.35     $ 1.27    $ 0.00      $ 0.69       $ 1.71       $ 0.87     $ 14.60
 1/20/07   $ 90.00             ---          ---     $ 6.18      $ 4.28    $ 2.75     $ 1.47    $ 0.00      $ 0.91       $ 2.14       $ 1.09     $ 21.85




                                                                         21
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 66 of 156




                    EXHIBIT

                          A-2
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 67 of 156

     UNITED STATES DISTRICT COURT
     DISTRICT OF COLUMBIA
     IN RE FANNIE MAE SECURITIES LITIGATION
     THIS DOCUMENT RELATES TO: MDL No. 1668, Consolidated Civil Action No. 04-1639 (RJL), ECF CASE
                          SUMMARY NOTICE OF (I) PROPOSED SETTLEMENT AND PLAN OF ALLOCATION;
                            (II) SETTLEMENT FAIRNESS HEARING; AND (III) MOTION FOR AN AWARD OF
                                 ATTORNEYS’ FEES AND REIMBURSEMENT OF LITIGATION EXPENSES
     To: All purchasers of the publicly traded common stock and call options of Fannie Mae, and sellers of Fannie Mae publicly
     traded put options during the period from April 17, 2001 through December 22, 2004 (the “Class Period”) who suffered damages
     thereby (the “Class”).1
     PLEASE READ THIS NOTICE CAREFULLY; YOUR RIGHTS WILL BE AFFECTED BY THE SETTLEMENT OF A CLASS
     ACTION LAWSUIT PENDING IN THIS COURT.
     PLEASE DO NOT CONTACT THE COURT OR THE CLERK’S OFFICE REGARDING THIS NOTICE.
     PLEASE DO NOT CONTACT FANNIE MAE OR KPMG OR THEIR COUNSEL REGARDING THIS NOTICE.
     ALL QUESTIONS ABOUT THIS NOTICE, THE PROPOSED SETTLEMENT, OR YOUR ELIGIBILITY TO PARTICIPATE IN
     THE SETTLEMENT SHOULD BE DIRECTED TO LEAD COUNSEL OR THE CLAIMS ADMINISTRATOR, WHOSE CONTACT
     INFORMATION IS PROVIDED BELOW, RATHER THAN TO FANNIE MAE, KPMG OR THE COURT.
     YOU ARE HEREBY NOTIFIED, pursuant to Rule 23 of the Federal Rules of Civil Procedure and an Order of the United States District
     Court for the District of Columbia, that Court-appointed Lead Plaintiffs, the Ohio Public Employees Retirement System and the State
     Teachers Retirement System of Ohio, on behalf of themselves and the Court-certified Class, in the above-captioned securities class action
     (the “Consolidated Action”) have reached a proposed settlement of the Consolidated Action with defendants Fannie Mae and KPMG
     (collectively, the “Settling Defendants”) for $153,000,000 that, if approved, will resolve all claims in the Consolidated Action.
     A hearing will be held on ______at ____p.m. before the Honorable Richard J. Leon, in the United States District Court for the District
     of Columbia, E. Barrett Prettyman United States Courthouse, 333 Constitution Ave. NW, Washington, D.C. 20001, to determine: (i)
     whether the proposed Settlement is fair, reasonable, and adequate and should be approved by the Court; (ii) whether the Consolidated
     Action should be dismissed with prejudice against the Settling Defendants as set forth in the Stipulation of Settlement; (iii) whether
     the proposed Plan of Allocation is fair and reasonable and should be approved by the Court; (iv) whether Lead Counsel’s request for an




                                                        FT
     award of attorneys’ fees and reimbursement of Litigation Expenses should be approved by the Court; and (v) any other relief the Court
     deems necessary to effectuate the terms of the Settlement.
     If you are a member of the Class, your rights will be affected by the pending Consolidated Action and the Settlement, and you
     may be entitled to a share in the Settlement Fund. If you have not yet received the full printed Notice of (I) Proposed Settlement
     and Plan of Allocation, (II) Settlement Fairness Hearing, and (III) Motion for an Award of Attorneys’ Fees and Reimbursement of
     Litigation Expenses (the “Settlement Notice”) and the Proof of Claim Form, you may obtain copies of these documents by contacting
     the Claims Administrator at Fannie Mae Securities Litigation, c/o GCG, PO Box 9987, Dublin, OH 43017-5987, (800) 961-2373.
                   RA
     Copies of the Settlement Notice and Proof of Claim Form can also be downloaded from the website for the Consolidated Action,
     www.fanniemaesecuritieslitigation.com, or from Lead Counsel’s website.
     If you are a Class Member, in order to be eligible to receive a payment under the proposed Settlement, you must submit a Proof of Claim
     Form postmarked no later than ______. If you are a Class Member and do not submit a proper Proof of Claim Form, you will not be
     eligible to share in the distribution from the net proceeds of the Settlement but you will nevertheless be bound by any judgments or orders
     entered by the Court in the Consolidated Action.
     If you previously submitted a request for exclusion from the Class in connection with the Notice of Pendency of Class Action (“Class
     Notice”) and you wish to remain excluded, no further action is required. If you previously submitted a request for exclusion from
                  D

     the Class in connection with the Class Notice and you want to opt-back into the Class and be eligible to receive a payment from
     the Settlement Fund, you must submit a request to opt-back into the Class in writing such that it is received no later than ______, in
     accordance with the instructions set forth in the Settlement Notice. If you previously submitted a request for exclusion from the Class
     in connection with the Class Notice and do not opt-back into the Class in accordance with the instructions set forth in the Settlement
     Notice, you will not be bound by any judgments or orders entered by the Court in the Consolidated Action and you will not be eligible
     to share in the net proceeds of the Settlement.
     Any objections to the proposed Settlement, the proposed Plan of Allocation, or Lead Counsel’s application for attorneys’ fees and
     reimbursement of expenses, must be filed with the Court and delivered to Lead Counsel and representative counsel for the Settling
     Defendants such that they are received no later than _________, in accordance with the instructions set forth in the Settlement Notice.
     Inquiries, other than requests for the Settlement Notice, may be made to:
     Markovits, Stock & DeMarco, LLC
     W. B. Markovits
     Joseph Deters
     119 East Court St.
     Suite 530
     Cincinnati, OH 45202
     Requests for the Settlement Notice should be made to:
     Fannie Mae Securities Litigation
     c/o GCG
     PO Box 9987
     Dublin, OH 43017-5987
     (800) 961-2373
     www.fanniemaesecuritieslitigation.com
     By Order of the Court
     1
      Certain persons and entities are excluded from the Class by definition and others are excluded pursuant to request. A complete
     description of who is excluded from the Class is set forth in the full Settlement Notice referred to in this notice and available at
     www.fanniemaesecuritieslitigation.com.




                                            MECHANICAL SPECIFICATIONS
                    File Name: Fannie_Mae_Master.indd                      Body Copy Font Size/Leading: 7/7.5
                    Publication: WSJ                                       Total Word Count: 987
                    Ad Unit: 4c (5.37) x 8”                                Create Date/Time: 5/3/13 at 9:30 am
                    Headline Font: Times Lt Std.                           Operator: KS
                    Headline Font Size/Leading: 7/7.5                      Last Edit Time: 5/3/13 at 4:46 pm
                    Body Copy: Times Lt Std                                Operator: TOC
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 68 of 156




                    EXHIBIT

                          A-3
               Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 69 of 156
           Must be
         Postmarked
                                                  In re Fannie Mae Securities Litigation
                                                                                                                                         FNM
                                                                                                                  *P-FNM-POC/1*
        No Later Than
                                                     c/o The Garden City Group, Inc.
       _______________
                                                              P.O. Box 9987
                                                         Dublin, Ohio 43017-5987
                                                              (800) 961-2373




                                                                                         Claim Number:

                                                                                         Control Number:



                                           PROOF OF CLAIM AND RELEASE




           TABLE OF CONTENTS 									PAGE #

           PART I - CLAIMANT IDENTIFICATION......................................................................................................2

           PART II - SCHEDULE OF TRANSACTIONS IN COMMON STOCK..........................................................3

           PART III - SCHEDULE OF TRANSACTIONS IN CALL OPTIONS.............................................................4

           PART IV - SCHEDULE OF TRANSACTIONS IN PUT OPTIONS...............................................................5

           PART V - SUBMISSION TO JURISDICTION OF COURT AND ACKNOWLEDGMENTS..........................6

           PART VI - RELEASES AND CERTIFICATION............................................................................................7




Important - This form should be completed IN CAPITAL LETTERS using BLACK or DARK BLUE ballpoint/fountain pen. Characters and marks used
should be similar in the style to the following:

A B C D E F G H I J K L MNO P QR ST UVWX Y Z 1 2 3 4 5 6 7 0
                       Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 70 of 156

                                                                                             2                                       *P-FNM-POC/2*
                                                         PART I - CLAIMANT IDENTIFICATION
   Last Name (Claimant) 					                                                                                  First Name (Claimant)


   Last Name (Beneficial Owner if Different From Claimant)                                                     First Name (Beneficial Owner)



   Last Four Digits of the Beneficial Owner’s Employer Identification Number or Social Security Number1

   Last Name (Joint Beneficial Owner)				                                                                      First Name (Joint Beneficial Owner)


   Company/Other Entity (If Claimant Is Not an Individual)                                                     Contact Person (If Claimant is Not an Individual)


   Trustee/Nominee/Other


   Account Number (If Claimant Is Not an Individual)                                                Trust/Other Date (If Applicable)


   Address Line 1


   Address Line 2 (If Applicable)


   City 								State 			 Zip Code


   Foreign Province 						                                                                          Foreign Country                         Foreign Zip Code


   Telephone Number (Day) 					                                                                     Telephone Number (Night)
                   -                   -                                                                              -                      -
   Email Address          (Email address is not required, but if you provide it you authorize the Claims Administrator to use it in providing you with information relevant to this claim.)




   IDENTITY OF CLAIMANT (check only one box):
          Individual                   Joint Owners                      Estate                      Corporation                       Trust                       Partnership

          Private Pension Fund                                           Legal Representative

          IRA, Keogh, or other type of individual retirement plan (indicate type of plan, mailing address, and name of current custodian)

          Other (specify, describe on separate sheet)

NOTICE REGARDING ELECTRONIC FILES: Certain claimants with large numbers of transactions may request to, or may be requested to,
submit information regarding their transactions in electronic files. To obtain the mandatory electronic filing requirements and file layout, you may
visit the website at www.fanniemaesecuritieslitigation.com or you may e-mail the Claims Administrator at eClaim@gcginc.com. Any file not in
accordance with the required electronic filing format will be subject to rejection. No electronic files will be considered to have been properly
submitted unless the Claims Administrator issues an email after processing your file with your claim numbers and respective account informa-
tion. Do not assume that your file has been received or processed until you receive this email. If you do not receive such an email within 10
days of your submission, you should contact the electronic filing department at eClaim@gcginc.com to inquire about your file and confirm it was
received and acceptable.
      1
       The last four digits of the taxpayer identification number (TIN), consisting of a valid Social Security Number (SSN) for individuals or Employer Identi-
      fication Number (EIN) for business entities, trusts, estates, etc., and telephone number of the beneficial owner(s) may be used in verifying this claim.
               Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 71 of 156

                                                        3                         *P-FNM-POC/3*

                         PART II - SCHEDULE OF TRANSACTIONS IN COMMON STOCK

A.   BEGINNING HOLDINGS: Number of shares of common stock held at the close of trading on
     April 16, 2001: If none, write “zero” or “0”.
                                                                                                          Shares

B.   PURCHASES: Purchases of common stock (from April 17, 2001 through December 22, 2004, inclusive) (Must be
     documented).



           Trade Date              Number of Shares                                            Total Amount Paid
      List Chronologically           Purchased                                              (Excluding taxes, fees,
                                                                Price per Share
       (Month/Day /Year)                                                                      other commissions)


         /           /                                                       .                                .

         /           /                                                       .                                .

         /           /                                                       .                                .

         /           /                                                       .                                .

         /           /                                                       .                                .


C.   SALES: Sales of common stock (from April 17, 2001 through December 22, 2004, inclusive). (Must be documented.)




           Trade Date                                                                       Total Amount Received
      List Chronologically         Number of Shares                                         (Excluding taxes, fees,
                                        Sold                    Price per Share
       (Month/Day /Year)                                                                      other commissions)


         /           /                                                       .                               .

         /           /                                                       .                               .

         /           /                                                       .                               .

         /           /                                                       .                               .

         /           /                                                       .                               .


D.   ENDING HOLDINGS: Number of shares of common stock held after the close of
     trading on December 22, 2004. If none, write “zero” or “0” (Must be documented).
                                                                                                          Shares



          IF YOU NEED ADDITIONAL SPACE TO LIST YOUR TRANSACTIONS YOU MUST
                       PHOTOCOPY THIS PAGE AND CHECK THIS BOX
     IF YOU DO NOT CHECK THIS BOX THESE ADDITIONAL PAGES WILL NOT BE REVIEWED
                                                                                                                                                                                                             4
                                                                                                                                                                                                                        *P-FNM-POC/4*
                                                                                        PART III - SCHEDULE OF TRANSACTIONS IN CALL OPTIONS
                                                                       A.       BEGINNING HOLDINGS: At the close of trading on April 16 2001, the following call options on Fannie Mae common stock were owned.
                                                                                                                                                                                                                        Insert an “E”
                                                                         Date of Purchase                Number of                  Expiration Month and                     Purchase Price      Total Amount Paid       if Exercised       Exercise Date
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 72 of 156




                                                                       (List Chronologically)            Contracts                   Year & Strike Price                      Per Contract    (excluding commissions,     or an “X” if    (Month/Day/Year)
                                                                         (Month/Day/Year)                                        of Options (i.e. 05/07 $40)                                      taxes, and fees)          Expired
                                                                            /           /                                        /                         .                       .                             .                          /           /
                                                                            /           /                                        /                         .                       .                             .                          /           /
                                                                       B.        PURCHASES: I made the following purchases of call option contracts between April 17, 2001 and December 22, 2004, inclusive (Must be
                                                                                 documented).
                                                                                                                                                                                                                        Insert an “E”
                                                                         Date of Purchase                Number of                  Expiration Month and                     Purchase Price      Total Amount Paid       if Exercised       Exercise Date
                                                                       (List Chronologically)            Contracts                   Year & Strike Price                      Per Contract    (excluding commissions,     or an “X” if    (Month/Day/Year)
                                                                         (Month/Day/Year)                                        of Options (i.e. 05/07 $40)                                      taxes, and fees)          Expired
                                                                            /           /                                        /                         .                       .                             .                          /           /
                                                                            /           /                                        /                         .                       .                             .                          /           /
                                                                            /           /                                        /                         .                       .                             .                          /           /
                                                                       C.        SALES: I made the following sales of the above call option contracts that were purchased between April 17, 2001 and December 22, 2004,
                                                                                 inclusive (include all such sales no matter when they occurred) (Must be documented).
                                                                                     Date of Sale                    Number of                    Expiration Month and                         Sale Price                      Total Amount Received
                                                                                (List Chronologically)               Contracts                     Year & Strike Price                        Per Contract                    (excluding commissions,
                                                                                  (Month/Day/Year)                                             of Options (i.e. 05/07 $40)                                                        taxes, and fees)
                                                                                    /           /                                             /                          .                               .                                      .
                                                                                    /           /                                             /                          .                               .                                      .
                                                                                    /           /                                             /                          .                               .                                      .
                                                                            IF YOU NEED ADDITIONAL SPACE TO LIST YOUR TRANSACTIONS YOU MUST PHOTOCOPY THIS PAGE AND CHECK
                                                                                  THIS BOX    IF YOU DO NOT CHECK THIS BOX THESE ADDITIONAL PAGES WILL NOT BE REVIEWED
                                                                                                                                                                                                                   5
                                                                                                                                                                                                                               *P-FNM-POC/5*
                                                                                            PART IV - SCHEDULE OF TRANSACTIONS IN PUT OPTIONS
                                                                       A.       BEGINNING HOLDINGS: At the close of trading on April 16, 2001, the following put options written on Fannie Mae common stock were open.
                                                                            Number of                       Expiration Month and                       Sale Price Per             Total Net Amount Received     Insert an “A” if           Assign Date
                                                                            Contracts                        Year & Strike Price                         Contract                  (excluding commissions,    Assigned or an “X”         (Month/Day/Year)
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 73 of 156




                                                                                                         of Options (i.e. 05/07 $40)                                                    taxes, and fees)          if Expired
                                                                                                         /                            .                         .                                   .                                          /        /
                                                                                                         /                            .                         .                                   .                                          /        /
                                                                       B.        SALES (WRITING) OF PUT OPTIONS: I wrote (sold) put option contracts between April 17, 2001 and December 22, 2004, inclusive, as follows
                                                                                 (Must be documented).
                                                                                                                                                                                                                               Insert an “A”
                                                                       Date of Writing (Sale)            Number of                   Expiration Month and                     Sale Price Per       Total Net Amount Received    if Assigned          Assign Date
                                                                       (List Chronologically)            Contracts                    Year & Strike Price                       Contract            (excluding commissions,     or an “X” if       (Month/Day/Year)
                                                                         (Month/Day/Year)                                         of Options (i.e. 05/07 $40)                                            taxes, and fees)          Expired
                                                                            /           /                                         /                         .                       .                                  .                            /          /
                                                                            /           /                                         /                         .                       .                                  .                            /          /
                                                                            /           /                                         /                         .                       .                                  .                            /          /
                                                                       C.        COVERING TRANSACTIONS (REPURCHASES): I made the following repurchases of the above put option contracts that I wrote (sold) between
                                                                                 April 17, 2001 and December 22, 2004, inclusive (include all repurchases no matter when they occurred) (Must be documented).
                                                                                 Date of Repurchase                  Number of                     Expiration Month and                              Price Paid                     Total Net Aggregate Cost
                                                                                (List Chronologically)               Contracts                      Year & Strike Price                             Per Contract                    (excluding commissions,
                                                                                  (Month/Day/Year)                                              of Options (i.e. 05/07 $40)                                                              taxes, and fees)
                                                                                    /           /                                              /                          .                                    .                                        .
                                                                                    /           /                                              /                          .                                    .                                        .
                                                                                    /           /                                              /                          .                                    .                                        .
                                                                            IF YOU NEED ADDITIONAL SPACE TO LIST YOUR TRANSACTIONS YOU MUST PHOTOCOPY THIS PAGE AND CHECK
                                                                                  THIS BOX    IF YOU DO NOT CHECK THIS BOX THESE ADDITIONAL PAGES WILL NOT BE REVIEWED
                 Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 74 of 156

                                                                 6                         *P-FNM-POC/6*

            PART V - SUBMISSION TO JURISDICTION OF COURT AND ACKNOWLEDGMENTS

          I (We) submit this Proof of Claim under the terms of the Stipulation described in the Notice. I (We) also submit to the
jurisdiction of the United States District Court for the District of Columbia with respect to my (our) claim as a Settlement Class
Member and for purposes of enforcing the releases set forth herein. I (We) further acknowledge that I (we) will be bound by
and subject to the terms of the Final Order and Judgment that may be entered in the Action. I (We) agree to furnish additional
information to the Claims Administrator to support this claim if requested to do so. I (We) have not submitted any other claim
covering the same purchases, acquisitions or sales or holdings of Fannie Mae securities during the relevant period and know of
no other Person having done so on my (our) behalf.


                                     PART VI - RELEASES AND CERTIFICATION

1.      With respect to the Settlement, I (We) hereby acknowledge full and complete satisfaction of, and do hereby
        fully, finally and forever settle, release and discharge from the Settled Class Claims each and all of the Released Parties
        as those terms and terms related thereto are defined in the accompanying Notice.

2.      Each release shall be of no force or effect unless and until the Court approves the respective Stipulation and the Effective
        Date (as defined in the applicable Stipulation) has occurred.

3.      I (We) hereby warrant and represent that I (we) have not assigned or transferred or purported to assign or transfer,
        voluntarily or involuntarily, any matter released pursuant to these releases or any other part or portion thereof.

4.      I (We) hereby warrant and represent that I (we) have included information about all of my (our) purchases,
        and sales in the Fannie Mae securities requested above and that occurred during the relevant
        time periods and the number of securities held by me (us) at the relevant time periods.

5.      I (We) hereby warrant and represent that I (we) am (are) not excluded from the Class as defined herein and in
        the Notice.



         I (We) declare under penalty of perjury under the laws of the United States of America that the foregoing information sup-
plied by the undersigned is true and correct.

Executed this _____ day of _________________________ in ____________________________________________________
___________.
		               		           (Month) (Year)				                    (City, State, Country)


__________________________________________________ 		                      ________________________________
Signature of Claimant 							                                              Date

__________________________________________________
Print name of Claimant here

__________________________________________________ 		 ________________________________
Signature of Joint Claimant, if any 						                  Date

__________________________________________________
Print name of Joint Claimant here
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 75 of 156


                                 REMINDER CHECKLIST

		




		   1.      Please sign the Proof of Claim and Release.

		   2.      Remember to attach only copies of supporting documentation.

		 3.        Do not send original stock certificates or documentation. These items cannot be
			          returned to you by the Claims Administrator.

		   4.      Keep a copy of the completed Proof of Claim and documentation for your records.

		 5.        The Claims Administrator will acknowledge receipt of your Proof of Claim Form by
			          regular or electronic mail, within 60 days. Your claim is not deemed filed until you
			          receive an acknowledgment postcard or e-mail. If you do not receive an
			          acknowledgment postcard or e-mail within 60 days, please call the Claims
			          Administrator toll free at (800) 961-2373.

		   6.      If you move, please send the Claims Administrator your new address.


		   7.      Do not use highlighter on the Claim Form or supporting documentation.


          THIS PROOF OF CLAIM MUST BE POSTMARKED NO LATER THAN
                _____________________ AND MUST BE MAILED TO:


                         In re Fannie Mae Securities Litigation
                            c/o The Garden City Group, Inc.
                                     P.O. Box 9987
                                Dublin, Ohio 43017-5987
                                    (800) 961-2373
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 76 of 156




                    EXHIBIT

                               B
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 77 of 156




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA

In re Federal National Mortgage                )
Association Securities, Derivative, and        )   MDL No. 1668
“ERISA” Litigation                             )

                                               )
In Re Fannie Mae Securities Litigation         )   Consolidated Civil Action No.: 1:04-CV-01639
                                               )   Judge Richard J. Leon
                                               )

                 [PROPOSED] JUDGMENT AND ORDER OF DISMISSAL

        This matter came before the Court for hearing pursuant to this Court’s Order Granting

Preliminary Approval of Settlement, and Providing for Notice dated _______, 2013

(“Preliminary Approval Order”), on the application of the Settlings Parties for approval of the

settlement (“Settlement”) set forth in the Stipulation of Settlement dated May 7, 2013

(“Stipulation”), and, following a hearing on ______________, 2013 before this Court to consider

the applications of the Settling Parties.    The Court having considered all papers filed and

proceedings held herein, and having received declarations attesting to the mailing of the Notice

and the publication of the Summary Notice in accordance with the Preliminary Approval Order,

and good cause appearing therefore,

        IT IS HEREBY ADJUDGED, DECREED AND ORDERED:

        1.      This Judgment incorporates by reference the definitions in the Stipulation, and all

terms used herein shall have the same meaning as set forth in the Stipulation unless set forth

differently herein. The terms of the Stipulation are fully incorporated in this Judgment as if set

forth fully herein.

        2.      The Court has jurisdiction over the subject matter of the Consolidated Action and

all parties to the Consolidated Action, including all Settlement Class Members.
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 78 of 156




       3.      The Court finds that due and adequate notice was given in 2008 to potential class

members of their right to opt out of the Class. The Court further finds that because all potential

class members previously received Court-approved notice over several months in 2008 and were

previously afforded the opportunity to opt out of the Class, the parties need not provide potential

class members another opportunity to opt out of the Class.

       4.      The Court finds that due and adequate notice was given of the Settlement, the

Plan of Allocation of the Settlement proceeds, and the Fee and Expense Application, as directed

by this Court’s Preliminary Approval Order, and that the forms and methods for providing such

notice to Settlement Class Members:

               a. constituted the best notice practicable under the circumstances, including

                   individual notice to all Settlement Class Members who could be identified

                   through reasonable effort;

               b. was reasonably calculated, under the circumstances, to apprise Settlement

                   Class Members of: (i) their right to object to any aspect of the proposed

                   Settlement, including the terms of the Stipulation and the Plan of Allocation;

                   (ii) their right to appear at the Settlement Fairness Hearing, either on their own

                   or through counsel hired at their own expense, if they were not excluded from

                   the Settlement Class; (iii) their right to opt back into the Settlement Class if

                   they had previously elected to opt out; and (iv) the binding effect of the

                   proceedings, rulings, orders and judgment in this Consolidated Action,

                   whether favorable or unfavorable, on all persons who are not excluded from

                   the Settlement Class;




                                                 2
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 79 of 156




               c. was reasonable and constituted due, adequate, and sufficient notice to all

                  persons entitled to be provided with notice; and

               d. fully satisfied all the applicable requirements of Fed. R. Civ. P. 23, due

                  process, and all other applicable laws.

       5.      The Settlement Class excludes those persons who timely and validly filed

requests for exclusion from the Class pursuant to Court-approved notice sent to class members in

2008. A list of such persons who filed timely, completed and valid requests for exclusion from

the Class is attached hereto as Exhibit 1. These persons who previously opted out have had the

opportunity to opt back into the Settlement. Persons who filed timely, completed and valid

requests for exclusion from the Class and who have not availed themselves of the opportunity to

opt back into the Settlement are not bound by this Judgment or the terms of the Stipulation, and

may pursue their own individual remedies against Settling Defendants, the Individuals and the

other Released Parties. Such Persons are not entitled to any rights or benefits provided to

Settlement Class Members by the terms of the Stipulation.

       6.      Pursuant to Fed. R. Civ. P. 23(e), this Court hereby approves the Settlement set

forth in the Stipulation and finds that the Settlement is, in all respects, fair, reasonable, and

adequate to, and is in the best interests of, Lead Plaintiffs and all Settlement Class Members

based on, among other things: the Settlement resulted from arm’s length negotiations between

the Settling Parties and/or their counsel; the amount of the recovery for Settlement Class

Members being within the range of reasonableness given the strengths and weaknesses of the

claims and defenses thereto and the risks of non-recovery and/or recovery of a lesser amount

than is represented through the Settlement by continued litigation through all pretrial, trial and

appellate procedures; the recommendation of the Settling Parties, in particular experienced



                                                3
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 80 of 156




Plaintiffs’ Counsel, and the absence of any objection not overruled by the Court from any

Settlement Class Member to the Settlement. Accordingly, the Settlement embodied in the

Stipulation is hereby approved in all respects and shall be consummated in accordance with its

terms and conditions. The Settling Parties are hereby directed to perform the terms of the

Stipulation, and the Clerk of the Court is directed to enter and docket this Judgment in this

Consolidated Action.

       7.      This Court hereby approves the Plan of Allocation as set forth in the Notice as fair

and equitable, and overrules all objections to the Plan of Allocation, if any, in their entirety. The

Court directs Lead Counsel to proceed with the processing of Proofs of Claim and the

administration of the Settlement pursuant to the terms of the Plan of Allocation and, upon

completion of the claims processing procedure, to present to this Court a proposed final

distribution order for the distribution of the Net Settlement Fund to eligible Settlement Class

Members, as provided in the Stipulation and Plan of Allocation.

       8.      This Court, having considered the Fee and Expense Application, hereby awards

Plaintiffs’ Counsel attorneys’ fees equal to ____% of the Settlement Fund (including interest

accrued thereon) after other expenses have been deducted, and reimbursement of their out-of-

pocket expenses in the amount of $___________________, with interest to accrue thereon at the

same rate and for the same periods as has accrued by the Settlement Fund from the date of this

Judgment to the date of actual payment of said attorneys’ fees and expenses to Plaintiffs’

Counsel as provided in the Stipulation. The Court finds the amount of attorneys’ fees awarded

herein are fair and reasonable based on: (a) the work performed and the costs incurred by

Plaintiffs’ Counsel; (b) the complexity of the case; (c) the risks undertaken by Plaintiffs’ Counsel

and the contingent nature of their employment; (d) the quality of the work performed by



                                                 4
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 81 of 156




Plaintiffs’ Counsel in this Consolidated Action and their standing and experience in prosecuting

similar class action securities litigation; (e) awards to successful plaintiffs’ counsel in other,

similar litigation; (f) the benefits achieved for Settlement Class Members through the Settlement;

and (g) the absence of any objections from Settlement Class Members not previously overruled

by the Court to the Fee and Expense Application. The Court also finds that the Fee and Expense

Application is proper as the expenses incurred by Plaintiffs’ Counsel, including the costs of

experts, were reasonable and necessary in the prosecution of the Consolidated Action on behalf

of Settlement Class Members. The attorneys’ fees awarded and expenses reimbursed above shall

be paid to Lead Counsel as provided in the Stipulation, for allocation to Plaintiffs’ Counsel.

       9.      Lead Counsel may apply, from time to time, for any fees and/or expenses incurred

by them solely in connection with the administration of the Settlement and distribution of the Net

Settlement Fund to Settlement Class Members.

       10.     All payments of attorneys’ fees and reimbursement of expenses to Plaintiffs’

Counsel in the Consolidated Action shall be made from the Settlement Fund, and the Released

Parties shall have no liability or responsibility for the payment of any of Lead Plaintiffs’ or

Plaintiffs’ Counsel’s attorneys’ fees or expenses except as expressly provided in the Stipulation

with respect to the cost of Notice, administration of the Settlement, and payment of Lead

Plaintiffs’ mediation expenses.

       11.     Pursuant to Fed. R. Civ. P. 23(c)(3), all Class Members who have not filed timely,

completed and valid requests for exclusion from the Class are thus Settlement Class Members

who are bound by this Judgment and by the terms of the Stipulation.

       12.     The Released Parties are hereby released and forever discharged from any and all

of the Settled Class Claims and Parties’ Released Claims. All Settlement Class Members are



                                                 5
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 82 of 156




hereby forever barred and enjoined from asserting, instituting or prosecuting, directly or

indirectly, any of the Settled Class Claims in any court or other forum against any of the

Released Parties, regardless of whether or not such Settlement Class Member executes a Proof of

Claim form. All Settlement Class Members are bound by paragraph 3 of the Stipulation and are

hereby forever barred any enjoined from taking any action in violation of that provision.

       13.     In accordance with 15 U.S.C. § 78u-4(f)(7)(A), any and all claims for contribution

arising out of the claims or allegations of the Consolidated Action or any of the Settled Class

Claims or Parties’ Released Claims (a) by any person or entity against any of the Released

Parties, and (b) by any of the Released Parties against any other person or entity, are hereby

permanently barred, extinguished, discharged, satisfied, and unenforceable (“Reform Act Bar

Order”).

       14.     If appellate review of the Reform Act Bar Order is sought and on such review the

Reform Act Bar Order is vacated, modified or reversed, then the Settling Defendants shall have

the right to terminate the Settlement.

       15.     The Court hereby dismisses with prejudice the Consolidated Action and all of the

Settled Class Claims and Parties’ Released Claims against each and all Released Parties and

Lead Plaintiffs and without costs to any of the Settling Parties as against the others.

       16.     Neither the Stipulation nor the Settlement contained therein, nor any act

performed or document executed pursuant to or in furtherance of the Stipulation or the

Settlement: (a) is or may be deemed or may be used as an admission of, or evidence of, the

validity of any of the Settled Class Claims, or of any wrongdoing or liability of the Settling

Defendants or Individuals; or (b) is or may be deemed to be or may be used as an admission of,

or evidence of, any fault or omission of any of the Settling Defendants or Individuals in any



                                                  6
      Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 83 of 156




civil, criminal, or administrative proceeding in any court, administrative agency, or other

tribunal; or (c) is admissible in any proceeding except an action to enforce or interpret the terms

of the Stipulation, the Settlement contained therein, and any other documents executed in

connection with the performance of the agreement embodied therein. Released Parties may file

the Stipulation and/or this Judgment and Order in any action that may be brought against them in

order to support a defense or counterclaim based on the principles of res judicata, collateral

estoppel, full faith and credit, release, good faith settlement, judgment bar or reduction, or any

other theory of claim preclusion or issue preclusion or similar defense or counterclaim.

       17.     The Court finds that during the course of the Consolidated Action, the Settling

Parties and their respective counsel at all times complied with the requirements of Fed. R. Civ. P.

11.

       18.     Without affecting the finality of this Judgment in any way, this Court hereby

reserves and retains continuing jurisdiction over: (a) implementation and enforcement of any

award or distribution from the Settlement Fund or Net Settlement Fund; (b) disposition of the

Settlement Fund or Net Settlement Fund; (c) determining application for payment of attorneys’

fees and/or expenses incurred by Plaintiffs’ Counsel in connection with administration and

distribution of the Net Settlement Fund; (d) payment of taxes by the Settlement Fund; (e) all

Parties to the Stipulation for the purposes of construing, enforcing, and administering the

Stipulation; and (f) any other matters related to finalizing the Settlement and distribution of the

proceeds of the Settlement.

       19.     Neither appellate review nor modification of the Plan of Allocation set forth in the

Notice, nor any action in regard to the Fee and Expense Application, shall affect the finality of




                                                7
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 84 of 156




any other portion of this Judgment, nor delay the Effective Date of the Stipulation, and each shall

be considered separate for the purposes of appellate review of this Judgment.

       20.     In the event that the Settlement does not become Final in accordance with the

terms of the Stipulation or the Effective Date does not occur, or in the event that the Settlement

Fund, or any portion thereof, is returned to the Settling Defendants, then this Judgment shall be

rendered null and void to the extent provided by and in accordance with the Stipulation and shall

be vacated and, in such event, all orders entered and releases delivered in connection herewith

shall be null and void to the extent provided by and in accordance with the Stipulation.

       21.     This Judgment and Order is a Judgment in the Consolidated Action as to all

claims asserted. This Court finds, for purposes of Fed. R. Civ. P. 54(b), that there is no just

reason for delay and expressly directs entry of judgment as set forth herein.

Dated: ___________________, 2013



                                                     ____________________________________
                                                     HONORABLE RICHARD J. LEON
                                                     UNITED STATES DISTRICT JUDGE




                                                 8
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 85 of 156




                    EXHIBIT

                               C
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 86 of 156




                                    ESCROW AGREEMENT

       This Escrow Agreement is made this 7th day of May 2013, among Markovits, Stock &
DeMarco, LLC, Lead Counsel for the Class (“Lead Counsel”), O’Melveny & Myers, LLP,
Counsel for Fannie Mae, Duane Morris, Counsel for the Federal Housing Finance Agency
(“FHFA”) as Conservator for Fannie Mae, Gibson, Dunn & Crutcher, LLP, Counsel for KPMG
LLP (“KPMG”) (collectively O’Melveny & Myers, LLP, Duane Morris and Gibson, Dunn &
Crutcher, LLP are “Defense Counsel”) and KeyBank National Association (“Escrow Agent”).

                                               Recitals

        A.     This Escrow Agreement governs the deposit, investment and disbursement of the
settlement funds that, pursuant to the Stipulation dated May 7, 2013 (the “Stipulation”) attached
as Exhibit 1 to Lead Plaintiffs’ Unopposed Motion for Preliminary Approval of Class Action
Settlement, Approving Form and Manner of Notice, Setting Date for Hearing on Final Approval
of Settlement, and Staying Non-Settlement Related Proceedings, entered into between and
among the Lead Plaintiffs Ohio Public Employees Retirement System and State Teachers
Retirement System of Ohio for themselves and on behalf of all persons who are members of the
Class as defined in the Court’s Order of January 7, 2008 (Dkt. #568), Fannie Mae, the Federal
Housing Finance Agency as Conservator for Fannie Mae, KPMG LLP (collectively Fannie Mae
and KPMG are referred to as “Settling Defendants”) and others, will be paid to settle the
securities class action captioned In re Federal National Mortgage Association Securities,
Derivative, and “ERISA” Litigation MDL No. 1668 and Consolidated Civil Action No: 1:04-
CV-01639 (the “Securities Action”), pending in United States District Court for the District of
Columbia (the “Court”).

        B.      Pursuant to the terms of the Stipulation, Settling Defendants have agreed to pay or
cause to be paid the total amount of One Hundred Fifty Three Million Dollars ($153,000,000) in cash
(the “Settlement Amount”) in settlement of the claims brought against Settling Defendants in the
Securities Action.

        C.      The Settlement Amount, together with any interest accrued thereon, is to be
deposited into escrow, invested and used to satisfy payments to Authorized Claimants, payments for
attorneys’ fees and expenses, payments for tax liabilities, and other costs pursuant to the terms of the
Stipulation.

       D.      Unless otherwise defined herein, all capitalized terms shall have the meaning
ascribed to them in the Stipulation filed in the class action.

                                             Agreement

        1.     Appointment of Escrow Agent. The Escrow Agent is hereby appointed to
receive, invest and disburse the Settlement Amount upon the terms and conditions provided in
this Escrow Agreement, the Stipulation and any other exhibits or schedules later annexed hereto
and made a part hereof.
                                                   1
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 87 of 156




        2.      The Escrow Account. The Escrow Agent shall establish and maintain an escrow
investment account designated as the “In re Fannie Mae Securities Litigation –Settlement Fund”
(the “Escrow Account”). Pursuant to the Stipulation, Settling Defendants shall cause the
Settlement Amount to be deposited into the Escrow Account within ten (10) business days of the
entry of Preliminary Approval of the Settlement by the Court. Escrow Agent shall receive the
Settlement Amount into the Escrow Account; the Settlement Amount and all interest accrued
thereon shall be referred to herein as the “Settlement Fund.” The Settlement Fund shall be held
and invested on the terms and subject to the limitations set forth herein, and shall be released by
Escrow Agent in accordance with the terms and conditions hereinafter set forth and set forth in the
Stipulation and in orders of the Court approving the disbursement of the Settlement Fund.

        3.     Investment of Settlement Fund. Escrow Agent shall invest the Settlement Fund
exclusively in United States Treasury Bills with a maturity date no greater than 180 days, and
collect and reinvest all interest accrued thereon, except that any residual cash balances of less
than $100,000 may be invested in money market mutual funds comprised exclusively of
investments secured by the full faith and credit of the United States of America. All investments
will be executed through KeyBank’s Investment Department on a best effort basis with no
guarantee of investment yield or return.

       4.      Escrow Funds Subject to Jurisdiction of the Court. The Settlement Fund shall
remain subject to the jurisdiction of the Court until such time as the Fund shall be distributed,
pursuant to the Stipulation and on further order(s) of the Court.

        5.       Tax Treatment & Report. The Settlement Fund shall be treated at all times as a
“Qualified Settlement Fund” within the meaning of Treasury Regulation §1.468B-1. Lead Counsel
and, as required by law, Settling Defendants, shall jointly and timely make such elections as
necessary or advisable to fulfill the requirements of such Treasury Regulation, including the
“relation-back election” under Treas. Reg. § 1.468B-1(j)(2) if necessary to the earliest permitted date.
For purposes of §468B of the Internal Revenue Code of 1986, as amended, and the regulations
promulgated thereunder, the “administrator” of the Settlement Fund shall be Lead Counsel. Lead
Counsel shall timely and properly prepare, deliver to all necessary parties for signature, and file all
necessary documentation for any elections required under Treas. Reg. §1.468B-1. Escrow Agent
shall timely and properly prepare and file any informational and other tax returns necessary or
advisable with respect to the Settlement Funds at the direction of Lead Counsel, and the distributions
and payments therefrom including without limitation the returns described in Treas. Reg. §1.468B-
2(k), and to the extent applicable Treas. Reg. §1.468B-2(1).

        6.      Tax Payments of Settlement Fund. All Taxes with respect to the Settlement Fund,
as more fully described in the Stipulation, shall be treated as and considered to be a cost of
administration of the Settlement Fund and the Escrow Agent shall timely pay such Taxes out of the
Settlement Fund, as appropriate, without prior order of the Court, as directed by Lead Counsel.
Escrow Agent shall be responsible for the timely and proper preparation and delivery of any
necessary documentation for signature by all necessary parties, and the timely filing of all tax returns
and other tax reports required by law. The Escrow Agent may engage an accounting firm or tax
preparer to assist in the preparation of any tax reports or the calculation of any tax payments due
as set forth in Sections 5 and 6, and the expense of such assistance shall be paid from the
Settlement Fund. The Settlement Fund shall indemnify and hold Settling Defendants harmless
                                                  2
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 88 of 156




for any taxes that may be deemed to be payable by Settling Defendants by reason of the income
earned on the Settlement Fund, and Escrow Agent shall establish such reserves as are necessary
to cover the tax liabilities of the Settlement Fund and the indemnification obligations imposed by
this paragraph. If the Settlement Fund is returned to Settling Defendants pursuant to the terms of
the Stipulation, Settling Defendants shall provide Escrow Agent with properly completed Forms
W-9.

       7.      Disbursement Instructions

              (a)     Lead Counsel may, without further order of the Court or authorization by
Defense Counsel, instruct Escrow Agent to disburse the funds necessary to pay all reasonable
and necessary costs and expenses of notice of the Settlement and settlement administration, as
well as Lead Counsel’s share of costs previously incurred in connection with mediation not to
exceed two million five hundred thousand dollars ($2,500,000).              This disbursement
instruction(s) must be authorized by W.B. Markovits or Joseph T. Deters for Lead Counsel.

             (b)     Disbursements other than those described in paragraph 7(a), including
disbursements for distribution of Class Settlement Funds, must be authorized by an order of the
Court, or the joint written consent of W.B. Markovits or Joseph T. Deters for Lead Counsel,
Jeffrey W. Kilduff or Robert M. Stern for Fannie Mae, Joseph J. Aronica for FHFA, and F.
Joseph Warin or Andrew S. Tulumello for KPMG.

              (c)      In the event funds transfer instructions are given (other than in writing at
the time of execution of this Agreement), whether in writing, by facsimile, e-mail, telecopier or
otherwise, Escrow Agent will seek confirmation of such instructions by telephone call back to
the person or persons designated in subparagraphs (a) and (b) above only if it is reasonably
necessary, and Escrow Agent may rely upon the confirmations of anyone purporting to be the
person or persons so designated. It will not be reasonably necessary to seek confirmation if
Escrow Agent receives written letters authorizing a disbursement from each of the law firms
required in subparagraphs (a) and (b), as applicable, on their letterhead and signed by one of the
persons designated in subparagraphs (a) and (b). To assure accuracy of the instructions it
receives, Escrow Agent may record such call backs. If Escrow Agent is unable to verify the
instructions, or is not satisfied with the verification it receives, it shall not execute the
instruction until all issues have been resolved. The persons and telephone numbers for call
backs may be validly changed only in a writing that (i) is signed by the party changing its notice
designations, and (ii) is received and acknowledged by Escrow Agent. Lead Counsel and
Defense Counsel agree to notify Escrow Agent of any errors, delays or other problems within
30 days after receiving notification that a transaction has been executed. If it is determined that
the transaction was delayed or erroneously executed as a result of Escrow Agent’s error, Escrow
Agent’s sole obligation is to pay or refund the amount of such error and any amounts as may be
required by applicable law. Any claim for interest payable will be at the then-published rate for
United States Treasury Bills having a maturity of 91 days.

        8.      Termination of Settlement. If the Stipulation terminates in accordance with its
terms, Lead Counsel and Defense Counsel shall jointly notify Escrow Agent of the termination
of the Stipulation. Upon such notification, the balance of the Settlement Fund, together with any
                                                 3
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 89 of 156




interest earned thereon, less any costs and expenses of notice of the Settlement and settlement
administration, as well as Lead Counsel’s share of costs previously incurred in connection with
mediation paid and actually incurred in accordance with the terms of the Stipulation but not yet
paid, and any unpaid Taxes due, as determined by Lead Counsel and Defense Counsel, shall be
returned to Settling Defendants in accordance with instruction from Defense Counsel.

        9.     Fees. Escrow Agent agrees to waive its fee. Escrow Agent shall be reimbursed
for all out-of-pocket expenses. All expenses of Escrow Agent shall be paid solely from the
Settlement Fund. The Escrow Agent may pay itself such expenses from the Settlement Fund
only after such expenses have been approved for payment by Lead Counsel. If Escrow Agent is
asked to provide additional services, such as the preparation and administration of payments
issued to Authorized Claimants, a separate agreement will be entered into.

        10.     Duties, Liabilities and Rights of Escrow Agent. This Escrow Agreement sets
forth all of the obligations of Escrow Agent, and no additional obligations shall be implied from
the terms of this Escrow Agreement or any other agreement, instrument or document.

                (a)    Escrow Agent may act in reliance upon any instructions, notice,
certification, demand, consent, authorization, receipt, power of attorney or other writing
delivered to it by Lead Counsel or Defense Counsel, as provided herein, without being required
to determine the authenticity or validity thereof or the correctness of any fact stated therein, the
propriety or validity of the service thereof, or the jurisdiction of the court issuing any judgment
or order. Escrow Agent may act in reliance upon any signature which is reasonably believed by
it to be genuine, and may assume that such person has been properly authorized to do so.

               (b)     Escrow Agent may consult with legal counsel of its selection in the event
of any dispute or question as to the meaning or construction of any of the provisions hereof or its
duties hereunder, and it shall incur no liability and shall be fully protected to the extent Escrow
Agent acts in accordance with the reasonable opinion and instructions of counsel. Escrow Agent
shall have the right to reimburse itself for reasonable legal fees and reasonable and necessary
disbursements and expenses actually incurred from the Escrow Account only (i) upon approval
by Lead Counsel and Defense Counsel or (ii) pursuant to an order of the Court.

               (c)   The Escrow Agent, or any of its affiliates, is authorized to manage, advise,
or service any money market mutual funds in which any portion of the Settlement Fund may be
invested.

              (d)    Escrow Agent is authorized to hold any treasuries held hereunder in its
Federal Reserve account.

               (e)      Escrow Agent shall not bear any risks related to the investment of the
Settlement Fund in accordance with the provisions of paragraph 3 of this Escrow Agreement,
except for liability, damage or losses arising out of its negligence or misconduct as adjudicated
by a court of competent jurisdiction.

               (f)     Upon distribution of all of the funds in the Escrow Account pursuant to
the terms of this Escrow Agreement and any orders of the Court, Escrow Agent shall be relieved
                                                4
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 90 of 156




of any and all further obligations and released from any and all liability under this Escrow
Agreement, except as otherwise specifically set forth herein.

        11.   Non-Assignability by Escrow Agent. Escrow Agent’s rights, duties and
obligations hereunder may not be assigned or assumed without the written consent of Lead
Counsel and Defense Counsel.

        12.    Resignation of Escrow Agent. Escrow Agent may, in its sole discretion, resign
and terminate its position hereunder at any time following 120 days prior written notice to the
parties to the Escrow Agreement herein. On the effective date of such resignation, Escrow
Agent shall deliver this Escrow Agreement together with any and all related instruments or
documents and all funds in the Escrow Account to the successor Escrow Agent, subject to this
Escrow Agreement. If a successor Escrow Agent has not been appointed prior to the expiration
of 120 days following the date of the notice of such resignation, then Escrow Agent may petition
the Court for the appointment of a successor Escrow Agent, or other appropriate relief. Any
such resulting appointment shall be binding upon all of the parties to this Escrow Agreement.

       13.     Notices. Notice to the parties hereto shall be in writing and delivered by hand-
delivery, facsimile, electronic mail or overnight courier service, addressed as follows:

       If to Lead Counsel:      W. B. Markovits, Esq.
                                Joseph T. Deters, Esq.
                                Markovits, Stock & DeMarco, LLP
                                119 East Court Street
                                Suite 530
                                Cincinnati, OH 45202
                                (513) 651-3700
                                wbmarkovits@msdlegal.com




                                               5
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 91 of 156




       If to Defense Counsel   Jeffrey W. Kilduff, Esq.
       for Fannie Mae :        Robert M. Stern, Esq.
                               O’Melveny & Myers LLP
                               1625 Eye Street, N.W.
                               Washington, D.C. 20006
                               (202) 383-5300
                               jkilduff@omm.com


                               and
       If to Counsel for
       FHFA:                   Joseph J. Aronica, Esq.
                               Duane Morris
                               595 9th Street, NW
                               Suite 1000
                               Washington, D.C. 20004
                               (202) 776-7824
                               jjaronica@duanemorris.com


                               and

       If to Defense Counsel   F. Joseph Warin, Esq.
       for KPMG:               Andrew S. Tulumello, Esq.
                               Gibson, Dunn & Crutcher, LLP
                               1050 Connecticut Avenue, N.W.
                               Washington, D.C. 20036
                               (202) 955-8500
                               fwarin@gibsondunn.com


                               and

       If to Escrow Agent:     KeyBank National Association
                               127 Public Square
                               Corporate Escrow department, 7th Floor
                               Cleveland, Ohio 44114
                               Attn: Joyce A. Apostolec, Vice President
                               (216) 689-3855


       15.     Patriot Act Warranties. Lead Counsel hereby acknowledges receiving from
Defense Counsel the representations and warranties, substantially similar in form and in
substance to the following, concerning the Settlement Funds that Defense Counsel will deliver
for deposit with the Escrow Agent:

                                             6
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 92 of 156




                (a)   Settling Defendants hereby acknowledge that they seek to comply with all
applicable laws concerning money laundering and related activities. In furtherance of those
efforts, Settling Defendants hereby represent, warrant, and agree that, to the best of their
knowledge:

                        (i)   none of the cash or property that it has paid, will pay or will
contribute to the Settlement Fund has been or shall be derived from, or related to, an activity that
is deemed criminal under United States law; and

                     (ii)    no contribution or payment by it to the Escrow Account shall cause
Escrow Agent to be in violation of the United States Bank Secrecy Act, the United States Money
Laundering Control Act of 1986 or the United States International Money Laundering
Abatement and Anti-Terrorist Financing Act of 2001.

                (b)    Settling Defendants agree to promptly notify Escrow Agent if any of the
foregoing representations cease to be true and accurate. Settling Defendants agree to provide to
Escrow Agent any additional information regarding itself or any insurers contributing to the
Settlement Fund which is reasonably necessary or appropriate for the Escrow Agent to ensure its
compliance with all applicable laws concerning money laundering and similar activities, subject
to any confidentiality obligations (recognized or permitted by law) that may restrict or prohibit
Settling Defendants from providing such information. Escrow Agent agrees to keep any
information provided by Settling Defendants pursuant to this paragraph confidential, and will not
disclose such information to any other party except to the extent necessary or appropriate to
ensure compliance with all applicable laws concerning money laundering and similar activities;
provided, however, that Escrow Agent shall give notice to Defense Counsel as soon as
practicable in the event it expects that such a disclosure will become necessary.

               (c)    Settling Defendants agree that if at any time Escrow Agent determines that
any of the foregoing representations are incorrect with respect to it, or if otherwise required by
applicable law or regulation related to money laundering and similar activities, Escrow Agent
may undertake whatever actions are reasonably appropriate to ensure compliance with applicable
law or regulation.

        16.     Entire Agreement. This Escrow Agreement, including all Schedules and Exhibits
hereto, constitutes the entire agreement and understanding of the parties hereto. Any
modification of this Escrow Agreement or any additional obligations assumed by any party
hereto shall be binding only if evidenced by a writing signed by each of the parties hereto. To
the extent this Escrow Agreement conflicts in any way with the Stipulation, the provisions of the
Stipulation shall govern.

        17.     Governing Law. This Escrow Agreement shall be governed by the law of the
State of Ohio in all respects. The parties hereto submit to the jurisdiction of the Court, in
connection with any proceedings commenced regarding this Escrow Agreement, including, but
not limited to, any interpleader proceeding or proceeding Escrow Agent may commence
pursuant to this Escrow Agreement for the appointment of a successor escrow agent, and all
parties hereto submit to the jurisdiction of such Court for the determination of all issues in such

                                                 7
     Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 93 of 156




proceedings, without regard to any principles of conflicts of laws, and irrevocably waive any
objection to venue or inconvenient forum.

       18.     Termination of Escrow Account. The Escrow Account will terminate after all
funds deposited in it, together with all interest earned thereon, are disbursed in accordance with
the provisions of the Stipulation and this Escrow Agreement.

       19.     Miscellaneous Provisions.

                (a)    Counterparts. This Escrow Agreement may be executed in one or more
counterparts, each of which counterparts shall be deemed to be an original and all of which
counterparts, taken together, shall constitute but one and the same Escrow Agreement.

                (b)    Further Cooperation. The parties hereto agree to do such further acts and
things and to execute and deliver such other documents as Escrow Agent may request from time
to time in connection with the administration, maintenance, enforcement or adjudication of this
Escrow Agreement in order (a) to give Escrow Agent confirmation and assurance of Escrow
Agent’s rights, powers, privileges, remedies and interests under this Agreement and applicable
law, (b) to better enable Escrow Agent to exercise any such right, power, privilege or remedy, or
(c) to otherwise effectuate the purpose and the terms and provisions of this Escrow Agreement,
each in such form and substance as may be acceptable to Escrow Agent.

              (c)     Non-Waiver. The failure of any of the parties hereto to enforce any
provision hereof on any occasion shall not be deemed to be a waiver of any preceding or
succeeding breach of such provision or any other provision.

        IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the
date first above written.

KEYBANK NATIONAL ASSOCIATION, as Escrow Agent

By: __________________________________

Title _________________________________


MARKOVITS, STOCK & DEMARCO, LLC, Lead Counsel

By: __________________________________



O’MELVENY & MYERS LLP, Defense Counsel for Fannie Mae

By: __________________________________


                                                8
    Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 94 of 156




DUANE MORRIS, counsel for FHFA as Fannie Mae Conservator


By: _____________________________________



GIBSON, DUNN & CRUTCHER, LLP, Defense Counsel for KPMG LLP


By: __________________________________




                                         9
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 95 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 96 of 156
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                                             ___
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      Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 97 of 156




   proceedings, without regard to any principles
                                                 of conflicts of laws, and irrevocably waiv
   objection to venue or inconvenient forum.                                                e any

          18.    Termination of Escrow Account. The Escr
  funds deposited in it, together with all inter                 ow Account will terminate after all
                                                 est earned thereon, are disbursed in
  the provisions of the Stipulation and this Escr                                     accordance with
                                                  ow Agreement.
          19,       Miscellaneous Provisions.

                  (a)    çfflps. This Escrow Agreement
   counterparts, each of which counterparts                         may be executed in one or more
                                                shall be deemed to he an original and
  counterparts, taken together, shall constitute                                          all of which
                                                 but one and the same Escrow Agreement.
                  (b)    he,,ooerion. The parties hereto agree
  things and to execute and deliver such othe                              to do such further acts and
                                               r documents as Escrow Agent may requ
 to time in connection with the administration,                                         est from time
                                                    maintenance, enforcement or adjudication
 Escrow Agreement in order (a) to give Escr                                                     of this
                                                  ow Agent confirmation and assurance
 Agent’s rights, powers, privileges, remedies                                               of Escrow
                                                  and interests under this Agreement and
 law, (b) to better enable Escrow Agent to                                                  applicable
                                              exercise any such right, power, privilege
 (c) to otherwise effectuate the purpose and the                                        or reme dy, or
                                                     terms and provisions of this Escrow Agre
 each in such form and substance as may be                                                     ement,
                                               acceptable to Escrow Agent.
               (c)     NonWaiver. The failure of any of the
 provision hereof on any occasion shall not                     parties hereto to enforce any
                                               be deemed to be a waiver of any precedin
 succeeding breach of such provision or any othe                                         g or
                                                 r provision.
         IN WITNESS WHEREOF, the parties here
                                              to have executed this Agreement as of
date first above written.                                                           the

KEYBANK NATIONAL ASSOCIATION, as Escr
                                      ow Agent
                /
           /
By
                      c: S;
Title




MARKOVITS, STOCK & DEMARCO, LLC
                                , Lead Counsel
By:




O’MELVENY & MYERS LLP, Defens Counsel
                                      for Fannie Mae
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 98 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 99 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 100 of 156




                    EXHIBIT

                               D
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 101 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 102 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 103 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 104 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 105 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 106 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 107 of 156




            EXHIBIT A
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 108 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 109 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 110 of 156




            EXHIBIT B
           Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 111 of 156

Fannie Mae Securities Litigation
c/o The Garden City Group, Inc.
Notice Administrator
PO Box 9269
Dublin, OH 43017-4669

IMPORTANT PAPERS ENCLOSED

Return Service Requested
              Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 112 of 156
                                                 UNITED STATES DISTRICT COURT
                                                 FOR THE DISTRICT OF COLUMBIA


In re Federal National Mortgage Association
Securities, Derivative, and “ERISA” Litigation         MDL No. 1668


In re Fannie Mae Securities Litigation                 Consolidated Civil Action No. 04-1639 (RJL)

                                             NOTICE OF PENDENCY OF CLASS ACTION

TO:      ALL PERSONS WHO PURCHASED PUBLICLY TRADED COMMON STOCK AND CALL OPTIONS OF FEDERAL
         NATIONAL MORTGAGE ASSOCIATION (“FANNIE MAE”) AND/OR SOLD PUBLICLY TRADED FANNIE MAE PUT
         OPTIONS DURING THE PERIOD FROM APRIL 17, 2001 THROUGH DECEMBER 22, 2004, INCLUSIVE, WHO SUFFERED
         DAMAGES THEREBY.

 PLEASE READ THIS NOTICE CAREFULLY AND IN ITS ENTIRETY. YOUR RIGHTS WILL BE AFFECTED BY A CLASS ACTION
   LAWSUIT PENDING IN THIS COURT UNLESS YOU EXPRESSLY EXCLUDE YOURSELF FROM THE CLASS IN WRITING
                                PURSUANT TO THE INSTRUCTIONS BELOW.

          YOU ARE HEREBY NOTIFIED pursuant to Rule 23 of the Federal Rules of Civil Procedure and an Order of the United States
District Court for the District of Columbia (“the Court”) of the pendency of this consolidated class action lawsuit seeking to pursue
remedies under the federal securities laws (“the Action”).

         This is not a notice of a settlement. This Notice is to advise you of the pendency of a securities class action, the claims
asserted by the Class (defined below in paragraph 1), and your rights in connection with the Action. This Notice is not an expression of
an opinion by the Court as to the merits of any of the claims or defenses asserted by either side in this Action.

         Definition of the Certified Class

1.       On January 7, 2008, the Court entered an order certifying this Action as a class action on behalf of a class defined as follows:

         All purchasers of the publicly traded common stock and call options of Fannie Mae, and sellers of Fannie Mae
         publicly traded put options during the period from April 17, 2001, through December 22, 2004 (the “Class Period”)
         who suffered damages thereby (the “Class”). Excluded from the Class are (i) the Defendants (defined below in
         paragraph 3), (ii) any person who was an officer or director of Fannie Mae or any of its parents or subsidiaries during
         the Class Period, (iii) the members of the immediate family of each of the Individual Defendants (defined below in
         paragraph 3), (iv) any entity in which any Defendant had a controlling interest during the Class Period, (v) any parent
         or subsidiary of Fannie Mae, (vi) any incentive, retirement, stock or other benefit plan that benefited solely the
         Individual Defendants, and (vii) the legal representatives, heirs, predecessors, successors or assigns of any of the
         foregoing excluded persons and entities.

2.       If you purchased publicly traded common stock and/or call options of Fannie Mae, or sold Fannie Mae publicly traded put
options during the Class Period, and suffered damages thereby, you are deemed a member of the Class (a “Class Member”).

3.       This Notice is not being provided to non-U.S. resident purchasers of Fannie Mae common stock and call options, and sellers
of Fannie Mae put options, who bought Fannie Mae common stock and call options or sold Fannie Mae put options on exchanges
located outside the United States and such individuals and entities shall not benefit from any recovery by the Class or be bound by any
judgment for Defendants in this Action.

         Description of the Action

4.       Named parties in the Action:

         a.      The Class is represented by the Court appointed Class Representatives and Lead Plaintiffs, Ohio Public Employees
         Retirement System and State Teachers Retirement System of Ohio (collectively “Lead Plaintiffs”).

         b.       Defendants are Fannie Mae, former Fannie Mae officers Franklin D. Raines, Timothy Howard, and Leanne G.
         Spencer (Raines, Howard, and Spencer are referred to herein collectively as the “Individual Defendants”), and Fannie Mae’s
         former auditor, KPMG LLP (“KPMG”) (Fannie Mae, the Individual Defendants and KPMG are referred to herein collectively as
         the “Defendants”).

5.        Lead Plaintiffs seek to recover damages sustained by members of the Class as a result of claims arising from alleged
violations of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”) and Rule 10b-5 promulgated by the
Securities and Exchange Commission (“SEC”).
              Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 113 of 156
6.       Lead Plaintiffs allege that Defendants inflated the value of Fannie Mae securities by making a series of materially false and
misleading statements and omissions concerning, among other things, Fannie Mae's track record of reporting steady and stable quarter
to quarter earnings growth and Fannie Mae’s compliance with Generally Accepted Accounting Principles (“GAAP”). The Second
Amended Complaint states that on September 22, 2004, Fannie Mae's regulator, the Office of Federal Housing Enterprise Oversight
("OFHEO") publicly announced that as a result of an investigation into Fannie Mae's accounting policies and internal controls, OFHEO
concluded that Fannie Mae and the Individual Defendants had intentionally misapplied GAAP to distort financial results and "smooth"
earnings growth from quarter to quarter; that the SEC confirmed that Fannie Mae's accounting practices did not comply with GAAP and
advised Fannie Mae to restate its financial statements from 2001 to mid-2004; and that on December 22, 2004 (the last day of the
Class Period) Fannie Mae announced that it would restate its financial statements from 2001 to mid-2004 by an estimated $9 billion.
As a result of Defendants’ actions, Lead Plaintiffs allege that the Class has incurred damages.

7.       Defendants deny that they violated the federal securities laws. Defendants have also asserted certain affirmative defenses to
the claims alleged in this case.

         Status of the Litigation

8.     This Action consolidates numerous actions that were first brought in this Court against Fannie Mae and the Individual
Defendants (collectively, the “Fannie Mae Defendants”) on September 23, 2004.

9.      Pursuant to provisions of the Private Securities Litigation Reform Act of 1995 and by Order dated January 13, 2005, the Court
appointed the Ohio Public Employees Retirement System and State Teachers Retirement System of Ohio as the Lead Plaintiffs in the
Action.

10.      On March 4, 2005, Lead Plaintiffs filed a Consolidated Class Action Complaint (the “Complaint”) against the Fannie Mae
Defendants. On May 3, 2005, the Fannie Mae Defendants filed motions to dismiss the Complaint. On February 10, 2006, the Court
denied the Fannie Mae Defendants’ motions to dismiss.

11.      On August 14, 2006, Lead Plaintiffs filed a Second Amended Consolidated Class Action Complaint (“Second Amended
Complaint”) to include two additional defendants: Fannie Mae’s former external auditor, KPMG, and Goldman, Sachs & Co. (“Goldman
Sachs”). On September 28, 2006, KPMG filed its motion to dismiss the Second Amended Complaint. On November 13, 2006,
Goldman Sachs filed its motion to dismiss the Second Amended Complaint. On January 24, 2007, the Court denied KPMG’s motion to
dismiss. On May 8, 2007, the Court granted Goldman Sachs’ motion to dismiss.

12.      On May 17, 2006, Lead Plaintiffs moved to certify a class. After briefing and oral argument, the Court certified the Class (as
defined above) on January 7, 2008. The Court also appointed the Lead Plaintiffs to serve as Class Representatives and approved
Lead Counsel Waite, Schneider, Bayless & Chesley Co. L.P.A. and Co-Lead Counsel Bernstein Liebhard & Lifshitz, LLP as Class
Counsel.

13.     The parties are currently engaged in discovery, which includes, among other things, the review and analysis of documents,
deposing witnesses, and expert discovery.

         Your Rights as a Class Member

14.     This Notice is given to you in the belief that you may be a member of the Class whose rights may be affected by this Action.
You have the right to remain a Class Member or to exclude yourself from the Class.

15.      IF YOU WISH TO REMAIN A CLASS MEMBER, YOU ARE NOT REQUIRED TO DO ANYTHING AT THIS TIME.

16.       If you remain a Class Member, you will be bound by any judgment in this Action, whether it is favorable or unfavorable. If
there is any recovery, whether resulting from a trial or settlement, you may be entitled to share in the proceeds, less such costs,
expenses, and attorneys’ fees as the Court may allow out of any such recovery. If you remain a Class Member and the Defendants or
any other defendant who may be joined in the Action prevail in the Action, you will not be able to pursue an individual lawsuit on your
own with regard to any of the issues arising in this Action. In the event of a recovery by the Class, you will be required to prove your
membership in the Class and your trading of Fannie Mae common stock, call options, and put options during the Class Period. In
addition, if you are shareholder residing outside the United States, you will be required to provide documentary evidence that you
purchased Fannie Mae common stock or call options, or sold Fannie Mae publicly traded put options on an exchange physically located
inside the United States such as, for example, the New York Stock Exchange or the Chicago Board Options Exchange.

17.      If you remain in the Class, your rights will be represented by Lead Plaintiffs and by Lead and Co-Lead Counsel, who are:

ATTORNEY GENERAL OF OHIO                 WAITE, SCHNEIDER, BAYLESS &                  BERNSTEIN LIEBHARD & LIFSHITZ, LLP
Nancy H. Rogers                          CHESLEY CO., L.P.A.                          Stanley D. Bernstein, Esq.
                                                                                                 th
State Office Tower                       Stanley M. Chesley, Esq.                     10 East 40 Street
30 East Broad Street, 17th Floor         1513 Fourth & Vine Tower                       nd
                                                                                      22 Floor
Columbus, Ohio 43215                     Cincinnati, Ohio 45202                       New York, New York 10016
(614) 466-4320                           (513) 621-0267                               (212) 779-1414



                                                                   2
               Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 114 of 156
18.    If you remain a Class Member, you will not be personally responsible for Lead Plaintiffs’ attorneys’ fees or costs. Any fees or
expenses ultimately allowed by the Court to Lead Plaintiffs’ counsel will be payable out of the recovery in the Action, if any.

19.      How to Exclude Yourself from the Class: In the event you wish to exclude yourself from the Class, you must submit a written
request setting forth the name and address of the person or entity requesting exclusion and stating that such person or entity requests
exclusion from the Class in In re Fannie Mae Securities Litigation, No. Civ. 04-1639 (RJL), and the request must be signed by such
person or entity. Requests for Exclusion must be mailed to the Notice Administrator at:

                                               Fannie Mae Securities Litigation Exclusions
                                                    c/o The Garden City Group, Inc.
                                                          Notice Administrator
                                                             PO Box 9290
                                                        Dublin, OH 43017-4690

To be effective, your Request for Exclusion must be mailed to the Notice Administrator by September 23, 2008. Do not request
exclusion if you wish to participate in this Action as a Class Member.

20.     If you exclude yourself from the Class, you will not be bound by any judgment in this Action, nor will you be entitled to share in
any recovery in this Action, should any recovery be obtained by the Class, but you may individually pursue any legal rights you may
have against any of the Defendants.

21.     If you do not request exclusion from the Class by September 23, 2008 you will be considered a Class Member, and you will be
bound by any final judgment in this Action.

22.      If you do not request exclusion from the Class, you may, if you so desire, at your own expense, enter an appearance in the
Action through an attorney of your own choice by filing a Notice of Appearance with the Court.

         Right to Examine Court Papers

23.       This Notice does not fully describe all of the claims and contentions of the parties. The pleadings and other papers filed in this
Action are available for inspection by you or your attorney during business hours at the Office of the Clerk of Court, United States
District Court for the District of Columbia, 1225 E. Barrett Prettyman United States Courthouse, 333 Constitution Avenue, N.W.,
Washington, DC 20001. PLEASE DO NOT WRITE OR TELEPHONE THE COURT OR THE CLERK’S OFFICE. All inquiries regarding
this Action should be addressed to the Notice Administrator at the address below or to Lead Plaintiffs’ counsel at the addresses listed
above.

         Please Keep Your Address Current

24.     To assist the Court and the parties in maintaining accurate lists of Class Members, you are requested to mail notice of any
changes in your address to the Notice Administrator at the address listed below.

         Special Notice to Securities Brokers

25.      If you purchased Fannie Mae securities, purchased call options and/or sold Fannie Mae put options during the Class Period
for the beneficial interest of a person or entity other than yourself, you are directed to, within twenty (20) days of your receipt of this
Notice, either (a) provide to the Notice Administrator the name and last known address of each person or entity for whom you
purchased Fannie Mae common stock, purchased call options and/or sold Fannie Mae put options during the Class Period or (b)
request additional copies of this Notice from the Notice Administrator, which will be provided to you free of charge, and forward this
Notice directly to the beneficial owners of the securities referred to herein. If you select option (a) above, the Notice Administrator will
cause copies of this Notice to be forwarded to each beneficial owner so designated. You are entitled to reimbursement for your
reasonable expenses actually incurred in complying with the foregoing, including reasonable postage expenses and the reasonable
costs of ascertaining the names and addresses of beneficial owners. Those reasonable expenses and costs will be paid upon request
and submission of appropriate supporting documentation.

                                                     Fannie Mae Securities Litigation
                                                     c/o The Garden City Group, Inc.
                                                           Notice Administrator
                                                              PO Box 9269
                                                         Dublin, OH 43017-4669
                                                             1-800-738-0213



DATED: July 25, 2008                                                                         By Order of the Court




                                                                     3
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 115 of 156




            EXHIBIT C
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 116 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 117 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 118 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 119 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 120 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 121 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 122 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 123 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 124 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 125 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 126 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 127 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 128 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 129 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 130 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 131 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 132 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 133 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 134 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 135 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 136 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 137 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 138 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 139 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 140 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 141 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 142 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 143 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 144 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 145 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 146 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 147 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 148 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 149 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 150 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 151 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 152 of 156




            EXHIBIT D
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 153 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 154 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 155 of 156
Case 1:04-cv-01639-RJL Document 1089-2 Filed 05/08/13 Page 156 of 156
